       Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 1 of 177 PageID #:1                   5H


                                                       1'.22-cv44401
 Renee A. Washington                                   Judge Thomas M. Durkin
 567 Merrill Ave                                       Magistrate Judge Gabriel A. Fuentes
 Calumet City, U. 60409                                RANDOM
 708-56744rc
 renee I 0 I @sbcglobal. net




                    IN THE UNITED STATES FEDERAL DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OT ILLINOIS



   Renee A. Washington, an                           Request For Jury Trial

                   Plaintifl
                                                     Reserve The Right To Amend
                  v.
JPMorgan Chase Bank, National Associatiorq           CASE #
Emest J Codilis, Codilis & Associates, P.C.,
MariClare O'Connor, Karen A. Yarbrough in            NOTICE OF REMOVAL
individual capacrty as Cook County Clerk Recorder
Deeds, Iris Y. Martinez in her individual capacity
the Clerk
of Circuit Court of Cook County, Timothy C. Evans
his individual capacity as Circuit Court of
County Chief Judge, Cook County, Edward N.
in his individual capacity as Associate Judge
                                                                              N,ECETVIEI)
division    of Circuit Court of Cook County, L
                                                                                         18aa
Weaver-Boyle in her individual capaclty as the Ci
Judge Chancery Division of Circuit Court of
                                                                                  'AUo

                                                                                 THOMASGBRUTOI{
                                                                                                {
County, JPMorgan Chase Bank National Associatioq
Grant Law LLC., Maurice Grant and Senija Grebovic                             cr-ei( u.soN;rmcrcouKr
             Defendants.




    Record of and ForNotice ofRemoval and 42 U.S. code$ 1983 complaint.
 frillCerc Electronic Docket
                      Case:Search f Cf.* of tn" Document
                             1:22-cv-04401                    #:C.-.
                                                Circuit Court of 1 Filed: 08/18/22    Page 2 of 177 PageID #:2
                                                                             htps: //casesearch.cookcountycl"*of*orto.giDocke6earch.aspx




        Full Elgctronic Docket search                        forchancery Domestic/chitd support, civiland Law searches




                                                                    dffs                                              -
                                                                   2019-cH-09659


                   Filing Date: od,lzll20t9                                            Case   Tlpe: Owrer Oceupied Single-Family
                                                                                       Home/Condo
                   Dvision: Chalcery Division
                                                                                       District: First Municipal
                   Ad Damnum 30.00                                                     Calendan 63
                                                                  Prty Informaftsr
                  ilardilG)                                                            .Attorrey(s)
                  JPMORGAN CHASE BANK NATT
                                                                                       CODILIS ERNESTJTR
                  Defedmt(s)                            Ddendant Date of Scrrlcc       .Attor-ney(s)
                  CHICAGO TITLE        T-C.ND   TRUST                                  PRO SE
                  Cook County Recorder of De
                                                                                       PRO SE
                  NON RECORD CI.A,IMANTS
                                                                                       PRO SE
                  UNKNOWNOWNERS
                  -IVASHINGTON,                                                        PROSE
                                     RENEE                                             PRO SE

                                                                     Csf,€   AcffviQ

                  Aaivity Datc; 0l /14/2020
                                                                                                                          Prtiopmt:




1of1
                                                                                                                                      8118122,11:14AM
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 3 of 177 PageID #:3




                       Uase lnionnatron Summary tbr ease Nunrber
                                             2019-c$_096s9

                                                                     Case Type: Owner
  Filing Date: 08/21 lz0t9                                           Occupied Single-Family
                                                                     Home/Condo
  Division: Chancery
  Division                                                           District: First Municipal
  Ad Damnum: $0.00                                                   Calendar: 63
                                            Fartv fnformalion

  Plaintiff(s)                                                       Attorney(s)
  JPMORGAN CHASE
  BANK, NATI                                                         CODILIS ERNEST         J JR

  Defendant(s)                           Defendant Date of
                                         Service                     Attorney(s)
  CHICAGO TITLE LAND
  TRUST                                                              PRO SE
  Cook County Recorder              of
  De                                                                 PRO SE
 NONRECORD
 CLAIMANTS                                                           PRO SE
 UNKNOWN OWNERS                                                      PRO SE
 WASHINGTON, RENEE                                                   PRO SE

                                              Case   Activitv

 Activity Dxe: Ol I l4l ZtrZO                                                         participart:

                                           Default - Allowed -

                                                                 Iudge: HORAN, CECILIA A.


 Activity Date: oI I l4l 2u2o                   Patticipanc   CHICAGO   TffLE LAND TRUST
                                           Default - Allowed -

                                                                Judge: HORAN, CECILIA   A

 Activity D*e   : 0 I I 1 41 2OZA                             pariciparr: UNKNOWN OWNERS

                                           Default - Allowed,
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 4 of 177 PageID #:4




                                                          Judge: HURAJ\, LELTLIA        lL


  Activity Dxe:   AU|42A2O                 parricipanr:   NON RECORD CLAIMANTS
                                   Default * Allowed -

                                                          Judge: HORAN,      CECILIAA


  Activrty D*e:   olllfil?o}a         participau: JPMORGAN CHASE               BANK, NATI
                   Judgment Of Foreclosure Entered (Case Is pending)

                                                          Jucige: HOftANI,   CECI.n a.
                                                    Attorney: CODILIS ERNEST         J   JR


  Activity   Date:Olll7/2}2}                       participam:    CODILIS ERNEST J JR
                       Notice Of Default Order Mailed      _   Fee paid



  ActivityDate:Oll2}la}2}                          participanrcoDllls ERNEST JJR
                       Motion Scheduled (Motion Counter Only)

               Date:02flADO20
        CourtTime:0945


 ActivityDate:ollLllAvzo             parricipanfiJpMoRcANCFIASEBANK,NATI

                                Motion To Vacate Order

                                                    Attomey: CODILIS ERNEST         J    JR


 Activity Date:   ALI?3NAZO          Participanl JPMORGAN CHASE               BANK, NATI
                                Notice Of Morion Filed

                                                   Attonry: CODILIS ERNEST J JR


 Activiry    Date:aJl\t2aa                                                        parriciparf:

                         Strike Or Vacate An Order - Allowed -

                                                      Judge: HORAN, CECILIA A.
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 5 of 177 PageID #:5




 Activity Dxe : W I 01 12022                                     Pailicipaff:

                                Emergency Motion Filed



 Activity Date: o3/0 1 t2tr22                                    Participant:

                                Emergency Motion Filed



 Activity Date: 08/03 12022                                      Patricipat:

                                    Affidavit Filed



  ActiYity D*e: 03103 12022                                      Participam:

                                    Affidavit Filed



  Activity Date: 0S/O3 12V22                                     Participam:

                                 Amended Notice Filed



  ActiviryDde:u3lff3?A?2                                         Patticipad:

                        Memorandum In Support Of Motion Filed



  Activr'tyDare:A3G3l7-0?2                                       Participam:

                        Memorandum In Support Of Motion Filed



  Acti\dtyDde:A3lWfi-A22                                          Participant:

                        Memorandum In Support Of Motion Filed



  ActivityDxe:tr3|ffita0l2                                        Participat:

                         Memorandum In Support Of Motion Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 6 of 177 PageID #:6




 Acrivity Dds: 08/08 DA22                                                 Participan:

                                           Emergency Motion Filed



  Activity   Dare : o3l   I   I   2W2.                                    Participatr:

                                                Affidavit Filed



  Activity D*e:    O3 lO9I 2022                                           Particlpad:

                                                 Release Filed




  Activity D*e: U3l IAI 2V22                                              Participad:

                                                 Notice Filed



  Activity Dxe:    B I LOI 2U22                                           Participad:

                                         Substitution Of Attornev Filed



  Activity Date: U3/ t7 I 2W2                                             Pailicipant:

                                             Notice Of Filing Filed



  Activity Dxe: Mt?-51 ZMZ                                                Participantl

                                             Notice Of Filing Filed



  Activity   D*etMt212A2                                                  Paticipam:

                                                Objections Filed



  Activity tulr;:A425120l.22                                              Participant:
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 7 of 177 PageID #:7




                                              Mohon Frled



   Activity   Date :   Ml25l 2a22
                                                                         Participarr:
                                              Motion Filed


   Activity   Dae:Ml25l2a2
                                                                         Palticipat:
                                             Motion Filed


  ActivityDm: WZSIZDZT
                                                                        Participau:
                                     Substitution Of Attorney Filed



  Activity Dats:     051 A$   ZV22
                                                                        Paticipaot:
                                            Exhibits Filed



 Activiry Dae       O5l 051?J)22
                                                                       Patictpan:
                                            Exhibits Filed



 Acthrig    Dare   : a5l ag 2a22
                                                                      Participant;

                                           Exhibirs Filed



 Activity   Dare : o5l o5l2w,2
                                                                      Particip4t:
                                           Exhibits Filed



Activity Date: 05 I O 5 I 2o22
                                                                      Participart:
                                           Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 8 of 177 PageID #:8




 ActiYity D*e:   AflAsilWz                                                         Participaqt:

                                           Exhibits Filed



 Activity Dds : A5l   OSI   2W2                                                    hrticipaff:

                                            Motion Filed



 Activity Dde : Ofl A5l 2U22                                                       Panicipafi:

                                            Motion Filed



  Activiry Date: 05/05 12022                                                       Faticipatr:

                                            Motion Filed



  Acrivity   Ddte..oslff7t\uz1 Participant: JPMORGAN                  CHASE BANK, NATI

                            298 Petition Filed - DefendanURespondent

                                                            Attorrry: CODILIS ERNEST J JR


  Activity Date: 0510       DA^             Participanu   JPMORGAN CHASE BANK, NATI

                                        Proof Of Service Filed

                                                            Attonry: CODILIS ERNEST J JR


  Activity   Dxe:051tN2V21                                                          Participarr:

              Application To Sue Or Defend As A Poor Person: Respondent
                                                            Attonry: PRO   SE




  ActiviryDate:0511412021                          ParticipaffNON RECORD CLAIMANTS

                            29t3   Petition Filed - Defendant/Respondent

                                                            Attorney: PRO SE
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 9 of 177 PageID #:9




    Activity Dxe:       O5/   l4/2O21                     participanr:   NON RECORD CLAIMANTS
                                                  Waiver Filed

                                                                    Attorrny: pRO   SE


    Activity   D *e:   O 5 I 25 I   2O22
                                                                                             Participart:
                                            Notice Of Motion Filed



   Ac'riviry Date:     afl 25 I 2a?2
                                                                                             Panicipart:
                                           Notice Of Motion Filed



   Activity Dxe:      ASIZTDAZZ                  participarr   J.MORGAN C*'^SE BANK, NATI
                                       Strike From The Call - Allowed         _



                                                                     Judge: ROBLES, EDWARD N
                                                                  Attonrcy: CODILIS ERNEST J JR


  Activity Darc:     A 51 27 I2OZZ              Participarr:   JPMORGAN CIIASE BANK, NATI
                                      Set Briefing Schedule - Allowed         _



                                                                     Judge: ROBLES, EDWARD N
                                                                  Attorney: CODILIS ERNEST   J JR


 Actiyiry Dxe: Afl 27 / ZAZZ
                                                               Participam:   WASHINGTON, RENEE
                      Courts Motion This Case Is Taken
                                                       Under Advisement

                                                                    Judge:ROBLES, EDWARD N


 Activiry Date:     051 ?jl I Z02Z             Participanr:   JPMORGAN CHASE BANK, NATI
                        Withdrawal Of Attorney From Case -
                                                           Continued                _


                Date:06t09t2022
       Court Time: 0200                                            Judge: ROBLES, EDWARD N
      CourtRoom:2801                                            Attorrry: CODILIS ERNEST J JR


Activity   Dare :   ffil Ml ZO2Z
                                                                                         Participaft:
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 10 of 177 PageID #:10
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 11 of 177 PageID #:11




                                  Petition Filed



   Activity Dile:06O6l2O22                                      Panicipaffi:

                                 Objections Filed



   Activiry   Dde:06l1w2tr22                                    Participafr:

                                  Exhibits Filed



   ActiYity   Dxe:06lW2V22                                      Participart:

                                 Exhibirs Filed



   Activity   D*s:ffi|ffit2&Z2                                  Participarn:

                                 Exhibits Filed



   Actir.ity Darre.C6ffil2$22                                   Participac:

                                 Exhibits Filed



   Activity Date: Ml   Bl 2U22                                  Participnt:

                                 Exhibits Filed



  Aclivity f,)ffe:   06W2A22                                   Pa*icipat:

                                 Exhibits Filed



  Activity Dat* 06/0812022                                     Participant:

                                 Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 12 of 177 PageID #:12




   Activity D*et Ml     O8l   2O22                              Participau:

                                     Exhibits Filed



   Activity   D*e:AdBlW2Z                                       Participau:

                                     Exhibits Filed



   Activity   Daf€ : Off 08l2cl-22                              Panicipat:

                                     Exhibits Filed



   Ac'tivity D*e: Od Bl 2tr22                                   Participam:

                                     Exhibits Filed



   Activity Dxs:06t0El2O22                                      Participat:

                                     Exhibits Filed



   Acti\dtyDdB:06ffit?fi?2                                      Participant:

                                     Exhibits Filed



   Activity Dxe:06ffi12022                                      Participnt:

                                     Exhibits Filed



   AetiviryDdc:od08l202,2                                       Participart:

                                     Exhibits Filed



   Activity Datq 0610812022                                     Participant:

                                     Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 13 of 177 PageID #:13




   Adtuity Dxe:Wffi12O22                                        Partbipar$:

                                         Exhibits Filed



   Activity >ats: Ml M I 2A22                                   Participad:

                                         Answer Filed



   Activity D*e:       O6l   ffil?-A22                          Participat:

                                         Answer Filed



   Activity Due: ffi1ffi12v22                                   Participad:

                                         Answer Filed



   Activrty   DxgMlMlAMZ                                        Participat:

                                         Answer Filed



   ActiYity Dxe:       ffil A8l2A?2                             Patticipnt:

                                         Answer Filed



   Acrivity Dxe061CE12ff22                                      Pafiicipatr:

                                         Answer Filed



   Activity   Date :   Ml 8l 2A22                               Participam:

                                         Answer Filed



   Activity Dxs:       061 Ml   2O22                            Participart:

                                         Answer Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 14 of 177 PageID #:14




  Activity Dae: 0610EiI2022                                                 Participatr:

                                             Answer Filed



   Activiry Dde:   adffilAu2Z                                               Pzrtbipant:

                                             Answer Filed



   Activity Date: 0d 1 5 12A22                                              Participatr:

                                             Exhibits Filed



   Activity Dxe:       ffil   1512022                                       Participrt:

                                             Exhibits Filed



   Activity   Dxe:O6ll5l2122                                                Participaff:

                              Motion ForExtension Of Time (Scr323E) Filed



   Activity   Dae:W|5|2ff22                                                 Participart:

                                          Notice Of Filing Filed



   Activity Date: 0612         1   lzWz                                     Partieipt:

                                              Exhibits Filed



   Activity Dme:WZL|ZULZ                                                     Farticipam:

                                              Exhibits Filed



   ActiYity Date   :   Ml 2L{20,,2                                           Fruticipa$:
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 15 of 177 PageID #:15




                     Motion ForExtension Of Time (Scr323E) Filed



   Activiry Dare : ffilzllZwz                                                    Participaff:

                                     Notice Of Filing Filed



   ActivityDate:MlLll2W2                 krdciparr:JPMORGAN CHASEBANK, NATI
                                Transferred To Presiding Judge

                                                            Judge: ROBLES,EDWARD         N
                                                          Attonry: CODILIS ERNEST J JR


   Activity   Dxe:A6l2ltZV22             Pmicipa* JPMORGAN CHASE BANK, NATI
                                      Recusal - Allowed

                                                            Judge: ROBLES, EDWARD N
                                                      Attorney: CODILIS ERNEST J JR


   ActivityDate:ffil12212022 Prticipant:JPMORGANCHASEBANK,NATI
                                Assign To Judge Within Division

                                                            Judp: HALL, SOPHIAH
                                                          Attorney: CODILIS ERNEST   J   JR



   Activity Dde:   W3U2tr22                                                      Partipipam:

                                         Exhibits Filed



   ActiYityDms:MBADWZ                                                            Participa$:

                                         Exhibits Filed



   Activity Dxe:063012CE,,2                                                      Participaot:

                                    Notice Of Motion Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 16 of 177 PageID #:16




    Activity Date: 06BADU?2
                                                                           Participafl.:

                                               Motion Filed



    Activity   Dxe:w3al2o22
                                                                          Participau:
                                         Motion To Dismiss Filed



    Activity D*e : A7 I Bl ?.A22
                                                                          Participart:
                                         Notice Of Motion Fited



   Ac'tivity Date:   O7 I   Bl 2U2Z                                      Participam:

                                      Substitution Of Attorney Filed



   Actirdty Dare : w I l2l 2ff22
                                                                         Participa*:
                                 Affidavit In Supporr Of Motion Filed


   Activity Dxe:     w I LZl 2v22                                        Participau:

                                             Exhibits Filed



  Activity Dne: u7 I l2l 2o22
                                                                        Participant:

                                             Exhibits Filed



  Activity Due W I L2|2UZ2
                                                                        Participart:

                                            Exhibits Filed



  Activity D*e: Al fi?J 2U22
                                                                        Participant:

                                            Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 17 of 177 PageID #:17




   ActiYity Dats : U7 I LZDAL                                   Participam:

                                     Exhibits Filed



   Activig Dae : Ul I LZ|2O22                                   Pafiicipad:

                                     Exhibits Filed



   Activitli Dm : Al I l2l ?-W2                                 Participam:

                                     Exhibits Filed



   Activity Dse : tr7 t l2l ZWZ                                 Participant:

                                     Exhibits Filed



   Activity Dan: trl I l2l2022                                  Participatr:

                                     Exhibits Filed



                                                                Participafi:

                                     Exhibits Filed



   Activity Dxs: W I L2l2O22                                    Participam:

                                     Exhibits Filed



   Activity Dde:   WllZlAAZ                                     Partioipatr:

                                     Exhibits Filed



   Activity Dxe    O7 I   l2l 2022                              Participaot:

                                     Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 18 of 177 PageID #:18




    Activiry Dare:    villa2w2                                    Participam:

                                         Exhibits Filed



    Activity Dxe: Ul I l2l ZAZL
                                                                  Participant:

                                         Exhibits Filed



   Acriviry Date : W I lZl2022
                                                                 Participarr:
                                        Exhibits Filed



   Activity Dats:    O7 I   l2l 2O2Z
                                                                 Participam:

                                        Exhibits Filed



   Activity   Dac    07 I l2lZO22
                                                                Participart:
                                        Exhibits Filed



  Activity    D xe : O7 I 12 I ZO2Z
                                                                Participam:

                                       Exhibits Filed



  Activity Dxe:     w I 121 2U22                               ParticiparU:

                                       Exhibirs Filed



  Activity Dxe: Al I 12l2mz
                                                               Participaml

                                       Exhibits Filed



 Activity Due: W I l2lZAZZ
                                                               Farticiparr:
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 19 of 177 PageID #:19




                                        Exhibits Filed



   Acth/ify Dxf^ u7 I l2lw22                                     Participart:

                                        Exhibits Filed



   Activity Dxe:     U7 I   l2l 2O22                            Participart:

                                       Exhibirc Filed



   Activity Dxe: Ul I 121 2O22                                  Participart:

                                       Exhibits Filed



   Activity Date:   U7 t L2l   2022                             Paticipat:
                                       Exhibirs Filed



   Activity D*e: Ul I lil 2A22                                  Participat:

                                       Exhibits Filed



   Activity Dxe: Vl I l2l 2A22                                  Participatr:

                                       Exhibits Filed



  Activity Dae : u7 I L2l?.M2                                  Paticipad:
                                       Exhibits Filed



  Activity Dxe:     A7 I   I2l2M2                              Participrt:
                                       Exhibirs Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 20 of 177 PageID #:20




   Activity Dxe Al fl21 2tr22                                      Participant:

                                          Notice Of Motion Filed



   Activity   Dare :   w I l2DA22                                  Participatr:

                                               Motion Filed



   Activity Dxe: AV l2lZUZZ                                        Participatr:

                                              Motion Filed



   Activity   D*c      A7 I lZl2O22                                Participac:

                                               Motion Filed



   Activity Dxe: W I L4l2A?2                                       Partiqiprlnf   :


                                              Exhibits Filed



   Activiry Date: ATL4|2O22                                        Participal$:

                                              Exhibits Filed



   Activity   Date : A7 I      l4l 2U?2                            Participat:

                                              Exhibits Filed



   Activity Dxe: A7 I Ml2U)2                                       Participam:

                                              Exhibits Filed



   Activig Dxe:        A'7 I   lN 2022                             Pailicipafr:

                                              Exhibits Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 21 of 177 PageID #:21




   Activity Dats: O7 I l4l2U22                                               Partkipffi:

                                      Exhihits Filed



   Activity Dxc $7 I l4l2U22                                                 Participafi:

                                      Exhibits Filed



   Activity D*e:   ffl I L4lW22                                              Participa$:

                                  Notice Of Motion Filed



   Activity Dat*: Ul t 14t2CI22                                              Participad:

                                      Motion Filed



   Activity Dare: Ul I l5l 2U22                                              Participad:

                                  Notice Of Motion Filed



   Activity Ild€ : W f l5D.A22                                               Participafi.:

                                      Motion Filed



   Astivity   Dats:Ullt&l?-O22        Participar: JPh4ORGAN CIIASE      BANK, NATI
                                  Motion To - Allowed -

                                                       Judge: WEA\IER-BOYLE,
                                                             LYNN
                                                     Afiorrrcy: CODILIS ERNEST I JR


   ActivityDarrs:Wl[ff202?            Pffticipaffi:JPMORGANCFIASEBANK,NATI
               Strike Or Withdraw Answer Or Appearance OrBottr - Denied -

                                                       Judge: WEA\IER-BOYLE,
                                                             LYNN
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 22 of 177 PageID #:22




                                                     Attorney: CODILIS ERNEST    J   JR



   Acriviry   Date:ffil\9t\o?2                                               Participant:

                    Dismi ss/Strike/Withdraw Affirmative Defense - Denied




   Activity Date:   0&02lzWZ             Participanr JPMORGAN CHASE      BANK, NATI
                                    Continuance - Allowed -

                                                        Judge: WEA\1ER-BOYLE,
                                                              LYNN
                                                     Attorney: CODILIS ERNEST    J   JR



   ActivityDate:O8tO2/2A22 Parricipanr:JPMORGANCHASEBANK,NATI
              File Appearance Or Jury Demand, Answer Or Plead - Allowed -

                                                        Judge: WEA\1ER-BOYLE,
                                                                 LYNN
                                                      Attorney: CODILIS ERNEST   J   JR



   Activity Date: 0&02   12022           Participant:JPMORGAN CFLASE BANK, NATI

                                 Continued Generally - Allowed

                                                        Judge: WEA\IER-BOYLE,
                                                                 LYNN
                                                      Attorney: CODILIS ERNEST J JR


   Activity Date:   08/0212022                                               Participatr:

                          Case Assigned to   ZoomHearing - Allowed



   Activity Date: 0&03 12022                                                 Participarf:

                                    Notice Of Motion Filed



   Activity Date: 08/03 I 2422                                               Participam:

                                    Emergency Motion Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 23 of 177 PageID #:23




  Afituiry DOe: ffi1112ff22                                                  Participafr:

                                               Exhibits Filed



  ActivityD*e:      W11tW22                                                  FarticiPatr'

                            Motion For Extension Of Time (Scr323E) Filed



  Activity Date:    w 1 1 12A?'2                                             Participat:

                                           Notice Of Motion Filed




                                    Affidavit As To Military Service Filed



   Activity D*e:     Bl     l5l 2V22                                         Panicipac:

                                                Exhibits Filed



   ActiYir], D*e;    w      l5t?fi22                                          Participar[:

                                                Exhibits Filed



   Acrivity Date :   ffiI   L   5 I 20?2                                      Pafiici@:

                                            Notice Of Motion Filed



                                                                              Participau:

                                                 Motion Filed



   Activity Date: 0& t5 l2W2                                                  Pafticipad:

                                                 Motion Filed
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 24 of 177 PageID #:24




                          15 l2W2                                                      Participad:
  Activity Date: 0&

                                               Motion Filed



  Activity Date:   ffil   I 51   2022                                                  Participad:

                                          Motion To Dismiss Filed



  Activity Date: 0&21            t}Olg          Participam:   JPMORGAN CHASE BANK, NATI

                owner occupied Single Famity Home or condominium - Filed

              Court Fee:   438.00                               Attorney: CODILIS ERNEST    J   JR



   Acrivity    Dxe:a8t2Ll2}l9                   ParticiBanrJPMORGANCIIASEBANK,NATI
                                               Affidavit Filed
                                                                Attorrey: CODILIS ERNEST    J   JR



   Activity Date: O&21           t201g          Participad: JPMORGAN CHASE         BANK, NATI

                                               Certificate Filed

                                                                 Attonrcy: CODILIS ERNEST   J   JR



   Activiry Dats:    ffi,'Lla}l9                Participant JPMORGAN CHASE         BANK, NATI

                                        Summons Issued And Returnable

                                                                 Attorney: CODILIS ERNEST   J   JR



   Activity Date: 0&21           n(Ip            Participant:JPMORGAN CHASE BANK, NATI

                                    Case Set On Case Management Call

                   Date: l0t2ll20l9                                Judge: HORAN, CECILIA A.
          COUTT    TiMC: 0945                                    AfiOTNCY: CODILIS ERNEST J JR
         CourtRoom:2804


    ActivityDats     W21l20l9                                                              Participar[:
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 25 of 177 PageID #:25




                                              New Case Filing
                       Date: t2fi6l2OZI
             CourtTirc:1000
             CourtRoom:2801


    Activity Drlte: ffit ?3 t 2O I 9            Participa* JPMORGAN CHASE BANK, NATI

                                               Affidavir Fited

                                                                 Attonry: CODILIS ERNEST J JR


    Activiry Dats:      8l T7 DA lg            Participanl JPMORGAN CHASE           BANK, NATI
                                          Notice Of Hearing Filed

                                                                Attorrey: CODILIS ERNEST      J   JR


   Actiyity Dxe: ffiBA/2O21                    Parricipanr:   JPMORGAN CHASE BANK, NATI
                                          Continuance - Allowed -

                      Date: t2/09t2021
          Court Time: 1000                                         Judge: ROBLES, EDWARD N

         CourtRoom:2801                                         Aftorney: CODILIS ERNEST I JR



   Activity Date: 08/30/202       1            Participanr JPMORGAN CHASE          BANK, NATI
                                            Stay Of Execution

                                                                  Judge: ROBLES, EDWARD N
                                                               Attorney: CODILIS ERNEST   J JR



  ActivityDxe:O&3ll2}2l                       participam:JpM0RcANCHASEBANK,NATI

                                      Affidavit Of Compliance Filed

                                                               Attonrey: CODILIS ERNEST   J   JR


  Activity   Dare :   W I O5l 2O 19           Participad: JPMORGAN CHASE          BANK, NATI
                                             Affidavit Filed

                                                               Attorney: CODILIS ERNEST   J JR
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 26 of 177 PageID #:26




  Activity Date: 09/10       tzolg           Participanr:   JPMORGAN CHASE BANK, NATI

                                            Affidavit Filed
                                                              Attorney: CODILIS ERNEST   J    JR



  Activity   Date :   ffitl3AA9              Padcipafi: JPMORGAN CIIASE             BANK, NATI

                                            Affidavit Filed
                                                              Attomey: CODILIS ERNEST     J JR




  Activity D*e:       Dl13   lzC}lg          Participant:   JPMORGAN CHASE BANK, NATI

                              Affidavit For Service By Publication Filed
                                                              Attonny: CODILIS ERNEST     J   JR



   Acrivity Date:     D/1812019                              Participart:    CODILIS ERNEST J JR

                        Certificate Of Mailing Notice By Publication Filed



   Activity Date: 1O/0 112019                                                           Pafiicipaff:

                                         lrtter   Returned Filed

                                                              Attorney: PRO SE



   AcrivityDate:IOfiZtZOl9                    PalticipantJPMORGANCIIASEBANK,NATI
                                     Certificate Of Publication Filed

                                                               Attorney: CODILIS ERNEST      J   JR



   ActivityDate:      1O/O3/2019              PaTticipaTTIJPMORGANCHASEBANK,NATI

                                     Certificate Of Publication Filed

                                                               Attonny: CODILIS ERNEST       J JR




   Acrivity Date:      taDot2oLl                              Participant:   CODILIS ERNEST J JR

                              Motion Scheduled (Motion Counter Only)
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 27 of 177 PageID #:27




                Date:   lll04l202l
        CourtTime: 1000


  Activity   D*e:   IADODOZ:_            Participant:     JPMORGAN C}{ASE BANK, NATI

                         ApPt Selling Olficer(Set For Motion Hearing)
                                                             Attonrey: CODILIS ERNEST J JR



  Activity Dare:    lOt2Ot2}Zl            Participaru:    JPMORGAN CHASE BANK, NATI

                                Default(Set For Motion Hearing)

                                                             Attorney: CODILIS ERNEST    J   JR



  Activity Date: lot2ollo2|               Participanr:    JPMORGAN CHASE BANK, NATI

                    Judg. Of Foreclosure & Sale(Set For Motion Hearing)

                                                             Attonny: CODILIS ERNEST J JR


   Acrivity Dxe:    LOl2Ot2O21            Participau: JPMORGAN CHASE             BANK, NATI

                                         Affidavit Filed
                                                             Attorney: CODILIS ERNEST    J   JR



   Activity Dars:   lOlZAt2Cf;L           Paflicipanr:    JPMORGAN CHASE BANK, NATI

                              Affidavit As To Military Service Filed
                                                              Attorney: CODILIS ERNEST   J JR




   Activity Dxe:    l}t?,lt?1}Ig          Participarrt:   JPMORGAN CHASE BANK, NATI

                          Strike From Case Management Call - Allowed

                                                                 Judge:HORAN, CECILIAA
                                                              Attorrrcy: CODILIS ERNEST I JR



   Activity Dxe:    latijltizoi]l                          Participant:   WASHINGTON, RENEE

                     298 DefendantlRespondent' LNVo - GrantedlAllowed

                                                                 Judge: ROBLES, EDWARD        N
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 28 of 177 PageID #:28




   Activity Da,e:     lalZ1AazL           parricipanr:   JPMORGAN cHAsE BANK, NATI
                                     Notice Of Motion Filed

                                                           Attonny: CODILIS ERNEST J JR


   Activitv Date:     1o/29t2al                          pafiicipaff: WASHINGTON, RENEE

                                          Exhibits Filed

                                                           Attonny:PRO     SE



   Activiry   Dare   : laz9l2o21                         participac WASHINGTON, RENF.E

                                  Petition To Adjudicate Filed

                                                           Attorrry:PRO    SE



   Activitv Dxe:     1ot29l2an                           pafiiciparr: WASHINGTON, RENEE

                                Petition To File Appearance Filed

                                                           Attorrey: PRO   SE



   Activity Dau:     lot29l2a2t                          parricipan[wAsHlNcToN, RENEE

                                     Proof Of Service Filed

                                                           Aftorrey: PRO   SE



   Activity Date: 1   1tWl202l           parricipanr:    JPMORGAN CHASE BANK, NATI

                                      Comply - Allowed -

                                                              Judge: ROBLES, EDWARD N
                                                           Attorney: CODILIS ERNEST J JR


   Activity Date: L   llWtzul            participanr:   JPM0RGAN CHASE BANK, NATI
                                    Continuance - Allowed -

                 Date l2l2u202t
              1000
         Court Time:
                                                             Judge: ROBLES, EDWARD   N
                                                           Attorney: CODILISERNESTJJR
        CourtRoom:2801
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 29 of 177 PageID #:29




    Activity Date: 1 1lMl2A21                             Paticipad: WASHINGTON, RENEI1

              File Appearance Or Jury Demand, Answer Or plead - Allowed -

                                                              Judge: ROBLES. EDWARD       N


   Activity Date:     LLl0/'ta}zt         ParticipanL    JPMORGAN CHASE BANK, NATI
                      Courts Motion This Case Is Taken Under Advisement

                                                              Judge: ROBLES, EDWARD       N
                                                            Attorrey: CODILIS ERNEST J JR


   Activrty Dde: 1L/OUZWI                 Participant:   JPMORGAN CHASE BANK, NATI
                               Courtesy Copies Required - Allowed

                                                              Judge: ROBLES, EDWARD       N
                                                           Attorney: CODILIS ERNEST   J   JR


   ActivityDate:    11/0812021                           participanr:WASHINGTON, RENEE

             File Appearance or Jury Demand, Answer or plead - Allowed -

                                                              Judge: ROBLES, EDWARD       N


   Activity Date: I   llWzUZl                            Participarr WASHINCTON, RENEE

                                     Motion To - Denied -

                                                             Judge: ROBLES, EDWARD N



  Activity Date: 1 ll   l2l2o2l          Participam:     JPMORGAN CHASE BANK, NATI

                                         Notice Filed

                                                           Attorrrey: CODILIS ERNEST J JR


  Activity Dde: I 1 I 15l202l                            Participanr WA SHINGTON, RENtrE

                                        Exhibits Filed

                                                           Attorney: PRO SE
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 30 of 177 PageID #:30




    Activity D*e: I        ll 1 Sl?Cf.l                            particjpau:    IVASIilNGTON, RENEE
                                                Amended Petition Filed

                                                                      Attonny: pRO SE


    Activiry   Date   :   Ill   1512tr21                           Participam:    V{ASHINGTON, RENF,E
                                                    Petition Filed

                                                                      Attorney: pRO SE


   Acti\rity Dae: I        II       5l ?-O:21                      participarr:
                                1
                                                                                  WASIfl NCTON, RENffi
                                                Proof Of Service Filed

                                                                      Attonrcy: PRO SE


   Activity Dxe: tZJ @ I 2O27
                                                                                                   Participnt:
                   Case Removed From Remote Video proceeding                         _   Allowed


   Activity Das:      12J 2l I        2021          Participau: JPMORGAN CHASE                  BANK, NATI
                           Strike Or Withdraw Motion Or petition _ Allowed                  _



                                                                        Judge: ROBLES, EDWARD N
                                                                     Attorrrey: CODILIS ERNEST      J   JR


  Activity Dxn:       lA 23 I ZOlg                                  Particlpam:   CODILIS ERNEST J JR
                                      Motion Scheduled (Motion Counter            my)
                 Date: OIIL4/202A
         CourtTime:0945


  Activity Dxo:       l2l ?3 I 20 19               Pafiicipad: JPMORGAN CHASE                   BANK, NATI
                                                  Affidavit Filed

                                                                    Atrorrey: CODILIS ERNEST        J JR



  Activity Date:   L?J ?3           DA19l          Participant:   JPMORGAN CIIASE BANK, NATI
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 31 of 177 PageID #:31




                                   Nofce Of Motion Filed

                                                       Attorrey: CODILIS ERNEST   J   JR




                                                      Attorrrey: CODILIS ERNEST I JR


   Acriviry Dde:   l2l77l?.fr19'        raryryqr:.rplwoncel cHnsg BANI( I.{ATI
                                 Certificate Of Service Filed

                                                      Attormy: CODILIS ERNEST I JR


                                                                                       Back.to Top


      Please note: Neither the Circuit Court of Cook County nor the Clerk of the
  Circuit Court of Cook County warrants the accuracy, completeness, or the currency
   of this data. This data is not an official reord of the Court or the Clerk and may
                      not be represented as an official coufi record.

  If   data does not aPpear in a specific field, we likely do not have the responsive data
                                   in our master database.
    Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 32 of 177 PageID #:32




Renee A. Washington                                    1'.22-cv44441
567 Menill Ave                                         Judge Thomas M. Durkin
Calumet City, IL 60409                                 Magistrate Judge Gabriel A. Fuentes
708-567-3410                                           RANDOM
renee I 0 I @sbcglobal. net




                  IN THE UNITED STATf,S FEDERAL DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



   Renee A. Washington, an Individual.             Request For Jury Trial

                   PlaintifL                       Reserve The Right To Amend

                  V.                               CASE #

JPMorgan Chase Banh National Association,          42U.5. CODE SEC. 1983 CIVIL ACTION
Ernest J Codilis, Codilis & Associates, P.C.,      CLAIM IS FOR DEPRAVATION OF CIUL
MariClare O'Connor, Karen A. Yarbrough in          RIGHT UNDER COLOR OF LAW,
individual capacity as Cook County Cl
Recorder of Deeds, Iris Y. Martinez in
individual capacity as the Clerk
of Circuit Court of Cook County, Timothy C
Evans in his individual capacity as Circuit C
of Cook County Chief Judge, Cook County
Edward N. Robles in his individual capacity
Associate Judge Chancery division of Circui
Court of Cook County, Lynn Weaver-Boyle in
individual capacity as the Circuit Judge
Division of Circuit Court of Cook County
JPMorgan Chase Bank National Association,
Grant Law LLC., Maurice Grant and Senij
Grebovic
         Defendants.




            Comes Now PlaintiffRenee A. Washington, to file her     Civil Claim to this matter in

    this court of record with clean hands, without prejudice, with God given rights, God

    granted rights, Creator endowed rights, and with all rights secured by the United States

    Constitution and the State of Illinois Constitution invoked herein and no rights are
    Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 33 of 177 PageID #:33




    voluntarily or involuntarily being waived remedies or defenses, stafutory or procedural,

    and with all rights reserved including UCC 1-308 in dealing with this court, in propria

    Personq Sui Juris (not Pro Se). PlaintiffRenee A. Washington is before this court and

    respectfully files her civil lawsuit   for   herein,   ("Plaintifi-) for her complaint   against the

   Defendants, and respectfully alleges the following:

   This 42 U.S. Code Sec. 1983 Civil Action Claim is for Depravation of Civil Right Under

   Color of Law. The state oflicers of the court are participating in fraud on the court. The

   Cook County Recorder of Deeds are participating in recording deed fraud. The state court

   judges are participating in the misconduct of making a legal determination
                                                                              with judicial

   bias, and therefore the plaintiff did not get a fair and impartial procedure in the state court.


                     42 u.s. code g 1983 -       civil   action for deprivation of rights
Every person who, under color of any stafute, ordinance, regulation, custom, or usage, of
                                                                                                 any
ltutgo"t Territory or the  District of Columbiq   subjects, o, ,arr", to be subjected, an'y citizen of
the United States or other person within the jurisdiction thereof to the deprivation
                                                                                       of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to the parfy
                                                                                                  i-njuied
in an action at law, suit in equity, or other proper proceeding for redress, except that in         '
                                                                                                   *y
action brought against a judicial offtcer for an act or omission taken in such oificer,s judi;ial
capacity, injunctive relief shall not be granted unless a declaratory decree was violated
                                                                                             or
declaratory relief was unavailable. For the purposes of this section, any Act of Congress
applicable exclusively to the District of Columbia shall be a statute ofihe District olColumbia.


                                     Statemepl of Jurisdiction:
   Federal courts are authorizedto hear cases brought under section 1983 pursuant
                                                                                  to 2g

  U'S.C.A. $S 1331,1332 and 1343 (aX3), 1367 and,personal jurisdiction overthe parties.

   This Honorable Court has subject matter jurisdiction over the claims asserted purzuant
                                                                                          to
  42 U'S.C. $ 1983 herein and personal jurisdiction over the parties. The Court
                                                                                also has

  concurrent jurisdiaion over the claims asserted pursuant to the laws of the State
                                                                                    of Illinois.
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Venue is properly set in Chicago, Illinois where all acts and omissions giving rise to this

matter took place.

                                            PARIIES
l.   PlaintiffRenee A. Washington is an Illinois resident, a disabled single woman is an

     adult who resides at 567 Merrill Avg Calumet City, IL 60409 at all times relevant to

     this action citrzen, taxpayer, trustee for Chicago Title Land Trust Company as Trustee

     a/k/a Trust No. 8002361708, and litigant that seeks Constitutional protections under the

     United States Constitution, the Illinois State Constitution.

2.   Defendant Karen A. Yarbrough is the Clerk of Cook County Recorder of Deeds of the

     State of Illinois.

3. Defendant     Iris Y. Martinez is the Clerk of the Circuit Court of Cook County of the

     State of Illinois.

4.   Defendant Timothy C. Evans is Chief Judge of the Circuit Court of Cook County Cook

     County, of the State Illinois.

5.   Defendant Edward N. Robles is the Associate Judge of the Chancery division of Circuit

     Court of Cook County, of the State of Illinois.

6. Defendant     Lynn Weaver-Boyle, is the Circuit Judge of the Chancery Division of

     Circuit Court of Cook County, of the State of Illinois.

7.   Defendant Grant      taw LLC. and Maurice Grant is the law firm now representing

     plaintiffJPMorgan Chase Bank National Association in 2019CH09659, with offrces

     located in Chicago, of the State of Illinois.

8. Defendant     Semja Grebovic attorney of GrantLaw     LLC is the lawyer now representing

     plaintiffJPMorgan Chase Bank National Association in 2019CH09659, with offices

     located in Chicago, of the State of Illinois.
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  9-       Defendant Codilis & Associates P.C., is the former law firm of plaintiffJpMorgan

           Chase Bank National Association      in 2019Ch0g65g,with offices located in Chicago of

           the State of Illinois.

  l0' Defendant Ernest J. Codilis is an attorney of Codilis &          Associates p.C., is the former

           law firm of plaintiffJPMorgan Chase Bank National Association in
                                                                            2}lgch0g65g,
          with offices located in Chicago of the state of Illinois.

 I   l'   Defendant MariClare O'Connor is an attorney       of   Codilis & Associates p.C., is the

          former law firm of plaintiff JPMorgan Chase Bank National Association
                                                                                in
          2019ch09659, with offrces located in chicago of the state of lllinois.

 12. Defendant JPMorgan Chase Bank National Association                       plaintiffin
                                                        is the

          2019CH09659 and is a banking Corporation with a principal place
                                                                          of business at l l I I
          Polaris Parkway, Columbus OIj.43240 and JPMorgan Chase
                                                                           & Co. is a bank and
          financial services holding company headquartered in New york
                                                                       City, an Agent of

          JPMorgan Chase Bank.


 1' Plaintiffmoves tlis Honorabr.
                                          ffi                         Judicial Notice under the

          Federal Rules of   civil procedure Rule 201 (d) of the following:
     The United states Supreme couft, inHaines v Kerner 404
                                                                       u.s.   5lg (1972), said that

 all litigants defending themselves must be afforded the opportunity
                                                                     to present their
 evidence and that the Court should look to the substance of the
                                                                 complaint rather than
 the form.

 rnPlatslcyv CIA,953 F.2d 2612nd Cir. 1991), the Circuit Court
                                                                  of Appeals allowed that
the District Court should have explained t9 tt. litigant proceeding
                                                                    without a lawyer, the
        form to the plaintiffso that he could have inended his plladings
:oT""t-                                                                   u"rorAingy.
2. Furthermorg according to WayneN. Ouffen and Jack A.
                                                             Raisner in..plaintiff s
   Pleadings: Pitfalls to Avoid when Drafting the complaint,
                                                               . oqseqrgp;trdf
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 36 of 177 PageID #:36




https://www.americanbar.org/content/dam/aba/events/labor       lawbasicsjapers/elst/outten
raisner.pdf
  "Although the court must limit its review to the facts stated on the face of the
 complainq (Allen v. westPoint-pepperell, Inc., g4s F.zd 40, 44 (zd Cir.l99l)),3 a
 complaint drafted by a pro se plaintiff must be construed liberally. McGarry v. pallito,
 687 F.3d 505, 509    (2dcir. z0lz); Julian v. New york city Transit Authority,            857
 F.Supp. 242 (E.D'N.Y.1994), aff d, 52 F.3d           3 12   (2d Cir.1995) (citing Haines v. Kerner,
 404 U.S. 5t9, 520,92 S.Ct. 594,30 L.Ed.2d 652 (1972) (per curiam). Because the
 sanction of dismissal is harsh, courts are adjured to apply the rule of liberal construction
 "with particular strictness where the complaint alleges a violation of civil rights.,,
                                                                                        Alie
 v. NYNEX co.p., 158 F.R.D. 239,243 (E.D.N.Y.lgg4) (citing Branum v. clarlq
 927 F.2d 698, 705 (2d     cir.t99l));    see also   McGarry v. pallito, 6g7 F.3d 505, 510 (2d
 2012) ("[The Second Circuit is] cautious about the hasty dismissal of complaint
                                                                                            s
 alleging civil rights violations.").,,
 "3 The complaint may include: (l) documents appended to the complaint; (2)
 documents incorporated by reference in the complaint; and (3) facts taken on judicial
 notice. Pungitore v. Barberq No. 12-1795-w,z}l2wL 6621437, at*2 (zdcir.
                                                                                 Dec.
 20,2012). Moreover, the court may consider documents that the plaintiffrelied upon in
 drafting complaint the complaint and bringing the suit. Magnifico v. Blumenth
                                                                               al,47l
F.3d 391, 398 (2d cir. 2006); Rothman v. Gregor, zzaE sd8t, 88-9 (2d cir.2000).
                                                                                   In
the discrimination context, the court may even review the record of the EEOC.
                                                                              See, e.g.,
Holowecki v- Federal Expresss co.p., 440 F.3d 557,565 (2d               cir. 2006),affd,   552   u.s.
38e (2008)."
3.   Plaintiffrespectfully reserves the right to amend this complaint.

                                     JTMTCIAI. R['.VT['.W

            A. Affidavit Scrivener's of Error- mortgage withoutplaintiffsignaturg page
               3 of 16 and page 4 of 16 recorded.
            B. Mortgage - factual page numbers are in the lower right, page 3 of 16 and
               page 4 of 16 are missing.
            c. complaint To Foreclose Mortgage - page 3 of 16 and page 4 of 16 are
               missing factual page numbers are in the lower right.
            D. Identity Theft Affidavit
            E. ILCS Fraud Review
            F. Affidavit of Attempted Service Wrong Address
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                    G. How To Correct a previously Recorded Deed
                    H.   Corrective Deed
                    I.   Affidavit Scrivener,s Instructions
                    J.   Unlawful Clouding of Title
                    K.   ILCS Forgery Law
                    L.   ILCS Tampering with public Records Law

                         The praintiff   I' A state citizen of rhe state of trlinois:
    The Plaintiffis a citizen of the State of Illinois and as such
                                                                   is not subject to a coqporate

    policies and rules without an injured party, and without
                                                             an order from a judicial judge.


    The defendant's, acted *rn      O                                   tution and or federal laws

    when they violated the plaintiffs right UNDER 42 u.s.
                                                          coDE$ sEC. 1983, and the
    plaintifrs right to "due process". The defendant's conspired in
                                                                    a court hearing (in case

number 2019CH09659) to steal plaintiffproperty without
                                                       an injured pa(y to provide the

court with jurisdiction, without the original contract and mortgage
                                                                    filed in the court to
provide the court with jurisdiction, and without due process
                                                             of law. The defendants
committed real estate deed fraud when they failed to deliver
                                                             the plaintiffs property deed to

him as mandated in the state real estate property transfer statutes
                                                                    for the state of lllinois.
The defendants violated the plaintiffwhen the defendants
                                                         ignored the plaintiffs
jurisdictional challenge with an affidavit
                                           and moved forward with the unlawful foreclosure

and eviction process.


l. There have been, and continue to be, violations against the
                                                               civil and constitutional
      rights of undersigned Plaintiffin this cause, and which have
                                                                   not been duly protected.
)     This action involves state law claims based upon the laws
                                                                of the State of Illinois             as

      well   as   federal claims for violations of the Fir*, Fourt[ Fift]r,
                                                                            Nintb and Fourteenth
      Amendments to the united states constitution brought pursuant
                                                                    to 42               u.s.c.   g
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            1983. Section   l98l of Title 42 @qual Rights   Under the Law), Civil Rights Act of lg66

           CHAP. )OOfl.
     a
     J.    The plaintiffbecame aware of amortgage recorded and certified
                                                                         by the Cook County

           Recorder of Deeds via a false Affidavit of Scrivener's Error recording
                                                                                  on May 2,2021.

           The plaintiffnotified the Cook County Recorder of Deeds
                                                                   Office fraud review

           department on May 3,2021, May 14, 2ozl, and November 17,
                                                                    2ozl. on information
           and belief, the Cook County Recorder of Deeds Office fraud
                                                                      review department            in
           contradiction of the United States Constitution, Illinois State Constitution,
                                                                                         public
           interest and public policy refused to refer defendant to the
                                                                        Illinois fraud review. (55
           ILCS s/3-s010.5) Sec. 3-s010.5.

 4.       Plaintiffis a fifty-six year old disabled African American female that was forced
                                                                                            into
          foreclosure.

 5.       Defendant JPMorgan Chase Bank National Association refused
                                                                     to accept plaintiff s
          payments, plaintiffs CARES Act paymen! or allow plaintiffa
                                                                     loan modification.

6.        Plaintiffis informed   and believe, and thereon alleges that the conspiracy started when

          plaintiffJPMorgan Chase Bank filed their Complaint To Foreclose
                                                                          2019CH09659 with

          the cook county circuit court on August     2r,zorgwith    page 3   of   16 and page 4   of 16
          missing from the mortgage, recorded their Lis pendens on
                                                                   August 23,2019 and,
          recorded their fraudulent mortgage without plaintiffs signature,
                                                                           notificatioq or
          consent via an Affrdavit of Scrivener's Error on October lA, Z0lg
                                                                            with the Cook
          County Recorder of Deeds.

7.        Plaintiffis informed and believg and thereon alleges that the recording
                                                                                  of the mortgage
          on october   lo,20lg without her signature, knowledge or authority       caused her to
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        become a victim of identity thefq Assumption Deterrence
                                                                      Act lg u.s.c. gl02g, Title
        l8 U'S-C. S 472 Uttering Counterfeit Obligations or Securities, lg
                                                                           U.S. Code g 4g4 -

        connecting parts of different notes, Tampering (720ILCS 5/32-g),Forgery
                                                                                72O[jCS
        5117'3, (720ILCS 5/17'13) Sec. l7-13. Fraud in
                                                       transfers of real and personal

       property, andT2}ILCS 5/32-13 sec. 32-13. unlawful
                                                         clouding of title.

  8'   Plaintiffis informed      and believg and thereon alleges that the Circuit Court
                                                                                        of Cook
       County and the Cook County Recorder of Deeds is part
                                                            of the conspiracy to deprive
       plaintiffof   her property, her United States Constitutional rights
                                                                           and her   Illinois   State

       Constituti onal rights.

 9'    Plaintiffis informed      and believe, and thereon alleges that the Circuit
                                                                                   Court of Cook
       county arbitrarily and wrongfully denied plaintiffequal
                                                               access to justice.

 10' As   adirect and proximate result ofthe acts ofDefendantg plaintiffsuffered
                                                                                 the
       following injuries and      damages:

       violation of her constitutional rights under the First Amendment;
                                                                         to the
       United States Constitution
     violation of her constitutional rights under the Fourth Amendment;
                                                                           to the United
    States Constitution to be free from an unreasonable
                                                         search and seizure of his
   person;

   Violation of her constitutional rights under the Fifth Amendment;
                                                                     to the United
   States Constitution
   violation of her constitutional rights under the Ninth Amendment,
                                                                     to the
   United States Constitution
  violation ofthe Fourteenth Amendment substantive due process
                                                                     right; and
Violation of her constitutional rights under the Section l. Inherent
                                                                      And Inalienable
Rights; to the State of Illinois Constitution
violation of her constitutional rights under the Section 2. Due        process And Equal
Protection of the law; to the state of Illinois constitution
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 Violation of her constitutional rights under the Section 3.
                                                             Oath Or Affirmation                   of
 Office; to the State of Illinois Constitution
 violation of her constitutional rights under the Section          12. Right To Remedy         And
 Justice; to the State of Illinois Constitution
 Violation of her constitutional rights under the Section
                                                                  18. No Discrimination On The
 Basis Of Se4 to the State of Illinois Constitution
  11. Tremendous and irreparabre emotional
                                            and mentar harm.

 12' The grossly negligent, reckless actions of Defendants
                                                           violated laws             ofthe State of
       Illinois   as   well as clearly established and well-settled federal constitutional
                                                                                           rights
       of Plaintiff with deliberate indifference:

 13. Freedom from an unreasonable search and seizure;
 14' Freedom from the use of excessive, unreasonablq
                                                                      and unjustified force against
his person;
15. Equal Protection under the law; and
16. Substantive Due process.




                       PURSUANT TO THE FOURTEENTH AMENI}MENT

17.   Plaintiff reincorporates and realleges all preceding par4graphs
                                                                             as   if fully   set   forth
herein.

18'   Plaintiff is informed and believes during Reconstruction African
                                                                       American citizens
      were denied the right to vote and that a debate occurred
                                                               in our country that resulted
      in the ratification of the Fifteenth Amendment. Further, plaintiff
                                                                         is informed and
      believes the Fifteenth Amendment was made possible part
                                                        in    by black abolitionists
      like Frederick Douglass who in I g65 poignantly stated:

       "But if we know enough to be hung, we know enough to vote. Ifthe
                                                                        Negro knows
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         enough to pay taxesto support government, he knows enough
                                                                        to votg taration
         and representation should go together. If he knows .norglito
                                                                         shouljer a musket
         and fight for the flag for the government he knows
                                                             erorgh to vote. What I ask
         for the Negro is not berrevolence, not pity, not sympathy] but
                                                                        simply justice.,,
 (Frederick Douglas, Speech before Massachusetts
                                                 Anti-Slavery Society, April 1g65.)

 19.   Plaintiff is informed and believes subsequent to the Fifteenth Amendment,s

       enactment countless acts of aggression were committed
                                                             against African Americans

       for reasons related solely to the color oftheir skin and for the purposes
                                                                                 of depriving
       them ofthe constitutional rights guaranteed by the Fifteenth
                                                                    Amendment and that
       these constitutional violations were committed by
                                                         state actors and private persons.

20' Plaintiffis informed and believes thatthemany constitutional
                                                                 violations committed
       against African Americans led Congress to pass 42 U.S.C.
                                                                $ l9g3 during the 42nd
       Congress   in 1871 and that although Section 1983 was the result of African

    American suffering it went further ensured all citizens right
                                                           a      to enforce equal
    protection under the law.

2l' Plaintiff   is informed and believes Section 1983 creates liability
                                                                        for state actors and
   private persons who violate the constitutional rights
                                                         of any united States citizen
   and that Congress's original intent to extend liability to private
                                                                      persons is evidenced

   by the name (Ku Klux Klan Act) glven to the        l87l amendment to the Civil Rights
   Act.

22' DefendantCook County Recorder of DeedsatalltimesrelevanttothisComplaint

   acted under color of state law and exercised power possessed
                                                                by virtue of state law
   in her position    as the Cook   County Clerk Recorder of Deeds with the County     of
   Cook in the State of Illinois. Further, Defendant Cook
                                                          County Recorder, acted
  jointly with the other co-defendants to produce constitutional
                                                                 violations against



                                                     10
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     Plaintiff namely the right to be free from unnecessary governmental intrusion,

    unlawful seizure and detention of PlaintifPs property, denial of due process,
                                                                                  and the

    eventual fraudulent recording of a mortgage without plaintiffs
                                                                   signature.

 23'   Defendant Edward N. Robles at all times relevant to this Complaint
                                                                          acted under

   color of state lawwhenhevoluntmily undertookthedutiestraditionally
                                                                      reserved by

   the State of Illinois by virtue of state law in his position as an ssociate judge
                                                                                     with the
   County of Cook Further, Defendant Edward N. Robles, acted jointly
                                                                     with the other
   co-defendants to produce constitutional violations namely the right
                                                                       to be free from
   unnecessary governmental intrusion, unlawful seizure and detention
                                                                              ofplaintiffs
   properfy, denial of due process, and the eventual abusive court proceeding
                                                                              in
   2019CH09659 case.

24' Defendant Lynn Weaver Boyle at all times relevant to this Complaint           acted under

   color of state lawwhen he voluntarily undertook the duties traditionally
                                                                            reserved by

   the State of Illinois by virtue of state law in her position as a circuit judge
                                                                                   with the
   County of Cook. Further, Defendant Lynn Weaver Boylq acted jointly
                                                                      with the
  other co-defendants to produce constitutional violations namely the right
                                                                            to be free
  from unnecessary governmental intrusion, unlawful seizure and detention
                                                                          of
  Plaintiff   s property, denial of due process, and the eventual abusive
                                                                             court proceeding
  in 2019CH09659      case.

25' Defendant    Senija Grebovic attorney of Grant Law LLC. at alltimes relevant
                                                           ,                     to this
  Complaint acted under color of state law when they voluntarily undertook
                                                                           the duties

  traditionally reserved by the State of Illinois by virtue of state law
                                                                         in her position   as an

  officer of the court with the County of Cook. Further, Defendant Ernest
                                                                          J. Codilis,




                                                     Ll
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   MariClare O'Connor, acted jointly with the other co-defendants to produce

   constitutional violations namely the right to be free from unnecessary governmental

   intrusion, unlawful seizure and detention of Plaintiffs property, denial of
                                                                               due

  process, and the eventual abusive court proceeding in 2019CH09659
                                                                    case.

26. Defendant Ernest J. Codilis, MariClare O'Connor at all times relevant to this

  Complaint acted under color of state law when they voluntarily undertook the
                                                                               duties

  traditionally reserved by the State of Illinois by virtue of state law in their position
                                                                                           as

  an   officer of the courtwiththe County of Cook. Further, Defendant Ernest        J.

  codilis, Mariclare o'connor, acted jointly with the other co-defendants to

  produce constitutional violations namely the right to be free
                                                                from unnecessary
  governmental intrusion, unlawful seizure and detention ofPlaintiffs
                                                                      property, denial

  of due process, and the eventual abusive court proceeding in 2019CH09659
                                                                           case.




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 27. Defendant Ernest J. Codilis, MariClare O'Connor at all times relevant to this

    Complaint acted under color of state law when they voluntmily undertook the duties

    traditionally reserved by the Stae of Illinois by virtue of state law in their position as

    an   officer of the court with the County of Cook. Further, Defendant Ernest       J.

    Codilis, MariClare O'Connor, acted jointly with the other co-defendants to

   produce constitutional violations namely the right to be free from unnecessary

   governmental intrusion, unlawful seizure and detention of Plaintiff s property, denial

   of due process, and the eventual abusive court proceeding in 2019CH09659 case.

28. Defendant JPMorgan Chase Bank National Association at all times relevant to this

   Complaint acted under color of state law when they recorded a false mortgage.

   Further, Defendant JPMorgan Chase Bank National Association, acted jointly with

   the other co-defendants to produce constitutional violaions namely the right to be

   free from unnecessary governmental intrusion, unlawful seizure and detention             of
   Plaintiff   s property, denial of due process, and the eventual abusive   court proceeding

   in 2019CH09659      case.

29. The Defendants' JPMorgan Chase Bank National Association, Ernest J. Codilis
                                                                                            &
   Associates P.C., conduct of recording a mortgage without providing the plaintiff with

   notice, consent or acquiring plaintiff s signature on the mortgage arbitrarily and

   wrongfully deprived plaintiffof her God grven rights, inalienable rights inherent in

   being human, to be free, to be treated equal to other groups, privileges, or immunities

   secured by the Constitution of the United States.

30' Particularly, defendant's JPMorgan Chase Bank National Association, Ernest
                                                                               J. Codilis

   &   Associates P.C., conduct arbitrarily and wrongfully deprived   plaintiffof   her rights




                                                       13
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    protected by the first amendment of the United States Constitution. The defendants

    abridged the freedom of speech of plaintiffwhen they recorded a mortgage without

    plaintiff   s signature or knowledge.

31. The Defendants' Cook County Recorder of Deeds conduct of certifying and recording

    a mortgage    without providing the plaintiffwith notice, consent or acquiring plaintiff   s

    signature on the mortgage arbitrarily and wrongfully deprived plaintiffof her God

    given rights, inalienable.ights inherent in being human, to be free, to be treated equal

    to other groups, to have some protections against state power privileges, or immunities

    secured by the Constitution of the United States.

32. Particularly, defendant's Cook County Recorder of Deeds conduct arbitrarily and

    wrongfully deprived plaintiffof her rights protected by the first amendment of the

    United States Constitution. The defendants abridged the freedom of speech of plaintiff

   when they recorded a mortgage without plainti{f s signature or knowledge.

33. The Defendants' Circuit Court of Cook County Edward N. Robles, Lynn Weaver

   Boyle conduct     of claiming they did not receive plaintiff   s motions, petitions, and

   affidavits in 2019CH09659 arbitrarily and wrongfully deprived plaintiffof her God

   given rights, inalienable rights inherent in being human, to be free, to be treated equal

   to other groups, to have some protections against state power, privileges, or immunities

   secured by the Constitution of the United States. Circuit Court of Cook County

   Edward N. Robles specifically stated "stop reading everything on the internet is not

   true. Circuit Court of Cook County Lynn Weaver specifically stated "your motions

   affidavits all are frivolous"

34. Particularly, defendant's Circuit Court of Cook County Edward N. Robles, Lynn




                                                      L4
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     Weaver Boyle conduct arbitrarily and wrongfully deprived plaintiffof
                                                                          her rights

     protected by the frrst amendment of the United States Constitution.
                                                                         The defendants

     abridged the freedom of speech of plaintiff, arbitrarily and wrongfully
                                                                             denied plaintiff

     a   right to petition the government for a redress of grievances, when
                                                                            they claimed they

     did not receive plaintiff s motions, petitions, and affidavits.

 35. Defendant Senija Grebovic attorney of Grant Law LLC.,
                                                           conduct of telling judge

     Lynn Weaver Boyle that plaintiffs motions, petitions, and affidavits were gibberish
                                                                                         and

    frivolous arbitrarily and wrongfully denied the plaintiff   a   right to freedom of speech

    and a right to petition the government for a redress of grievances.

 36. Defendants actions were not objectively reasonable in light
                                                                 of the facts and

    circumstances that plaintiffdid nothing illegal or even remotely
                                                                     suspicious to justify a

    mortgage recorded without her signature. And defendants continued
                                                                      to arbitarily and

    wrongfully deny plaintifffreedom of speech and her right to petition
                                                                         the government.

37' As a direct and proximate rezult of the constitutional violations
                                                                      committed by

    defendants   plaintiffhas suffered and continues to suffer tremendous and irreparable

    emotional and mental harm and is entitled to actual and punitive
                                                                     damages.




                 PURSUANT TO TIIE T'OURTEENTH AMENDMENT

38' Plaintiff reincorporates and realleges all preceding paragraphs
                                                                    as if fully set forth

    herein.

39' Defendant Cook County Recorder of Deeds at all times
                                                         relevant to this Complaint

   acted under color of state law and exercised power possessed
                                                                by virtue of state law




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        in her position   as the   cook county clerk Recorder of Deeds with the county
                                                                                       of
        cook in the State of Illinois. Further, Defendant Cook
                                                               County Recorder, acted
       jointly with the other co-defendants to produce
                                                              constitutional violations 4gainst
       Plaintiff namely the right to be free from unnecessary governmental
                                                                           intrusion,
       arbitrary and wrongful government actionq unlawful
                                                          seizure and detention         of
       Plaintifrs property, denial of due process, and the
                                                           eventual abusive recording of a
       mortgage without     plaintiffs signature and abusive court proceeding in
       2019CH09659 case.

40' Defendant Edward N. Robles at all times relevant
                                                     to this complaint             acted under
      color of state lawwhen hevoluntmily undertook
                                                    the duties traditionally reserved by

      the state of Illinois by virtue of state law in
                                                      his position as an associate judge with the

      County of cook Further, Defendant Edward N.
                                                  Robles, acted jointly with the other
      co-defendants to produce constitutional violations
                                                         namely the right to be free from
      unnecessary governmental intrusion, arbitrary
                                                    and wrongful government actions,

  unlawful seizure and detention of Plainti{f       s   property, denial of due process, and the
  eventual fraudulent court proceeding in 20lgcH0g65g
                                                      case.

4l'   Defendant Lynn weaver Boyle at all times
                                               relevant to this complaint acted under

  color of state lawwhen he voluntmily undertook
                                                 the duties traditionally reserved by

  the State of Illinois by virtue of state law in
                                                  his position as a circuit judge with the

  county of cook. Further, Defendant Lynn weaver
                                                      Boyle, acted jointly with the
  other co-defendants to produce con$itutional
                                                violations namely the right to be free
  from unnecessary governmental intrusion, arbitrary
                                                     and wrongful government
 actions, unlawful seizure and detention of
                                            Plaintiff s property, denial of due process,




                                                         15
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    denial of right to defend hercelf in 20 I 9CH09659 and the eventual abusive court

   proceeding in 2019CH09659 case.

 42. Defendant Senija Grebovic attorney of Grant Law LLC., at all times relevant to this

   Complaint acted under color of state law when they voluntarily undertook the duties

   traditionally reserved by the State of Illinois by virtue of state law in their position as

   an   officer of the court with the County of Cook. Further, Defendant Ernest J.

   Codilis, MariClare O'Connor, acted jointly with the other co-defendants to

   produce congitutional violations namely the right to be free from unnecessary

   governmental intrusion, arbitrary and wrongful government actions, unlawful

   seizure and detention of Plaintiff s properfy, denial of due process, denial ofrigtrt to

   defend herself in 201 9CH09659 and the eventual abusive    court proceeding in

   2019CH09659 case.

43. Defendant Ernest J. Codilis, MariClare O'Connor at all times relevant to this

   Complaint acted under color of state law when they voluntmily undertook the duties

   traditionally reserved by the Stde of Illinois by virtue of state law in their position as

   officers of the court with the County of Cook. Further, Defendant Ernest J. Codilis,

  MariClare O'Connor, acted jointly with the other co-defendants to produce

  constitutional violations namely the right to be free from unnecessary governmental

  intrusion, arbitrary and wrongful government actions, unlawful seizure and

  detention of Plaintiffs property, denial of due process, denial ofrigtrt to defend hsself

  in20l9CI{09659and the eventual abusive coult proceeding in 2019CH09659 case.

44' Defendant JPMorgan      Chase Bank National Association at all times relevant to this

  Complaint acted under color of state law when they recorded a mortgage without




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        plaintiffs signature. Further, Defendant JpMorgan
                                                          chase Bank Nationar
        Association, acted jointly with the other co-defendants
                                                                to produce constitutional
       violations namely the right to be free from unnecessary
                                                               governmental intrusion,
       arbitrary and wrongful government actions, unlawful
                                                           seizure and detention of
       Plaintiff   s property, denial of due process, derdal
                                                               ofrightto defend hersdfin
       20I9CFI09659and the eventual abusive
                                            court proceeding in 2019CH09659 case.

 45' The Defendants' JPMorgan Chase Bank
                                         National Association, Ernest J. Codilis &

       Associates P'c', conduct    of recording a mortgage without     providing the plaintiffwith
       notice, consent or acquiring plaintiff s signature
                                                          on the mortgage arbitrarily and

       wrongfully deprived plaintiffof her God given
                                                     rights, inalienable rights inherent in

       being human, to be free, to be treated equal to
                                                       other groups, privileges, or immunities

       secured by the Constitution of the United
                                                 States.

 46' Particularly, defendant's JPMorgan
                                        Chase Bank National Association, Ernest J.
                                                                                   Codilis
       &   Associates P'C., conduct arbitrarily and wrongfully
                                                               deprived    plaintiffof   her rights
       protected by the fourth amendment of
                                            the Constitution of the united states,

      guaranteeing citizens the right "to be
                                             secure in their persons...against unreasonable

      seizures" of the persoo and their right to be
                                                    free from unnecessary governmental

      interference' The defendants seized plaintiffs
                                                     properly, under oath, without awaffant,

      without the correct legal description, without
                                                     consent when they recorded a mortgage

      without plaintiffls signature or knowledge. Exhibit..A,,

47   ' The Defendants' cook county Recorder of Deeds conduct
                                                             of certifuing and recording
      a mortgage   without providing the plaintiffwith notice,
                                                               consent or acquiring plaintifps

      signature on the mortgage arbitrarily and
                                                wrongftrlly deprived plaintiffof her God




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     given rights, inalienable rights inherent in being human, to be free, to
                                                                              be teated equal

     to other groups, to have some protections against state power privileges, or immunities

     secured by the Constitution of the United States.

 48. Particularly, defendant's Cook County Recorder of Deeds conduct
                                                                     arbitrarily and
     wrongfully deprived plaintiffof her rights protected by the fourth amendment of

     Constitution of the United States, guaranteeing citizens the right "to be secure in
                                                                                         their
    persons- -.against unreasonable seizures"         ofthe person and their right to be free from

    unnecessary governmental interference. The defendants arbitrarily and
                                                                          wrongfully
    seized   plaintiff    s   property under oath, without a warrant, without consent, without
                                                                                               the

    correct legal description when they certified and recorded a mortgage without

    plaintiff   s signature or knowledge.

49. The Defendants' Circuit Court of Cook County Edward N. Robles,
                                                                   Lynn Weaver

    Boyle conduct        of claiming they did not receive plaintiff s motions, petitions, and
    affrdavits in 2019CH09659 arbitrarily and wrongfully deprived plaintiff of her
                                                                                   God

    given rights, inalienable rights inherent in being human, to be free,
                                                                          to be teated equal

    to other groups, to have some protections against state power, privileges,
                                                                               or immunities

    secured by the Constitution of the United States. Circuit Court of
                                                                       Cook County

    Edward N. Robles specifically stated "stop reading everything on the
                                                                         internet is not

   true.         Circuit Court of Cook County Lynn Weaver specifically stated ..your

   motions affidavits all are frivolous,,

50. Particularly, defendant's       circuit court of cook county Edward N. Robles, Lynn

   Weaver Boyle conduct arbitrarily and wrongfully deprived plaintiffof
                                                                        her rights

   protected by the fourth amendment of Constitution of the
                                                            United States, guaranteeing




                                                           19
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     citizens the right "to be secure in their persons...against
                                                                 unreasonable seizures,, of the

     person and their right to be free from unnecessary
                                                        governmental interference. The

     defendants seized plaintifPs property, under oath,
                                                        without a warranq without consent
     when they, claimed they did not receive plaintifPs
                                                        motions, petitions, and affidavits.

 5l' Defendant   senija Grebovic attorney of Grant Law LLC., conduct
                                                                            of   telling judge
     Lynn Weaver Boyle that plaintiffs motions, petitions,
                                                           and affrdavits were gibberish and

    frivolous arbitrarily and wrongfully deprived plaintiffof
                                                              her rights protected by the

    fourth amendment of constitution of the united
                                                   states, guaranteeing citizens the right

    "to be secure in their persons...against unreasonable
                                                          seizures" ofthe person and their

    right to be free from unnecessary governmental interference.
                                                                 The defendants seized
    plaintiff s property under   oattr, without a warran! without a correct legal description

    and without consent.

52' Defendants actions were not objectively reasonable
                                                       in light of the facts and
    circumstances that plaintiff did nothing illegal
                                                     or even remotely suspicious to justify a

   mortgage recorded without her signature. And defendants
                                                           continued to deny plaintiff a

   right to be secure in her person, house and papers.

53' As a direct and proximate result of the constitutional
                                                           violations committed by
   defendants   plaintiffhas suffered and continues to suffer tremendous
                                                                         and irreparable

   emotional and mental harm and is entitled     to actualand punitive   damages.




    INCORPORATTD           PunsulNr ro         ruffi                     AMEIIDMENT

54' Plaintiff reincorporates and realleges all preceding
                                                         paragraphs as if      fully   set   forth



                                                      2A
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    herein.

55. Defendant Cook County Recorder of Deeds at all timesrelevant           tothis Complaint

    acted under color of state law and exercised power possessed by virtue of state law

    in her position   as the Cook   County Clerk Recorder of Deeds with the County of

    Cook in the State of Illinois. Further, Defendant Cook County Recorder, acted

   jointly with the other co-defendants to produce constitutional violations against

    Plaintiff, namely the right to be free from unnecessary governmental intrusion,

    arbitrary and wrongful government actions, unlawful seizure and detention of

   Plaintiff   s property, denial of due process, and the eventual abusive    recording of a

   mortgage without plaintiff s signature and court proceeding in 2019CH09659 case.

56' Defendant Edward N. Robles at all times relevant to this Complaint acted under

   color of state law when he voluntarily undertook the duties traditionally reserved by

  the State of Illinois by virtue of state law in his position as an associate judge with the

  County of Cook Further, Defendant Edward N. Robles, acted jointly with the other

  co-defendants to produce constitutional violations namely the right to be free from

  unnecessary governmental intrusion, arbitrary and wrongful government actions,

  unlawful seizure and detention of Plaintiff    s   property, denial of due process, and the

  eventual abusive court proceeding in 2019CH09659 case.

57. Defendant Lynn Weaver Boyle at all times relevant to this Complaint acted under

  color of state lawwhen he voluntarily undertook the duties traditionally reserved by

  the State of Illinois by virtue of state law in his position as a circuit judge with the

  County of Cook. Further, Defendant Lynn Weaver Boyle, acted jointly with the

  other co-defendants to produce constitutional violations namely the right to be free




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    from unnecessary governmental intrusion, arbitrary and wrongful government

   actions, unlawful seizure and detention of Plaintiff s property, denial
                                                                           of due process,
   denial of rigtr to defend herself in 20 t gcH0g65g and the eventual
                                                                       abusive courr
   proceeding in 2019CH09659 case.

58' Defendant Senija Grebovic attorney of Grant Law LLC. *" alltimes relevant
                                                        ,                     to this
   Complaint acted under color of state law when they voluntarily undertook
                                                                            the duties
   traditionally reserved by the State of Illinois by virtue of state law
                                                                          in their position as

   an   officer of the court with the County of Cook. Further, Defendant Ernest
                                                                                J.

   codilis, Mariclare o'connor, acted jointry with the other co-defendants
                                                                           to
   produce constitutional violations namely the right to
                                                         be free from unnecessary

   governmental intrusion, arbitrary and wrongful government
                                                             actions, unlawful

   seizure and detention of Plaintiff s properfy, denial of due procesg
                                                                        denial ofrigtrt to

   defendherselfin 20l9CFI09659and the eventual abusive court proceeding
                                                                         in
  2019CH09659 case.

59' Defendant Ernest J. Codilis, MariClare O'Connor at all times relevant
                                                                          to this
  Complaint acted under color of state lawwhen they voluntarily undertook
                                                                          the duties

  traditionally reserved by the State of Illinois by virtue of state law in
                                                                            their position as
  officers of the court with the County of Cook. Further, Defendant
                                                                    Ernest J. Codilis,
  Mariclare o'connor, acted jointly with the other co-defendants to produce

  constitutional violations namely the right to be free from unnecessary governmental

  intrusion, arbitrary and wrongful government actionq unlawful
                                                                seizure and detention

  ofPlaintiffs property, denial ofdueprocess, denialofrighttodefendhersdfin

  2019CFI09659and the eventual abusive couft proceeding in
                                                           2019CH09659 case.




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60. Defendant JPMorgan Chase Bank National Association at all times relevant to this

   Complaint acted under color of state lawwhenthey recorded amortgage without

   plaintiffs signdure. Further, Defendant JPMorgan chase Bank National

   Association, acted jointly with the other co-defendants to produce constitutional

   violations namely the right to be free from unnecessary governmental intrusion,

   arbitrary and wrongful government actionq unlawful seizure and detention              of
   Plainti{f s property, denial of due process,    denial ofright to defend hersdf in

   20l9CF{09659 and the eventual abusive court proceeding in 2019CH09659 case.

61. The Defendants' JPMorgan Chase Bank National Association, Ernest J. Codilis                &
   Associates P.C., conduct    of   recording a mortgage without providing the plaintiffwith

   notice, consent or acquiring plaintiff s signature on the mortgage arbitrarily and

   wrongfully deprived plaintiffof her God given rights, inalienable rights inherent in

   being human, to be free, to be treated equal to other groups, privileges, or immunities

   secured by the Constitution of the United States.

62. Particularly, defendant's JPMorgan Chase Bank National Association, Ernest J. Codilis

   &   Associates P.C., conduct arbitrarily and wrongfully deprived       plaintiffof   her rights

   protected by the fifth amendment of the Constitution of the United States, guaranteeing

   citizens the right "nor be deprived of life, liberty, or property, without due process of law of

   the person and their right to be free from unnecessary governmental interference. The

   defendants did not notify   plaintiffof   a mortgage recorded on October      l0,2OIg under

   oath and without plaintifPs signature and case 2019CH09659. Exhibit           "A".    The

   defendants under oath submitted on August        2l,2}lg   in 20l9CH0g65g      a   complaint that

   was missing two pages. Exhibit     "B","C". Defendants then later under oath record the



                                                        23
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    two missing pages. Defendants later on October 20,?A2l include the two pages in

   their Motion for Entry of Judgment and Foreclosure. The defendants under oath,

    attempted to serve plaintiffat an address she does not live at. See Exhibit *F".

63. The Defendants' Cook County Recorder of Deeds arbitrary and wrongful conduct of

   certifying and recording a mortgage without providing the plaintiffwith notice, consent

   or acquiring plaintiffs signature on the mortgage arbitrarily and wrongfully deprived

   plaintiffof   her God glven rights, inalienable rights inherent in being human, to be free,

   to be treated equal to other groups, to have some protections against state power

   privileges, or immunities secured by the Constitution of the United States.

64. Particularly, defendant's Cook County Recorder of Deeds conduct arbitrarily and

   wrongfully deprived plaintiffof her rights protected by the fifth amendment of

   Constitution of the United States, guaranteeing citizens the right "nor be deprived       of
   life, liberty, or property, without due process of law of the person and their right to be

   free from unnecessary governmental interference". The defendants certified and

   recorded under oath, without plaintiff signature a mortgage. Further the defendants

   arbitrarily and wrongfully refused to refer plaintiffto Illinois fraud review.

65. The Defendants' Circuit Court of Cook County Edward N. Robles, Lynn Weaver

   Boyle conduct    of claiming they did not receive plaintifPs motiong petitions,     and

   affidavits in 2019CH09659 case arbitrarily and wrongfully deprived plaintiff of her

   God given rights, inalienable rights inherent in being human, to be free, to be treated

   equal to other groups, to have some protections against state power, privileges, or

   immunities secured by the Constitution of the United States. Circuit Court of Cook

   County Edward N. Robles specifically stated "stop reading everything on the internet is




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     not true. Circuit Court of Cook County Lynn Weaver specifically stated "your motions

     affrdavits all are frivolous".

 66. Particularly, defendant's Circuit Court of Cook County Edward N. Robles, Lynn

    Weaver Boyle conduct arbitrarily and wrongfully deprived plaintiff of her.ights

    protected by the fifth amendment of Constitution of the United States, guaranteeing

    citizens the right "nor be deprived of life, liberty, or property, without due process   of
    law of the person and their right to be free from unnecessary governmental

    interference". The defendants, under oath, arbitrarily and wrongfully denied plaintiff

    due process of law when they, claimed they did not receive     plaintiffs motions,
    petitions, and affi davits.

67. Defendant Senija Grebovic attorney of Grant Law LLC., conduct          of   telling judge

    Lynn Weaver Boyle that plaintiffs motions, petitions, and affidavits were gibberish and

    frivolous deprived plaintiffof her rights protected by the fifth amendment of

    Constitution of the United States, guaranteeing citizens the right "nor be deprived of

    life, liberty, or property, without due process of law of the person and their right to be

    free from unnecessary governmental interference. The defendants under oath, without a

    correct legal description, arbitrarily and wrongfully denied plaintiffof due process     of
    law.

68. Defendants actions were not objectively reasonable in light of the facts and

   circumstances that plaintiffdid nothing illegal or even remotely suspicious to justify a

   mortgage recorded without her signature. And defendants continued to deny plaintiffa

   right to be secure in her person, house and papers.

69. As a direct and proximate result of the constitutional violations committed by




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     defendants   plaintiffhas suffered and continues to suffer ffemendous and
                                                                               irreparable

    emotional and mental harm and is entitled to actual and punitive
                                                                     damages.




    IhIcoRPORATFp puRsuAIIT TO THE TOURTEENTH
                                              AMENDMENT
 70' Plaintiff reincorporates and realleges all preceding paragraphs
                                                                     as if fully set forth

    herein.

71' Defendant Cook County Recorder of Deeds
                                            at all times relevant tothis Complaint

    acted under color of state law and exercised power possessed
                                                                 by virtue of state law
    in her position   as the   Cook County Clerk Recorder of Deeds with the County       of
    Cook in the State of Illinois. Further, Defendant Cook County
                                                                  Recorder, acted
   jointly with the other co-defendants to produce constitutional
                                                                  violations against
   Plaintiff, namely the right to be free from unnecessary governmental
                                                                        intrusion,
   arbitrary and wrongful government actions, unlawful seizure
                                                               and detention        of
   Plaintiff   s property, denial of due process, and the eventual
                                                                   abusive   recording of a
   mortgage without plaintiff s signature and court proceeding
                                                               in 2019CH09659 case.
72' Defendant Edward N. Robles at all times relevant to this
                                                             Complaint acted under
  color of state lawwhen he voluntarily undertook the duties
                                                             traditionally reserved by
  the State of Illinois by virtue of state law in his position
                                                               as an associate judge with the

  County of Cook Further, Defendant Edward N. Robles,
                                                      acted jointly with the other

  co-defendants to produce constitutional violations namely
                                                            the right to be free from
  unnecessary governmental intrusion, arbitrary and
                                                    wrongful government actions,
  unlawful seizure and detention of PlaintifPs property, denial of
                                                                   due process, and the




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     eventual abusive court proceeding in 2019cH09659
                                                      case.

  73' Defendant Lynn weaver Boyle at all times relevant to
                                                           this complaint acted under
    color of state lawwhen he voluntarily undertook the duties
                                                               traditionally reserved by
    the State    oflllinois by virtue of state law in his position as a circuit judge
                                                                                      with the
    County of Cook' Furtheq Defendant Lynn weaver Boylg
                                                        acted jointly with the
    other co-defendants to produce constitutional violations
                                                             namely the right to be free
    from unnecessary governmental intrusion, arbitrary
                                                       and wrongful government

    actions, unlawful seizure and detention of Plaintiff property,
                                                        s          denial of due process,
    denial of   riglt to defend   herself in 20l gcH0g65g and the eventual abusive
                                                                                   courr
    proceeding in 2019CH09659 case.

 74' Defendant Senija Grebovic attorney of Grant Law LLC.
                                                          , at alltimes relevant to this
   Complaint acted under color of state law when they
                                                      voluntarily undertook the duties
   traditionally reserved by the state oflllinois by virtue
                                                            of state law in their position as
   an   officer of the court with the County of Cook. Further, Defendant
                                                                         Ernest J.
   codilis, Mariclare o'connor, acted jointly with the other
                                                             co_defendants to
   produce constitutional violations namely
                                            the right to be free from unnecessary

   governmental intrusion, arbitrary and wrongful
                                                  government actions, unlawful

   seizure and detention of Plaintiff s property, denial
                                                         of due process, denial ofriglt to
   defend herserin 20 1 9CH09659 and the eventual
                                                  abusive         court proceeding in
  2019CH09659 case.

75' Defendant Ernest J. Codiliq MariClare O'Connor at
                                                      all times relevant to this
  complaint acted under color of state law when they voluntarily
                                                                 undertook the duties
  traditionally reserved by the State of Illinois by virtue
                                                            of state law in their position as




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       officers of the courtwiththe County of Cook. Further, Defendant Ernest J. Codilis,

       MariClare O'Connor, acted jointly with the other co-defendants to produce

       constitutional violations namely the right to be free from unnecessary governmental

       intrusion, arbitrary and wrongful government actions, unlawful seizure and detention

       of PlaintifPs property, denial of dueprocess, denialofrigfrttodeferdhersdfin

       20l9cH09659and the eventual abusive coufi proceeding in 2019CH09659 case.

76. Defendant JPMorgan Chase Bank National Association at all times relevant to this

       Complaint acted under color of state lawwhen they recorded a mortgage without

       plaintiffs signature. Further, Defendant JpMorgan Chase Bank National

       Association, acted jointly with the other co-defendants to produce constitutional

   violations namely the right to be free from unnecessary governmental intrusion,

   arbitrary and wrongful govemment actions, unlawful seizure and detention                  of
   Plaintiff     s   property, denial of due process, derdal of right to defend hersdf in

   20l9CI{09659and the eventual abusive court proceeding in 2019CH09659 case.

77 .   The Defendants' JPMorgan Chase Bank National Association, Ernest J. Codilis                &
       Associates P.C., arbitrary and wrongfirl conduct      of   recording a mortgage without

       providing the plaintiffwith notice, consent or acquiring plaintifPs signature on the

       moftgage deprived plaintiffof her God given rights, inalienable rights inherent in being

       human, to be free, to be treated equal to other groups, privileges, or immunities secured

       by the Constitution of the United States.

78. Particularly, defendant's JPMorgan Chase Bank National Association, Ernest J. Codilis

       &   Associates P.C., conduct arbitrarily and wrongfully deprived     plaintiffof   her rights

       protected by the ninth amendment of the Constitution of the United States,




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    guaranteeing citizens the right "the enumeration in the Constitution, of certain rights,

    shall not be construed to deny or disparage others retained by the people. the

    deprivation of any rights, privileges, or immunities secured by the Constitution and

    laws" and their right to be free from unnecessary governmental interference". The

    defendants seized plaintiff s property, under oath, without a warant, without the

    correct legal description, without consent when they recorded a mortgage without

    plaintiff   s signature or knowledge.

79. The Defendants' Cook County Recorder of Deeds arbitrary and wrongful conduct             of
    certifuing and recording a mortgage without providing the plaintiffwith notice, consent

   or acquiring plaintiff s signature on the mortgage arbitrarily and wrongfully deprived

   plaintiffof her God gtven rights, inalienable rights inherent in being human, to be free,

   to be treated equal to other groups, to have some protections against state power

   privileges, or immunities secured by the Constitution of the United States.

80. Particularly, defendant's Cook County Recorder of Deeds conduct arbitrarily and

   wrongfully deprived plaintiffof her rights protected by the ninth amendment of

   Constitution of the United States, guaranteeing citizens the right "the enumeration in

   the Constitution, of certain rights, shall not be construed to deny or disparage others

   retained by the people. the deprivation of any rights, privileges, or immunities secured

   by the Constitution and laws and their right to be free from unnecessary governmental

   interference. The defendants seized plaintiffs propertry under oath, without a warrant,

   without consent, without the correct legal description when they certified and recorded

   a mortgage without     plaintiffs signature or knowledge.

81. The Defendants' Circuit Court of Cook County Edward N. Robles, Lynn Weaver




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     Boyle conduct    of   claiming they did not receive plaintifps motions, petitions,
                                                                                        and
     affidavits in 20l9cHog65g case arbitrarily and wrongfully
                                                               deprived plaintiffof her

     God given rights, inalienable rights inherent in being
                                                            human, to be free, to be treated

     equal to other groups, to have some protections
                                                     against state poweq privileges, or

     immunities secured by the constitution of the united
                                                          States. Circuit Court of Cook

     county Edward N. Robles specifically stated "stop reading
                                                               everything on the internet is

     not true' Circuit Court of Cook County Lynn
                                                 weaver specifically stated..your motions
    affidavits all are frivolous,,

 82. Particularly, defendant's   circuit court of cook county Edward N. Robleq Lynn

    Weaver Boyle conduct arbitrarily and wrongfully
                                                    deprived plaintiffof her rights

    protected by the ninth amendment of Constitution
                                                     of the United States, guaranteeing
    citizens the right "the enumeration in the Constitution,
                                                             of certain rights, shall not be
    construed to deny or disparage others retained
                                                   by the people. the deprivation of any

    rights, privileges, or immunities secured by the
                                                     Constitution and laws and their right to

    be free from unnecessary governmental interference.
                                                        The defendants seized       plaintiff   s

   property, under oatlu without a warrant, without
                                                    consent when they, claimed they did

   not receive plaintiffs motiong petitions, and
                                                 affidavits.
83' Defendant Senija Grebovic attorney of
                                          Grant Law LLC., conduct         of   tellingjudge
   Lynn Weaver Boyle that plaintiffs motions, petitions,
                                                         and affidavits were gibberish and

   frivolous arbitarily and wrongfully deprived plaintiffof
                                                            her rights protected by the

   ninth amendment of constitution of the United
                                                 States, guaranteeing citizens the right

   "the enumeration in the Constitution, of certain rights,
                                                            shall not be construed to deny or

   disparage others retained by the people. the
                                                deprivation of any rights, privileges, or




                                                     30
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        immunities secured by the Constitution and laws and their right
                                                                        to be free from

       unnecessary governmental interference. The defendants seized       plaintiff   s   property

       under oath, without a warranq without a correct legal description
                                                                         and without consent.

    84. Defendants actions were not objectively reasonable in light
                                                                    of the facts and

       circumstances that plaintiffdid nothing illegal or even remotely
                                                                        suspicious to justi$r a

       mortgage recorded without her signature. And defendants continued
                                                                         to deny plaintiffa
       right to be secure in her person, house and papers.

85- As a direct and proximate result of the constitutional violations
                                                                      committed by

       defendants   plaintiffhas suffered and continues to suffer fiemendous and irreparable

       emotional and mental harm and is entitled to actual and punitive
                                                                        damages.




      TNCoRPoRATE.n pURSUANT TO TIIE FOURTEEUST
                                                                            aynNoil-rNr

    t. Plaintiff reincorporates and realleges all preceding paragraphs if
                                                                      as fully              set   forth
       herein.

)     Defendant Cook County Recorder of Deeds at all times relevant
                                                                    to this Complaint

      acted under color of state law and exercised power possessed
                                                                   by virtue of state law
      in her position   as the Cook   County Clerk Recorder of Deeds with the County of

      Cook in the State of Illinois. Further, Defendant Cook County Recorder,
                                                                              acted
     jointly with the other co-defendants to produce constitutional
                                                                    violations against
      Plaintiff, namely the right to be free from unnecessary goyernmental
                                                                           intrusiorq
      unlawful seizure and detention of Plaintiff   s   properfy, denial of due process, and the

     eventual abusive court proceeding in 2019cH09659 case.




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3. Defendant Edward N. Robles at all times relevant to this Complaint acted under

   color of state law when he voluntarily undertook the duties traditionally reserved by

   the State of Illinois by virtue of state law in his position as an associate judge with the

   County of Cook Further, Defendant Edward N. Robles, acted jointly with the other

   co-defendants to produce constitutional violations namely the right to be free from

   unnecessary governmental intrusion, arbitrary and wrongful government actions,

  unlawful seizure and detention of Plaintiffs property, denial of due process, and the

   eventual abusive court proceeding in 2019CH09659 case.

4. Defendant Lynn Weaver Boyle at all times relevant to this Complaint acted under

  color of state lawwhen he voluntarily undertook the duties traditionally reserved by

  the Stae of Illinois by virtue of state law in his position as a circuit judge with the

  County of Cook. Further, Defendant Lynn Weaver Boylg acted jointly with the

  other co-defendants to produce constitutional violations namely the right to be free

  from unnecessary governmental intrusion, arbitrary and wrongful government actions,

  unlawful seizure and detention of PlaintifPs property, denial of due process, denial of

  righttodefqtdherselfin20lgcH0g65gand the eventual abusive couft proceeding in

  2019CH09659 case.

5. Defendant Senija Grebovic attorney of Grant Law LLC. , d. alltimes relevant to this

  Complaint acted under color of state lawwhen they voluntarily undertook the duties

  traditionally reserved by the State of Illinois by virtue of state law in their position as

  an   officer of the court with the County of Cook. Further, Defendant Ernest J.

  codilis, MariClare o'connor, acted jointly with the other co-defendants to

  produce constitutional violations namely the right to be free from unnecessary




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    governmental intrusion, arbitrary and wrongful government
                                                              actions, unlawful seizure

    and detention of    Plaintiffs property, denial of due process,   denial ofright to defend

    herselfin20lgCI{09659and the eventual abusive courr proceeding
                                                                   in 2019CH09d59
    case.

 6' Defendant Ernest J. Codilis, MariClare o'Connor          at all times relevant to this

    Complaint acted under color of state lawwhen they voluntarily
                                                                  undertook the duties
   traditionally reserved by the Stde of Illinois by virtue of state law
                                                                         in their position as

   officers of the court with the County of Cook. Further, Defendant
                                                                     Ernest J. Codilis,
   MariClare O'Connor, acted jointly with the other co-defendants
                                                                  to produce
   constitutional violations namely the right to be free from unnecessary
                                                                          governmental
   intrusion, arbitrary and wrongful government actions, unlawful
                                                                  seizure and detention

   of Plaintiffs property, denial ofdueprocess, denialofrigtrttodefendhersdfin

   20l9CH09659and the eventual abusive court proceeding
                                                        in 2019CH09659 case.
7' Defendant JPMorgan       Chase Bank National Association at all times relevant
                                                                                  to this
   Complaint acted under color of state lawwhenthey recorded
                                                             amortgage without
   plaintiffs signature. Further, Defendant JpMorgan chase Bank
                                                                National
   Association, acted jointly with the other co-defendants
                                                           to produce constitutional
  violations namely the right to befree from unnecessary governmental
                                                                      intrusion,
  arbitrary and wrongftrl government actions, unlawful seizure
                                                               and detention             of
  Plaintiff   s property, deniat of due process, denial ofrigtrt to
                                                                    defend hersdf   in
  2019CH09659 and the eventual abusive court proceeding
                                                        in 2019CH09659 case.
8' The Defendants' JPMorgan Chase Bank National Association,            Ernest J. Codilis     &
   Associates P.C-, conduct    of   recording a mortgage without providing the plaintiffwith




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      notice, consent or acquiring plaintiff s signature on the mortgage deprived      plaintiffof
      her God given rights, inalienable rights inherent in being human, to be free, to be

     treated equal to other groups, privileges, or immunities secured by the Constitution         of
     the United States.

9-   Particularly, defendant's JPMorgan Chase Bank National Association, Ernest J. Codilis

     &   Associates P.C., conduct arbitrarily and wrongfully deprived    plaintiffof   her rights

     protected by the fourteenth amendment of the Constitution of the United States,

     guaranteeing citizens the right "which prohibits the states from depriving any person
                                                                                                    of
     life, libefly, or properly, without due process of law" and their right to be free from

     unnecessary governmental interference. The defendants seized      plaintiff   s propertry,

     under oath, without a warran! without the correct legal description, without consent

     when they recorded a mortgage without plaintifPs signature or knowledge. The

     defendant JPMorgan Chase Bank National Association, Ernest J. Codilis & Associates

     P'C', and MariClare O'Connor conduct of recording      a mortgage   without plaintiff   s

     signature, knowledge, consent, or notice deprived the plaintiffof due process. The

     defendant JPMorgan Chase Bank National Association, Ernest J. Codilis & Associates

     P.C-, conduct of attempting service at a wrong address deprived plaintiffof due

     process. The defendant arbitarily and wrongfully conduct of submiuing a complaint

     in 2019CH09659 with two pages missing and later recording the two pages, and later

     adding the two pages in a subsequent motion deprived the plaintiffof fundamental

   fairness, truthfi.rlness and honesty.

10. The   Defendants' Cook County Recorder of Deeds arbitrarily       and   wrongfully conduct

   of certifying and recording   a mortgage   without providing the plaintiff with notice,




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   consent or acquiring plaintifPs signature on the mortgage deprived          plaintiffof her God

   given rights, inalienable rights inherent in being human, to be free, to be treated equal

   to other groups, to have some protections against state power privileges, or immunities

   secured by the Constitution of the United States.

11. Particularly, defendant's Cook County Recorder of Deeds conduct            arbitrarily and

   wrongfully deprived plaintiff of her rigtrts protected by the fourteenth amendment of

   Constitution of the United States, guaranteeing citizens the right *which prohibits the

   states   from depriving any person of life, libefly, or property, without due process of

   law" and their right to be free from unnecessary governmental interference. The

   defendants seized plaintifPs property under oath, without a warran! without consent,

   without the correct legal description when they certified and recorded a mortgage

   without plaintiffs signature or knowledge. The defendant's Cook County Recorder of

   Deeds arbitrarily and wrongfully conduct of certifying and recording a mortgage

   without plaintiffs signature and refusing to refer plaintiffto fraud review and referral

   arbitrarily and wrongfully deprived the plaintiffof      a hearing,   right to be heard, and the

   due process of law.

12. The   Defendants' Circuit Court of Cook County Edward N. Robles, Lynn Weaver

   Boyle conduct    of   claiming they did not receive plaintiff s motions, petitions, and

   affidavits in 2019CH09659 case arbitrarily and wrongfully deprived plaintiff of her

   God given rights, inalienable rights inherent in being human, to be free, to be treated

   equal to other groups, to have some protections against state power, privileges, or

   immunities secured by the Constitution of the United States. Circuit Coufi of Cook

   County Edward N. Robles specifically stated "stop reading everything on the internet is




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    not   true.       Circuit Court of Cook County Lynn Weaver specifically stated "your

    motions affidavits all are frivolous"

13. Particularly, defendant's     Circuit Court of Cook County Edward N. Robles, Lynn

    Weaver Boyle conduct arbitrarily and wrongfully deprived plaintiffof her rights

    protected by the fourteenth amendment of Constitution of the United States,

    guaranteeing citizens the right "which prohibits the states from depriving any person           of
    life, liberty, or property, without due process of law" and their right to be free from

    unnecessary governmental interference. The defendants seized plaintifP s property,

    under oath, without a warran! without consent when they, claimed they did not receive

    plaintiff   s motions,   petitions, and affidavits. The defendants Circuit Court of Cook

    County Edward N. Robles, and Lynn Weaver Boyle conduct of claiming they did not

   receive plaintiff s motions, petitions and aflidavits deprived plaintiffa fair and

   impartial judge, fundamental fairness, the right to a hearing, and due process.

14. Defendant Senija Grebovic attorney of Grant        Law LLC., conduct       of   telling judge

   Lynn Weaver Boyle that plaintiffs motions, petitions, and affrdavits were gibberish and

   frivolous arbitrarily and wrongfully deprived plaintiffof her rights protected by the

   fourteenth amendment of Constitution of the United States, guaranteeing citizens the

   right "which prohibits the states from depriving any person of life, liberty, or property,

   without due process of laur" and their right to be free from unnecessary governmental

   interference. The defendants seized plaintiffs property under oath, without a warrant,

   without a correct legal description and without consent.

15. Defendants actions were not objectively reasonable        in light of the facts and

   circumstances that plaintiffdid nothing illegal or even remotely suspicious to justify a




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           mortgage recorded without her signature. And defendants
                                                                   continued to deny plaintiffa

           right to be secure in her person, house and papers.

     16' As a direct and proximate result of the constitutional
                                                                violations committed by

           defendants   plaintiff has suffered and continues to suffer tremendous
                                                                                  and irreparable

           emotional and mental harm and is entitled to actual and punitive
                                                                            damages.




                              DEED.I
     (STATE LAW CLAIM PURSUANT TO THE
                                      COMMON LAW OF ILLINOIS)
 l'       Plaintiffrealleges and reincorporates all preceding paragraphs
                                                                            as   if fully setforth   herein,
 2'       Defendants owed statutory and common law duties
                                                          to the public at large, and to
          Plaintiffin particular, to refrain from negligently hiring, training
                                                                               supervising     and./or
          retaining employees.

 3   '    Further, these Defendants had an obligation to hire
                                                              and retain recorder of deeds

          employees who were free from gendoand racial animus
                                                              and who would fulfill their oath

          to serve all Americans regardless of a person's age,
                                                               race, coloq religion, gender or

          national origin.

4'       upon information and belief these Defendants were negligent
                                                                     in hiring and retaining
         Defendant Karen A. Yarbrough of the Cook
                                                  county Recorder of Deeds office and
         knowingly retained this person.

5'       upon information and belief these Defendants were negligent
                                                                     in hiring and retaining
         Defendant Karen A. Yarbrough and knowingly
                                                    retained this person raiho was upon

         information and belief undertrained unqualified,
                                                          or unable to perform the duties of a

         county recorder as a reasonable person would.

6'       upon information and beliefl these Defendants were negligent
                                                                      in hiring and retaining
         DefendantKaren A. Yarbrough Defendants knewor
                                                       should have known that hiring and


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      retaining them as county recorder presented a danger to the public at large, and to

      Plaintiff in particular and that it was foreseeable that Defendant Karen A. yarbrough

      would fail to perform their responsibility in a reasonable manner that was consistent

      with generally accepted wtifringandrecording of mortgages procedure and protocol.

 7. Defendant failed to perform reasonable        training and supervision of its county recorder

      including, but not limited to the following     areas:

                         a. Recording of mortgages;

                         b. Certification of mortgages,

                         c. Referral to fraud review when a mortgage is

                         recorded without a signature;

                        d. Preventing unlawful conduct by its employees;

                        e.   Ensuring proper communication between fraud review and the public;

                        g. Balancing   lawful objectives with appropriate referral to fraud rwiew;
                        and

                        h. Any additional particulars ascertained in

                         discovery for this case or at trial.

8.   As a direc! foreseeable and proximate result of the negligent, grossly negligent,

     reckless,   willful and wanton acts and./or omissions of Defendants, plaintiff     Renee

     A. Washington suffered conscious physical harm and injury, and endured pain and

     suffering, including mental distress, and emotional anguish.

9. Due to willful, wanton, reckless, grossly negligeng and negligent acts of the
     Defendants set out above, Plaintiffs are entitled to recover actual and punitive damages

     from Defendants as determined by a jury.




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COIINT S.E'VF'N- TFGI IGN'.NT HIRTNG. SIIPF'RVISTON ANTIRN'TENTION AS TO
                     COOK COIINTY CTRCTIIT COTTRT
  (STATE LAW CLAIM PURSUANT TO TIIE COMMON LAW OF' ILLINOIS)

 l.   Plaintiff realleges and reincorporates all preceding paragraphs    as   if fully   set   forth

 herein.

 2.   Defendants owed statutory and common law duties to the public at largg and to

      Plaintiffin particular, to refrain from negligently hiring, training, supervising

      and/ or   retaining employees.

 3.   Further, these Defendants had an obligation to hire and retain judges who werefree

      from judicial bias, gendoandracial animus and who would fulfill their oath to serve

      all Americans regardless of a person's age, race, color, religiorl gender or national

      origin.

 4.   Upon information and belief, these Defendants were negligent in hiring and

      retaining Defendant Edward N. Robles and Lynn Weaver Boyle of the Circuit

      Court Cook County and knowingly retained this person(s).

 5. Upon information       and belief, these Defendants were negligent in hiring and

      retaining Defendant Edward N. Robles and Lynn Weaver Boyle and knowingly

      retained this person who was upon information and belief undertrained, unqualified, or

      unable to perform the duties of ajudge in an unbiased impartial manner as a reasonable

      person would.

 6. Upon    information and belief, these Defendants were negligent in hiring and

      retaining Defendant Edward N. Robles and Lynn Weaver Boyle Defendants knew

      or should have known that hiring and retaining them    as   judges presented a danger




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     to the public at large, and to Plaintiff in particular. and that it was foreseeable that

     Defendant Edward N. Robles and Lynn Weaver Boyle would fail to perform their

     responsibility in areasonable manner that was consistent with generally accepted

     unbiased impmtial j   udicial procedure and protocol.

7. Defendant      failed to perform reasonable training and supervision of judge Edward N.

     Robles and Lynn Weaver Boyle including, but not limited to the following areas:

                           a. Fundamental fairness,

                           b. Fair and impartial unbias judge;

                           c. Fair hearing;

                           d. Preventing unlawful conduct by its employees;

                           e. Ensuring   judicial independence to protects individuals from the
                             arbitrary use of government power and ensures the rule of law,

                           g. Balancing lawful objectives withjudicial integrity; and

                           h. Any additional particulars ascertained in

                           discovery for this case or at trial.

8. As a direct, foreseeable       and proximate result of the negligent, grossly negligent,

     reckless,   willful and wanton acts and/or omissions of Defendantq Plaintiff
     Renee A. Washington suffered conscious physical harm and injury, and endured pain

     and suffering, including mental distress, and emotional anguish.

9.   Due to willful, wanton, reckless, grossly negligent, and negligent acts of the

     Defendants set out above, Plaintiffs are entitled to recover actual and punitive

     damages from Defendants as determined by ajury.




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                       l\l-F.Gr rGF
                   COTIII IS & ASSOCIATFS P.C.
  (STATE LAW CLAIM PURSUANT TO THE COMMON LAW OF ILLINOIS)

 10.   Plaintiff realleges and reincolporates all preceding paragraphs    as   iffully   set   forth

 herein.

 11. Defendants owed statutory and        common law duties to the public at large, and to

       Plaintiff in particular, to refrain from negligently hiring, training, supervising

       and/ or   retaining employees.

 12. Further, these Defendants had an       obligation to hire and retain attorneys who were

       free from judicial bias, gurdaardracial animus and who would       ful{ill their oath to
       serve   all Americans regardless of a person's age, rafre, color, religion, gender or

       national origin.

 13.   Upon informmion and belief these Defendants were negligent in hiring and

       retaining MariClare O'Connor, Ernest J. Codilis, of and Codilis & Associates

       P.C., Senija Grebovic of and Grant Law      LLC.   and knowingly retained this(s)

       person (s).

 14.   Upon information and beliee these Defendants were negligent in hiring and

       retaining Defendant MariClare O'Connor, Ernest J. Codilis, of and Codilis          &
       Associates P.C., Senija Grebovic of and Grant Law LLC and knowingly retained

       this person who was upon information and belief undertrained, unqualified, or unable

       to perform the duties of a attorneys in an unbiased impartial manner as a reasonable

       person would.

 15.   Upon information and belief these Defendants were negligent in hiring and

       retaining Defendant MariClare O'Connor, Ernest J. Codilis, of and Codilis          &



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     Associates P-C-, Senija Grebovic of and Grant Law
                                                       LLC Defendants knew or
     should have known that hiring and retaining them
                                                      as attorneys presented a danger

     to the public at largg and to Plaintiffin particular.
                                                           and that it was foreseeable that

     Defendant MariClare O'Connor, Ernest J. Codilis,
                                                      of and Codilis & Associates
     P.c., Senda Grebovic of and Grant Law LLC would fail
                                                          to perform their
     responsibility in a reasonable manner that was consistent
                                                               with generally accepted
     tnbiasod impmtial procedure and protocol.

 16' Defendant failed to perform reasonable
                                            training and supervision of its attorneys

    including, but not limited to the following      areas:

                        a. Fundamental fairness;

                        b. Fair and impartial pleadings;

                       c.   Fair hearing,

                       d Preventing unlaurful conduct by its employees;

                       e.   Ensuring judicial integrity to protects individuals from
                                                                                     the arbitrary
                            use of legal power and ensures the rule of law;

                       t'o Balancing lawful objectives withjudicial integrity; and

                       h.   Any additional particulars ascertained in

                       discovery for this case or attnal.

l7' As a direct' foreseeable and proximate result of the negligent,
                                                                    grossly negligent,
   reckless,   willful and wanton acts and/or omissions of Defendants, plaintiff
   Renee     A' washington suffered      conscious physical harm and injury, and endured pain

   and suffering, including mentar distress, and emotional
                                                           anguish.

18. Due to   willful, wanton, reckless, grossly negligent, and negligent acts
                                                                              of the
   Defendants set out above, Plaintiffs are entitled to
                                                        recover actual and punitive



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        damages from Defendants as determined by ajury.

         colnrT      NT|\-F-
rIEF'TNNANTS
                                                  Drrrls
      (STATE LAW CLAIM PURSUANT TO TIIE COMMON LAW OF ILLINOIS)

 l.    Plaintiffrealleges and reincorporate all preceding paragraphs       as   iffully   set   forth
        herein.

 2.    Plaintiffs   are   informed and believe the Defendants owed a duty to the public in general

       and to the   Plaintiffin particular to use due care in fulfilling their recorder duties and to

       ensure their conduct conformed to generally accepted recording and certi$ring
                                                                                                    of
       mortgages standards.

 3.    Plaintiffs   are   informed and believe the Defendants owed a duty to the public in general

       and to the   Plaintiffin particular to use due care in fulfilling their fraud referral      and

       review duties and to ensure their conduct conformed to generally accepted fraud

       review and referral standards.

4.     Plaintiffs are informed and believe that at all times relevant hereto Defendant Karen
                                                                                             A.
      Yarbrough were the recorder of Cook County Clerk and         as such Cook    County Clerk is

      vicariously liable for their acts and./or omissions that proximately caused Defendant's

      unlawful seizure of property, mortgage fraud, wrongful use of civil proceedings, and

      abuse ofprocess.

5.    on october 2,Z}l9,Defendants failed to use due        care and were grossly     negligenl
      negligent, reckless, willful and wanton in the following particulars:

        a.   Failing to follow proper protocol and procedures for certifring a
             mortgage;
        b.   causing and allowing untrained employees to unlawfully seize the
             Plaintiff properry;
        c.   Failing to use the appropriate recording process for conveyances per
             (76s ILCS 519); and
        d.   In such other particulars as may be shown at trial or ascertained


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                 in discovery.
 6' On October lo,2olg,Defendants                failed to use due care and were grossly negligen!

         negligent, reckless,    willful   and wanton in the following particulars:

            a.   Failing to follow proper protocol and procedures for recording
                                                                                a
               mortgage;
            b. Failing to accurately records, stores and maintains land records
                                                                                and other
               offrcial documents;
           c. r.alnqp require a judge's order before recording mortgage
                                                                   a           while
               plaintiffwas in 2019CH09659 case;
           d. Failing to obtain a signature from the plaintiffbefore
                                                                      recording the
              mortgage;
           e. causing and allowing untrained employees
                                                               to unlawfully seize the
              Plaintiff properry;
           f. Failing to use the appropriate recording process for
                                                                          conveyances per
              (765 ILCS sl9); and
           o In such other particulars
                                            as may be shown at trial or ascertained
              in discovery.

7   .    on May 3,2a2l,May 14,2ozr, and November 17,2021 emails to

         clerk'RecordsFraud@cookcountyil.gov. Defendants failed to use
                                                                       due care and were

         grossly negligent, negligent, reckless, willful and wanton
                                                                    in the following
        particulars:

           a.   Failing to follow proper protocol and procedures for referring
                plaintiffto
                             faud review per (55 LCS 5/3_5010.5);
          b'    Failing to follow prgper piotocol and procedures foi referring plaintiffto
               fraud review and referral when fraud is evident, plaintiff
                                                                          sig;airre is not on
               the mortgage;
          c. Failing to adhere to their web$1e sta-ternent "The property fraud unit helps
              homeowners investigate fraudulent filings againsitheir prrp;n,           -
              coordinate law enforcement efforts on oetraf orvictims.,,     -   -     il
          d. Causing and allowing untrained employees to unlawfully seize the
              Plaintiff property;
                        t:
          e. Failing _u.rj the appropriate recording process for conveyances per
              (765 ILCS 5/9) Conveyances Act.; and
          f'  In such other particulars as may be shown at trial or ascertained
              in discovery.
8'      A1l of the above referenced acts and/or omissions and/or
                                                                     commissions are           in
        violation of the common laws and statutes of the State of Illinoig
                                                                                as   well   as the




                                                            M
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     Defendants' obligations and duties to Plaintiff.

       COIINLIEDL, hItr'GI IGT'NCF'             ANTT   GROSS TYF'GI.IGNNCF' AGATNST
nF.x''r'NnANTS
                   COITNTY CIRCIIIT COITRT
 (STATE LAW CLAIM PURSUANT TO TIIE COMMON LAW Or                                                ILINOIS)

1.   Plaintiffrealleges and reincorporate all preceding paragraphs        as   if fully   set   forth

      herein.

2.    Plaintiffs are informed and believe the Defendants owed a duty to the public in general

      and to the Plaintiff in particular to use due care in   fulfilling their judge duties         and to

      ensure their conduct conformed to generally accepted fair and impartial judicial

      standards.

3.    Plaintiffs   are   informed and believe the Defendants owed a duty to the public in general

      and to the   Plaintiff in particular to use due care in fulfilling their oath of offrce to

      support the United States Constitution and State of Illinois Constitution and to ensure

      their conduct conformed to generally accepted due process of law standards.

4. Plaintiffs are informed and believe that at all times relevant hereto Defendant Edward

      N. Robles and Lynn Weaver Boyle were the judge of CircuitCourtofCook County and as

      such Circuit Court of Cook County Clerk is       vicariously liable for their acts and/or

      omissions that proximately caused Defendant's unlawful seizure of properly, wrongful

      use   ofcivil proceedings,     and abuse ofprocess.

      On Novemb er 4, 2021,         W    25, 2U21, hx:re 9, 2U2l,D ef endant s Ed\ md N.        R&les fai ed
                                                                                                          1




      to use due care and were grossly negligent, negligent, recklesq willful and wanton

      in the following particulars:

         a.   Failing to follow proper protocol and procedures for due process                      and
              judicial proceeding;
         b. Failing to show up for court without notifying litigants;
         c. Failing to accept plaintifPs motions, affrdavits and petitions;
         d. Failing to allow plaintiff a hearing and to be heard;

                                                             45
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                 e.    causing and allowing untrained employees judge to
                                                                         unlawfully seize
                       the Plaintiffproperty;
                 f.
            causing and allowing untrained employees judge to
                                                                  treat plaintiff with
            prejudicial impartiality, and bias;
       g. causing and allowing untrained employees judge to show favoritism;
       h. lausing and allowing untrained.*ptoy..rfu;; io utittt. plaintiffdue
                                                                                       to
            ler self represented litigant status and iocioecoiomic status;
              i..
            causing and allowing untrained employeesluoge;udinle
                                                                           plaintiffby
           stating plaintiff s need to stop reading;-
             j-
           Failing to use the appropiiate process for fundamental fairness,
                                                                                     ;
           and
      k. In such other particulars as may be shown at ,*ial or ascertained
           in discovery.
6. All of the above referenced acts and/or
                                               omissions and/or commissions are in violation

      of the common laws and statutes of the State of Illinois,
                                                                as well as the Defendants,

      obligations and duties to plaintiff.

 7.    On Jnty          ls,2%ardAugust 4,zo2}Defendant Lynn Weaver Boyle failed
                                                                                to use due
       care and were grossly negligent, negligent, reckless,
                                                                           willful   and wanton in the
       following particulars          :



            a.                 to follow proper protocol and procedures
                      Illrlg,
                      Juolclal proceedlng;
                                                                                 due process and

            b.                to accept plainti-ff s motiong affidavits and petitions;
                      Iqli,s
                      Failing
            c.                to allow plaintiff a hearing and to be heard;
            d.       causing and allowing untrained employees to unlawfully
                                                                                         seize the
                     Plaintiff property;
                     causing and allowing untrailgd emproyees judge to
                                                                             treat plaintiffwith
                     prejudicial impartiality, and bias;
         f.          causing and allowing untrained employees judge to
                                                                             show favorifism;
         o           causing and allowing untrained.,,ptoy."r juale to
                                                                             belittte plaintiff due to
                    her self represented litigant status and sociolcoiomic
                                                                               status:
        h.          causi ng and all owing untrai ned              j udg. i" b ;iitti; ptaintiff
                                                        -employees                               by
                    lhl1r8 plaintiff s pleadings are frivolous;
        l.          Failing to use the. appropriate process for fundamentar fairness;
        j                                                                                         and
                    In such other particulars us n ay be shown trial or ascertained
                                                                           d
                    ln otscovery.

8'    AII of the above referenced acts and/or omissions               and./or commissions are in violation

      of the common laws and statutes of the State of Illinois,
                                                                as well          as   the Defendants,
      obligations and duties to plaintiff.



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         COTTNT F'r F'VF'N-
        NF'F'T'NTTANTS



        (STATE LAW CLAIM PURSUANT TO THE
                                         COMT{ON LAW                                          OT'ILINOIS)
1'       Plaintiff realleges and reincorporate all preceding paragraphs
                                                                                   if fully
                                                                              as              set   forth
            herein.

 2' Plaintiffs are informed and believe the Defendants owed a duty to the public
                                                                                                         in general
         and to the    Plaintiffin particular to use due care in fulfilling their attorney
                                                                                           duties and to
         ensure their conduct conformed to generally
                                                     accepted truthfulness in statement and

         candor to the circuit court of cook county standards.

3   '    Plaintiffs   are   informed and believe the Defendants owed a
                                                                       duty to the public in general
         and to the   Plaintiffin particular to use due care in fulfilling their fairness
                                                                                          to the
         opposing party and judicial duties and to ensure
                                                          their conduct conformed to generally
         accepted due process       oflaw   standards.

4'      Plaintiffs are informed and believe that at all times
                                                              relevant hereto Defendant
        Ernest J' codilis and MariClare o'connor were
                                                      the attorneys of Codilis& Associates

        P'C', and representatives of JPMorgan Chase BankNational
                                                                 Association and as such codilis

        &   Associates P'C., and JPMorgan Chase Bank is
                                                                 vicariously liable for their acts
        and/or omissions that proximately caused Defendant,s
                                                             unlawful seizure                       of
        property, wrongful use of civil proceedings,
                                                     and abuse of process.

5'      Plaintiffs are informed and believe that at all times relevant
                                                                       hereto Defendant Senija
        Grebovic and Maurice Grant were the attorneys of
                                                         Crant raw LLC.,               and representatives

        of JPMorgan chase Bank National Associaion
                                                   and as such Grant Law LLC., and

     JPMorgan Chase Bank is vicariously liable for
                                                   their acts and/or omissions that
     proximately caused Defendant's unlawful
                                             seizure of property, wrongful use of civil



                                                            47
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          proceedings, and abuse ofprocess.

 6' On August 21,2019 and August 23,2olg,Defendants                       EnresJ. C.odilis, Codilis&

         Associ*es P'C' and JPMorgar Chase BarkNaional Associ*ion failed
                                                                         to use due care and

         were grossly negligent, negligent, reckless,         willful and wanton in the following
         particulars:

               a.
                     Iulling to follow proper protocol and procedures for      due process,
               b.    Failing to verify a complete mortgage was included in their 2019cH09659
                     case;
              c.      to verify pleading and correct legal address before firing
                     f{ti1s
              2019CH09659;
           d. causing and allowing untrained employees to unlawfully
                                                                               seize the
              Plaintiff properry;
           g  Failing to- use the appropride process for serving the plaintiff; and
           f' In such other particulars as -ay be shown at triat or ascertained
              in discovery.
 7   '   On October lo,2}lg,Defendants MariClare O'Connor failed to use
                                                                                  due care and

         were grossly negligent, negligent, reckless, willful and wanton in
                                                                            the following
         particulars:

           a-       Failing to follow proper protocol and procedures for record ing
                                                                                    a
                     mortgage;
           b.        Failing to obtain a signature from the plaintiffbefore recording the
                     mortgage,
           c.                 to ottain a judge's order to record a mortgage while participating in
                     Il]l"g
                     2019ch09659;
           d.        causing and allowing untrained employees to unlawfully seize the
                     Plaintiff property;
          e.         causing and allowing untrained attorneys to record unauthorized imposter
                    lrgrtgage filings with the Cook County Recorder of Deeds;
          f.                    train employees-attorneys to record a mortgage with (765 ILCS
                    Ig.!Fl"
                     77170) Sec. 70. Pred_atory lending database progr*,'ihi
                                                                               required Illinois
                    Anti-Predatory Lending Database program bertifrcute of Exemption
          o
          b.        Failing to use the appropriate recording process for conveyances per
                    (76s ILCS 5i9); and
          h.        In such other particulars as may be shown at trial or ascertained
                    in discovery.

8' On October 2A,2021, Defendants Ernest J. Codilis, Codilis & Associates, and


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       JPMorgan chase Bank National Association failed
                                                       to use due care and were grossly
       negligent, negligent, reckless, willful and wanton
                                                          in the following particulars:
            a. Failing to follow propff protocol and procedures
                                                                     for honesty,
               integrity, and truthfulness in pleadirgr, -
            b' Failing to follow proper protocol and proceiures for adding additional
               pages tru, y.1: not in the original complaint
                                                             2019CH09656;
            c' Causing and allowing untrainld employees attorneys   to interfere with the
               course ofjustice and abusing the judicial process,
            _
            d. !-afsing and allowing untiaineo emptoyeesio untawfuly seize
                                                                                   the
               Plaintiff property;
            e. Failing to use the appropriate recording process for conveyrmces;
                 and
        f. Il :y"h other particulars as may be shown a trial or ascertained
           ln olscovery.
 9'   on July 18,2a22, and August 4,2)2zDefendants Senija
                                                          Grebovic, Maurice Grant,
      Grant Law LLC., and JPMorgan Chase Bank
                                              National Association failed to use due
      care and weregrossly negligent, negligen! reckless,
                                                                willful   and wanton in the

      fol lowing particulars:

        a.    Failing to follow proper protocor and procedures
                                                                    for judiciar
              integrity;
        b'    Failing to verify a complete mortgage was included
                                                                 in their 201gcH0g65g
              case;
       c.
              I$lry_tg,rerify pleading   and correcr legal address before   fiting
              2019CH09659;
       d.     causing and allowing untrainerd employees to unlawfuily
                                                                         seize the
              Plaintiff property;
       e.     Failing to use the. appropriare process for serving
                                                                  the plaintiff; and
              In y"t, other particulars * -uy be shown at trial or ascertained
       f.
              ln fiscovery.

l0' AII of the above referenced acts and/or omissions and/or
                                                             commissions             are in violation
   of the common laws and statutes of the State oflllinois,
                                                            as well   as    the Defendants'
   obligations and duties to plaintiff.




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                                                                             Gf II-S-C- la83\
      Plaintiff realleges and reincorporates all preceding paragraphs as if fully   set   forth
     herein.

,)
     Defendant Kaen A. Yarbrough is the Cook County Recorder of Deeds Clerk is upon

     information and belief is part ofthe Cook County Clerk's Recordings Dvision where

     they accurately records, stores and maintains land records and other official

     documents.

a
J-   Further, this Defendant was elected into office, hired, retained compensated and directed

     duly licensed recorder who were trained   as   recorder of deeds and who derive their

     powers from the State of Illinois.

4. By undertaking this important role this Defendant had a duty to use reasonable
                                                                                  care and

     to safeguard the constitutional rights of the public at large and plaintiffRenee A.

     Washington in particular.

5.   Upon information and belief and as the Cook County Recorder of Deeds Clerk for

     the Cook County and its officers, this Defendant acted with reckless and deliberate

     indifference to Plaintiffs civil rights, in that, as a matter of policy and custom, they

     failed to adequately discipline, train, investigatq supervise or otherwise direct the

     Cook County Recorder of Deeds directly, concerning the civil rights of the citizens

     they exercised powers over.




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        6' Further, this Defendant was negligent or otherwise failed to meet its duties,
                                                                                               non-
           delegable and otherwise, which it owed to Plaintiff.
                                                                in that Defendant and/or its
           real and/or apparent agents, did or failed to do
                                                            one or more of the following acts     of
           omission or commission, any or all of which were departures
                                                                       from the prevailing
           standard ofcare:

                  a.            Defendant failed to properly train Cook
                  county Recorder of deeds employees in the appropriate
                  way to certif, and record unsigned mortgages;

                              b. Defendant failed to properly supervise employees;

                            c. Defendant was deliberately indifferent to the
                           fact that Defendant Karen A. yarbrough did
                           not possess the requisite experience in
                           recording mortgages duties a reasonable
                           recorder should have prior to active recording
                           and certifiiing of mortgages, which should givl
                           rise to increased supervision and training,

                           d. Defendant failed to properly supervise its
                           employees and agents during the relevant time
                           period up to and including plaintiffs seizure of
                           property without a warrant via an unsigned
                           mortgage despite notice to fraud review that
                           the recorder were engaged in unreasonable
                           behavior; and

                           e. As well as any and all further particulars
                           which may be demonstrated at trial.

7   '    At all times relevant hereto, Karen A. Yarbrough
                                                          cook county Recorder of Deeds
         knew or should have known that its failure to provide
                                                               adequate training and supervision

         to its employees on the use of appropriate policy
                                                           action during encounters with the
        public, and in particular atthe Cook County
                                                    Recorder of Deeds fraud review, would
        result in serious injury and violations of plaintifFs
                                                              constitutional rights under the color
        of law.



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 8.    Defendant Clerk of Cook County his Martinez and Cook County Recorder
                                                                            of Deeds is

       vicariously liable for the tortious acts of its employees that were committed within
                                                                                            the

       course and scope of their employment and further is liable for its orm independent
                                                                                          acts

       of negligence and gross negligence.

 9.    As a direct and proximate result of the acts of Defendant through its employees,

       Plaintiffhas suffered and continues to suffer tremendous and irreparable emotional
                                                                                          and

       mental harm and is entitled to actual and punitive damages and such other and
                                                                                     further

       relief   as   this honorable court and the jury deem just and proper.




 l.   Plaintiff realleges and reincorporates all preceding paragraphs          as   if fuily   set   forth
      herein.

)     Defendant Circuit Court of Cook County is upon information and belief a judicial
                                                                                       court
      in Cook County, Illinois and the court's supervisory authority is conferred by the Illinois

      Constitution, and is a general and comprehensive power to keep lower courts',within
                                                                                          the
      bounds of their authority."

3.    Furthet this Defendant Circuit Court of Cook County Chief Judge Timothy Evans
                                                                                    hired,
      retained compensated and directed duly licensed judges who were kained by
                                                                                thevarious
      law schools, arejudges who derive theirjudicial powers from the State of lllinois.

4.    By undertaking this important role this Defendant had a duty to use reasonable
                                                                                     care and

      to safeguard the constitutional rights of the public at large and plaintiffRenee A.

      Washington in particular.




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 5.   Upon information and belief and as the Chief Judge for the
                                                                 Circuit Court of Cook
      County and its judges, this Defendant acted with reckless and
                                                                    deliberate
      indifference to Plaintiffs civil rights, in tha! as a matter
                                                                   of policy and custom, they
      failed to adequately discipline, train, investigate, supervise
                                                                     or otherwise direct the

      circuit court of cook county,      and judges Edward   N. Robles and Lynn weaver
      Boyle directly, concerning the civil rights of the citizens they
                                                                       exercised judicial
      powers over.

6.    Further, this Defendant was negligent or otherwise failed
                                                                to meet its dutieg non-
      delegable and otherwise, which it owed to Plaintiff, in that
                                                                   Defendant and/or its
      real and/or apparent agents, did or failed to do one or more
                                                                   of the following acts    of
      omission or commission, any or all of which were departures
                                                                  from the prevailing
      standard ofcare:

            a.             Defendant failed to properly train Circuit
            Court of Cook County judges in the appiopriate use of
            equality, fairness and equal justice undeittre taw;

                         b. Defendant failed to properly supervise judges;

                         c. Defendant was deliberately indifferentto the
                      fact that Defendant Edward N. Robles and
                      Lynn Weaver Boyle did not possess the
                      requisite experience in judicial work a
                      reasonable judge should have prior to active
                      impartial and unbiased judicial duties of the
                      Circuit Court of Cook County, which should
                      give rise to increased supervision and training,

                      d. Defendant failed to properly supervise its
                      employees and agents during the relevant time
                      period up to and including plaintiffs seizure of
                      property without a warrant despite notice that
                                                                     the
                     judges were engaged in unreasonable
                                                              behavior;
                      and




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                                  e. As well as any and all further particulars
                                  which may be demonstrated at trial.

  7   '    At all times relevant hereto, Circuit Court of Cook County
                                                                      knew or should have
           known that its failure to provide adequate training
                                                               and supervision to itsjudges on

           the use of appropriate policy action during encounters
                                                                  with the public, and in
           particular atthe Circuit court of cook county,
                                                          would result in serious injury and
           violations of constitutional rights under the coror
                                                               of law.
 8'       Defendant Circuit Court of Cook County is vicariously
                                                                liable for the tortious acts of its
          employees judges that were committed within
                                                      the course and scope of their

          employment and further is liable for its own independent
                                                                   acts of negligence and gross

          negligence.

 9' As a direct and proximate             result of the acts of Defendant through its employees,

          Plaintiff has suffered and continues to suffer tremendous
                                                                    and irreparable emotional and

          mental harm and is entitled to actual and punitive
                                                             damages and such other and further

          relief   as   this honorabre court and the jury deem just and proper.




1'    Plaintiff realleges and reincorporates all preceding paragraphs
                                                                                  as   if fully   set   forth
      herein.

2' Defendant JPMorgan Chase Bank National Association is upon information
                                                                                                   and
      belief a is a banking corporation with a principal
                                                         place of business             d   lrIl
      POLARIS pARKwAy, coLUMBUs                        oH   43240 and JpMorgan chase         & co. is a
      bank and financial services holding company
                                                  headquartered in New york city.




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            Defendant JPMorgan Chase Bank National Associatiorq
                                                                is aNational Financial

            Services OrganizatiorL an Agent of JPMorgan Chase Banh.         plaintiffis informed and
            believeq and thereon alleges thal (Chase) is a debt collector as
                                                                             defined by l5 U.S.C.

            $ 1692 et seq.

     J.     Upon information and belief and defendant Codilis & Associates, p.C.,
                                                                                  is a..Debt

           Collector" as defined by 15 U.S.C. 1692 et seq, and/or as identified
                                             $                                  in its foreclosure
           documents, whose principal place of business is 15w030
                                                                  North Frontage Road, Burr

           Ridge, Illinois 60527; and doing business in Cook County,
                                                                     State of Illinois.   All of
           Codilis & Associates P.C. correspondence state "The law firm
                                                                        representing the plaintiff

           does not have a license to collect mortgage payments
                                                                or to be a debt collector,,.

           MariClare O'Connor and Ernest J. Codilis are attorneys
                                                                  at Codilis & Associates former

           attorney representatives of JpMorgan chase Bank National
                                                                    Associafi on.

 4. Upon information and belief and defendant
                                              Grant Law              LLC. is a..Debt Collector,, as
          defined by l5 U's.C. $ 1692 et seq. Senija Grebovic and Maurice
                                                                          Grant are attorneys

          and the current attorney representatives for JpMorgan
                                                                chase Bank National

          Association.

5.    By undertaking this important role this Defendant had a duty
                                                                   to use reasonable
      care and to safeguard the constitutional rights of the public                  plaintiff
                                                                    at large and

      Renee A. Washington in particular.

6.        upon informaion and belief and as the JpMorgan chase Bank National

          Association for the 2019CH09659 and its attorneys' officers
                                                                      of the court, this
          Defendant acted with reckless and deliberate indifference
                                                                    to plaintiffs civil rights,
          in that, as a matter of policy and custom, they failed to
                                                                    adequately discipling train,




                                                           55
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         investigate, supervise or otherwise direct the attorneys
                                                                  officers of the court, directly,
         concerning the civil rights of the citizens they exercised judicial
                                                                             powers over.
 7   '   Further, this Defendant was negligent or otherwise
                                                            failed to meet its duties, non-
         delegable and otherwisq which it owed to Plaintiff.
                                                             in that Defendant and/or its
         real and/or apparent agents, did orfailed to do
                                                         one or more of the following acts    of
         omission or commission, any or all of which were
                                                          departures from the prevailing

         standard of care:

               a.            Defendant failed to properly train attorneys
               officer of the court in the uppropiiut. ,.L verification
                                                                        of
               pleadings, integrity, judicial honesty and recording
                                                                        of
               mortgages without a signature;

                         b. Defendant failed to properly supervise attorneys,
                            offrcers of the court,
                         c. Defendant was deliberately indifferent to the
                          fact that Defendant MariClare O,Connor,
                          Ernest J Codilis, Codilis & Associates p.C.,
                          Senija Grebovic, Maurice Grant and Grant
                          Law LLC. did not possess the requisite
                          experience in legal field work a reasonable
                         attorney officer of the court should have prior
                         to active judicial proceeding of Circuit Court
                         of Cook County, which should give rise to
                         increased supervision and training;

                         d. Defendant failed to properly supervise its
                         employees and agents during the rellvant time
                         period up to and including plaintiffs seizure
                                                                       of
                        property without a signaturg despite notice
                        that the attorneys, officers of the       *"r.
                                                            "ou.t
                        engaged in unreasonable behavior, and

                        e. As well as any and all further particulars
                        which may be demonstrated at trial.

8'   At all times relevant hereto, JPMorgan chase Bank National
                                                                Association, codilis
     & Associates, and Grant Law LLC. knew         or should have known that its failure to



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          provide adequate training and supervision to its attorneys'
                                                                      officers of the court on
          the use of appropriate policy action during encounters with
                                                                      the public, and in
          particular atthe Circuit Court of Cook County and
                                                            the Cook County Recorder of

          Deeds, would result in serious injury and constitutional
                                                                   violations.
    9' Defendant JPMorgan Chase Bank National Association, Codilis & Associates                      p.C.,

          and Grant Law LLC. is vicariously liable for the tortious
                                                                    acts of its employees that

         were committed within the course and scope of their employment
                                                                        and further is liable

         for its own independent acts of negligence and gross negrigence.

    l0' As a direct and proximate result of the acts of Defendant JpMorgan
                                                                           Chase Bank

         National Association, Codilis & Associates P.C., and
                                                              Grant Law LLC. through its

         employees, Plaintiffhas suffered and continues to suffer
                                                                  tremendous and irreparable

         emotional and mental harm and is entitled to actual and punitive
                                                                          damages and such

         other and further relief as this honorable Court and the jury
                                                                       deem just and proper.




        STATELAWO.O'ffi                                                                                    ,,
I   '   Plaintiff reincolporates and realleges all preceding paragraphs
                                                                        as if fully            set forth

        herein.

2'      Defendant's conduct of seizing Plaintiffproperty without
                                                                 a warrant, recording a

        mortgage without plaintiff s signafure, knowledge or
                                                             consent, fcngingammtgags,

        tampuingwiftp$licrecurdsr oolifyingamutgags,roudingmdsringoramusagewith
                                                                                                     an

        inmnect   lqd   adeesq recording   abuser   judicial ah$q l€al abuse, abuse of pooess,
                                                                                               munping
        servioemplairrif*araddress*redoesndlived,placingherinjudicial
                                                                                      partiality, judicial
        bias, detaining her in court with dishonest pleadings,
                                                               deprived plaintiffof her liberty




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        without justification.

   3    Defendants and their employees, agents, and/orcontractors intentionally seized plaintiff

        property without a warrant and without due process.

   4.   There was no lawful basis for Defendant's recording of mortgage without
                                                                                her signature

        and denying her equal rights to justice to defend herself.

   5.   As a direct and proximate result of Defendant's false seizure of plaintiff s property,

        Plaintiffhas suffered and continues to suffer tremendous and irreparable emotional
                                                                                           and

        mental harm and is entitled to actual and punitive damages.


                 WHEREFORE, Plaintiffs pray for a trial          by j ury and for the   following:

                         1.       For   a   judgment against the Defendants, jointly and

                                  severally, for violating the First, FourtlL Fifth, Ninth

                                  and Fourteenth Amendments to the united               States

                                  Constitution as set forth in this Complaint;

                         11.      Judgment against Defendants,   jointly and severally, for

                                  acnnl and punitive damages         in the amount to be
                                  determined by the jury;

                         111. To award Plaintiffs       reasonable legal fees, costs, and

                                  expenses pursuant     to 42 U.S.C. $ lggg and other
                                  applicable law;

                        lv.       For all other and further relief as this court deems just and
                        proper.

August 18,2A22




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                                         Without prejudice UCC l-3b8
                                         Bglq.- A .Washington/Propria persona
                                         567 Merrill Ave
                                         Calumet Citv. n 60409
                                         708-567-34io
                                         renee I 0 I @sbcglobal. net




                                          59
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         Under penalties as provided by law pursuant to Section l-109 of the Code of
 Civil Procedure, the undersigned certifies that the statements set forth in this instrument
 are true and correct, except as to matters therein stated to be on information
                                                                                 and belief
 as to such matters the undersigned certifies as aforesaid he/she verily
                                                                          believes the same
 to be true.


,ur"   t-t ?- Ao)e                             petitioner   n
Subscribed and swom to before me this t(         ;;"i     A,lrq,S4           .   20-}>




                                          Wiffiout prejudice UCC t-368
                                          Sglg"_ A .Washington/Propria
                                                                          persona
                                          567 Merrill Ave -
                                          Calumet City, n- 60409
                                          708-567-3410
                                          renee I 0 1 @sbcglobal.net
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 92 of 177 PageID #:92




          Exhibit List

          A. Affi davitScrivener' s of Error - mortgage without plaintiff signature, page
             3 of 16 and page 4 of 16 recorded.




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         PREPARED BY & MAIL TO:                                                         Doc# 1?E8S6669? Fx* $EB.EO

     MariClare O'Connor                                                                 $tsP FEE:sg-oo nPnF FEg: sl.ao
     Codilis & Associates, p.C.                                                         EDI0RI 1. p96r,
      15W030 North Frontage Road,                                                       COOK COUfiIY EECORDER
                                  Suite I00                                                                   OF I'EEDS
     Burr Ridge, tL 60527                                                               oQIE, lg/t\/e019 ta:AS
     (630) 794-5300                                                                                                      ph pG:   1 0F s

     r   4- I 9-07590




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                                             AFFIDAVIT OF SCR I VENENCENNON
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     [:xJ,",1t:,"trhe                                          to sign said arfidavit on beharrorcodiris
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                                                               as Insrrument Number i r2640g052

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                                        "'
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                                                             contained a minoi scrivenerJs
                        rvas originally'recorded                         ""                 error in that the documerrt
                                                 *;tt oi,t"p"g.sI   ;J;.
               3.       Pages 3 and 4 are attached.


                        Legal is attached on a separare
                                                        page.

                        Further affiant says not.



                                                                      MariClare O'Conn
 STATE OF ILLINOIS                                                    Attorney at Larv

 COLINITY OF DUPAGE
                                                                                                               T;;TTW
I' the undersigned' a Nohry Public
                                      in and for the said counry, in
that Mariclare o'connor *ho                                          the state aforesaid, do hereby
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to the foregoing insrrumenr-                                 to be the same person whose name
                              appeared before me rhis d;;;;;;;                                    is subscribed
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                                           1928306097 page:2 of5
                                           1126408052 page: 16 of 16




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                                  LEGATDESCRIPTION    .




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     CalumetC,ty, n60409

     PIN#: 29-t2   -314_AU,0000
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        2. Application      sf




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          B.   Yo.tgug. - factual   page numbers are in the lower right, page 3   of   16 and page 4
               of 16 are missing.




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                                                                      Jd       1126408052 fee: S76-00
                                                                      )ale*   AXXXXXXXX 08.08 AM   pq: 1 of 16
                                                                      :look Countv Recorder of Deeds
                                                                      -RHSP FEE
                                                                                $10.00 Apptied




  llllinois Anti-Predatory
  iLending Database
  lProgram
  i Certificate of Exemption




  The property identit

  Address:
  SkeEt            567MenilAvenuE
  Street line 2:
  city: calurnetcry                        statq lL                            ZlpCode;   60409

  Lender   JPMorgan Chasa Bank     NA
  BorroursE   Renee   A   Washlngton




  Loan J i/lortgage A,rnount: $86.660.00

  Thti property is located rvithin the program Brea and
                                                        the transactbn h exernpt iorn the regdrements
  et seq- because lhe applcation ws    laken by En exerrpl erility.
                                                                                                      of 765 ILcs   7/r0




 Certlllcate number: 6BGEECSI€3E3_42A7€7OO-2B2O0ISS1S60
                                                                                      Execulion date: 00r12r201i
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         Return To; JPMorgan                      Chase BanlgN_A.
        Collateral Trailing Documents
        P.O. Box 8000 - Monroe,LA7L2A3
        Prepared By: Rosalind perry
        3050 Highland pkwy
        Downers Grove, IL 605 15



          tll*42* '/,                                                                          Mortgage
        Definitions' words                  used in multipie sections of this document
                                                                                       are defined beiow and other words are
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       documgsl are also provided in Section I6.


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                                                                                                                                        together rvith

                                                                                                              ar unmam'ied woman. Bon'orver is the morrgagor
             Sl";ffr'J!3""##mt"*.*^sHlNcroN,
             {c)    "Lender" is JPMorgan                           c-hase         Banlg N-A." Lender is
                                                                                                Associatiou organized                 a   National Banking
             and existing under ttre laws of uie u*teoitates.i.ender's
                                                                        address i, r r ri poruris parkway, columbus,
             OH 43240 . Lender is the mortgag"" u"a*.
                                                           mir lecurity Insrrumenr.
             (D) ' i/ore " means the promissory note signed
                                                              by Borrorver and dared september 1 2, 201                                                                   l. The Nore
             states tllat Borrower orves lendsr eignry
                                                       ;ix tirousana    sl* trrna,eJ six,}, Ioa OOlf OO DoIIars (U.S.
           $86'660'00) plus interest- Borrower iras
           to pay the debr in fijli not later dran    r,"*ir"q         pay rhis a"u, i,", r"'ilrr periodic payments anc!
                                                   Ouoier f , iO+f1* .
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                                                is described belorv under ttre heading                                                                       ,,Transfer
           rJ;fr?#I"                                                                                                                                                      of tughts in
           ($ "Loan" 6sens thg debt evidenced by the Nore, plus interest,
           charges due under &e Note, and alt sum"s                       any                                                             prepayment charges ard late
                                                                                                 a"" ,",r*r            this Security Insrrumenq plus interest.
           (G) ' Ridex " means a]l Riders^to this security
                                                           Instrument Srat are executed by Borrower- Tlre
           Riders are to be executed by Borrower                                                          followiag
                                                    i;;#;        as applicablel:
                    tr   .A.djustable Rare Rider                                   E          Condominium fuder                                        0     Second Home      Rider

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                   E     Balloor Rider                                tl    Planned Unil Developmenr Rider         D    l-4 Family Rider
                   D     VARider                                      n     Biweekiy Payment            Rider      tr   O&er(s) [specifo]
              (H) "Applicable Lau"'           all.controlling appiicabje federal, state aud local statutes, regulatiogs,
                                                tneans
              ordinances aad administrative rules anc oroirj(thar.have the effect
                                                                                      of law) as well .r      o;;ii;;bl"
              final, non-appeaiabie judiciai opinioas.                                                    "1t
              A   "Conrmtnity Association Dues, Fees, and A.s.gessments" rr.eans all
                                                                                      dues, fees, assessments and
              other charges that are imposed on Borrower or the Property
                                                                         by a condominium association, ho6soly6ers
              association or similar organization-
              (J) "Elech'ottic Funds T'ansfer" means any tansfer of fi-rnds,
                                                                                   other thar a transaction originated by
              check, draft, or similar papei instrument, w-hich is initiated
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              (l{) "Escraw lte&.r " mea,s those items that are described in section 3.
           {L)  "Iutiscellateous Pt oceeds" means aily conrpensatioa, settlement, award of
                                                                                                damages, or proceeds
           g3i$ by,l'Y third part-y (other th-an insurance proceeds paid under the coverages described
           5) for: (i) darnage to, o.rdestnrction of; tlre Properry; (ii)                                  in Section
                                                                          condemnation or other taking of all or any
           part of the Properfy; (iii) conveyairce in lieu or.ono**rutlon;
                                                                               or (iv) misrepresentations of, or
           omissions as to, the value and/or condition of the property-

           {M) -"Mortgage lnsurance " means jflsurarce proiectilg Lerder against the nonpayment of,
           on, the Loan-                                                                                    or default

           $i) -"Pet'iodic Payment" means the_regularly scheduled amount due for (i) principai and ipteiest
           the Note, plus (ii) any ernounts usder Section 3 of this                                           urder
                                                                     Securiry l"*t-,r.il*.
           (o) "nrsPl " mearls the Real Esmre Seftiement_Pro_cedures Act (1 2
                                                                                  U.s.C. section 260 t et seq.) and
           its implementing reguration, Regulation x (24 c-F,R- p"n s5001,-rs
                                                                                  irr"y *igh, be amended fi.om
           lime to time, or any additional or successorlegislation or
                                                                       reg"#;;; trroi gor"ro, the same subject
           matter' As used in this Security Instrumeot, Rgspa t.r".r rJutii"qrir"*ents
                                                                                            and resrricrions rhai
           are imposed in regard to a "federally related rnortgage
                                                                    loan" even iitbe ioan does not quali$ as a
           "fbderally related mortgage loan,, under RESPA.
           (P) "&rccessor in Interesl aJ'Botower"  mearis aay party that has taken ritle to the properrJ,, whether
           or Bot that party has assumed Borrower's obligatious unier
                                                                      the Not"          ttris Securily Instrument.
      Transfer of Rights in the Property. This securiry                       "oolo,
                                                             rnstrurnenr secures to Lerder: (i) tle repaymenr
      of the Loan- and all renewals, extiasioru and modifications of tbe
                                                                         Note; and (ii) &e perforrnance of
      Borrower's covenaots and agreements under this Security Instrument
      Borrower
                                                                            ."4 *ta Note. For tlris purpose,
                      does hereby mortgage, grant and convey to Lender and
                                                                           Lender,s                             ,r"""rro*   and assigns, the




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        require under RESPA- Lender shall estimate
                                                     the aruount of Funds due oo the basis
        reasonable estimates of expendifures offuture                                        of current data anrl
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                                                                                                       Applicable

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       the escrow account, or veriling trrJrr*"*
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                                                         "li.!"                                        ;J.pprirs;"
                                                                                        eunds, annualy analyzng
                                                      Ii"*r,   unless Lender pays Borrower interest
                                                                                                     on the Funds
       and Applicable Larv nermitiLe*naer
                                                               ,"*r[.
                                                       .rtr, a charge. unresi ao ugr"en:ent is made iu writing or
                                                                            "rii. F;;;:il;;
       lry[::!]:,!^*."s,,i.o     h1"..:r *.u" p",o                           ,nil ,1"u" requir.ed to pay Bo,,-ower
       anv r,teresr or earninss on the Funds.
                                               Eon.ower aad                        r";;; ;;;;;^iii*,irg,
                                                                                            horvever, rhar inrerest
       iilff:,r.?1,:l#iffd.f*;;;"il;i;fffooo*.,',                                                     witrrouicmft.,   un   u*,,r   accowring orthe
       If there is a surplus of Funds held in
                                                gscrorv, as defined under REspA, Lender shall account
      tor the excess tunds in aceordance wi*,                                                                to Borrorver
                                                   nsspe. iirug;!;                  or"r,ria. i,"ro in escrow, as defined
      under RESPA' Lender shall               nooower as                   li@!;
                                                          -i" requirea uy RESpi, ioa Iooo*.. shaii pay to Lender
      the amount necessary to make"otiry
                                            il;;;;;;
                                       "p of Funds-be-ld
      payments' If there is a deficieniy
                                                              ..i*a"*" ,r,ir-R3ipA; ;;n no more than t 2 monthly
                                                              io          as defined under RESpA, Lender sbalJ
      Borrower as required bv RESPA, il
                                                 E;;;;;liait     "r".orr,
                                                                    pay to t eno". tne-amount necessary to
                                                                                                                   loti$
      the deficiency in accoriance                                                                             make up
                                      ",itt,
                                             REspA;;;i";" more rhan 12 monthly payrnents.
      H:::#ffiH"ff;ifl;'#:j;,:'."0                   bv this securitv trosrrumenr. Lender shati prornpriy
                                                                                                               retund to
      4' charges; Liens' Borrower shall pay
                                            all taxes,                            assessmerits,
                                                                             charges, fines, and impositions attributable
       to the Properry which can attain priority."".
                                                         Jri',, s**lty lr;h;;;;,TJ#r,oia paymenrs
       rents on the P'opergr, if any, and c_ommuniry                                                         or ground
                                                         arro"r"rioriou"r,-i;;;:;,;;rsessments, if
       exreot that d:ese items are Escrow
                                           rte*r, nooo*.r shall pay rh;* i;ih";;*er provided ary. To.,Jie
                                                                                                            in section 3.
                  shall promptly discharge any lien which
      *:::::.
      ljomower: (a) agees in rvriting to th" piyment
                                                                 haq priority over rJrjs Security Instrurnerr
                                                                                                               unless
                                                         of the ottigation rr.rr.Jtfrir. lien in a
       ro Lender, bur onrv so rong u"-oo..ori;ii,                                                     &ramer acceprabie
                                                     g;;f*;;.;;"";.#iiii.ii?il1Tin,*rs tbe lien in good fairri
       bv, or defends againsr .nfor::*:rt
      to prevent 0re enforcement of the lien
                                            of rhe                    ii;;,llgir
                                                                     pro""-.aing* ,uili;i ii L.nd*.,, opinion operare
                                              while trr"* i,iifyirer                     buionty u.ntil such proceed.ings
      are concluded; or (c) secures from the                               "i";?-iir-g,
                                               iroldei oiti,'" ii"n ar agreemenr   sat[factory to Lentier subordinat;g
      the lien to this Securirv Instsumenr. rf
                                                Leader derermirr: trirt *y p*ioiur. b,rp".ry
      which can artain orioriw o19r this s"curitv                                                     is subject to a ]ien
                                                      tsro.ent,
      the lien- within r 0 davs of the Jr;;;;i;1;,ioiiro,i"" Lenoeimil, gir.E"rrrwer a norice idenrifying
      one or more of the actions set forth
                                                                      i, ei*r, s;;or.,l"rr,rrr sarisfy the iien or take
                                                            above in this Section 4.

                                                                                             ror a rear estate tax verincation and,or reporrhg
     l"Ti:J[:IffH:iiff]"'il:"1?'"';,ff-.?#'r"*T:"
     5' Property    lnsurance'                   keep the improvements now existiqg or hercafler
     the Properfy insured againstP:oo,*tt-tt.il
                                  loss by fire, u**irl*rroed within trr"                         erected on
                                                                         ,"r--;l*t nded coverage,,, ard anv

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      otlrer.hazards including, buJ no] limited to, earthquahes ald
                                                                        floods, for which Leqder reguires insurance.
      This insuralce sirall be mairtained in the amounis (including oeauctlure
                                                                                          ievels) and for the periods that
      Lender requires. Wrat Lenderrequires pur$lant to tlr" pr""Jding
                                                                                  seotences can change during the term
      ofthe Loaa' The insurance carrier providing tJre insurance shall be choseu
                                                                                         bv Borrorver subject to Lender,s
      right to disapprove Borrower's chiice, wtrich rigtrr sh"il       ,Jt"                               Lender may
                                    i" connecrio:r with rhis-Loan, eitlrer: (a)"."*;rJJ.,*"uror.ubly.
      ::_q::,1:Il"*       l,?-puy.,
      oererilllIafion' certfication
                                                                                  a one-rime charge for flood zone
                                       and traclorg services; or (b) a one-time charge for floJd
                                                                                                      zone deiermiuation
      ald certificatiot servjces anj ybseqreit chargeseach time remappings
                                                                                         or similar chaages occur which
      reasonably rnigbt affect zuch deteraination orlertificatioo. gor;i;Jrfrairfro
                                                                                                  ue r"spirsiul" fo, rU"
      payment of anv fees imoosed by.theFederal F.mergeucy
                                                                     Management Agency in connection with the
      review of any flood zone determilution r"zuffidror,
                                                                   un objection by Borrorver.
      If Borrower fails to maint'itr
                                  any of&e coverages described above, Lender may
                                                                                     obiain insurance cov€ragq
      at Lender's optioo and Borrow-er's expense, LInder
                                                         is uoo", no_ot tig"iio, to-p*.lt"se any particular       type
      or amount of coverase- Thereforq sucb coverage si:utt
                                                                    cov". ]-end?i, uri *igrrt o. -;ghr not prot""i '
                  Borroweis equiry ia thl trop"rt ,
      F:q:*"t'
      liability and might provide greater or lesser civerage
                                                                conrents of *re pr-operty, againsr any risk, haza:d or
                                                        "Tirr" tlran tuur pr"ri*iyIn          gorrorveracknowledges
      that the cost ofthe insurance coverage so obtainJd might
                                                                       significrruv "#."t.the cost ofinsurance that
      Borrower could have obtained' Any amomts disbursed                            "*.".a
                                                                     by Lender ur:der this Section 5 shall becorne
      additional debt ofBorrorver secured by t}.is securiry
                                                                 Instrument. These amounts shall bear interest ar the
      Note rate Eoln the date ofdisbursemerit urrd rhull be
                                                                payable, with such interest, upon trorice from Lender
      to Borrorver requesting payment.
      All,insurance policies rcquired by Lender and renewals olsuch
                                                                          policies shall be subject to Lender,s right
      to disapprove such policies, shali include a standard
                                                            rnortgage clause, and shall name Lender as mortgagee
      and'ior as ao additioual loss payee. Lender shall
                                                        have a" igir to holi th;-p;li;es and renervai certificates.
      If Leader r-equires, Borrowlrlha[ promptly give tr: Lendlr          r"""iprli'!.id premiums and renewai
      notices' If Borrower obtains any form of ios,-i"o." coverage,"I
                                                                        not othenvise reguir.ed by Lende4 for
      damage to, or destuctioa of, thi Pmperry, such policy
                                                               shali-include a sr8.rdard Eortgage clause and shall
      name Leuder as rEortgagee and/or ai an-additional loss payee.
      In the eveni of loss, Elorrower shall give prompt notice to the insurance
                                                                                      carrier aad Legder. Lender may
      make proof of loss if not mad" prompttyly Borrower.
                                                                  unress Lende,
                any insurance proceeds-, whe*rer or not the underlying
                                                                                         so".o*"r;;";;r;r;"#;
                                                                                    "na was
      ]*t*E:
      be applied to restoratjon or repair of the Properby. if
                                                                            insurance         requrred by Lender, sball
                                                              the reslorat-iou or repair is economically feasible and
      Lender's security is aot lessened. Dlllg such repairana
                                                                     ..stororior p"loa, Lrou, shall have the righr
      ro hold such insuraoce proceeds ultil LJnder tras
      the rvork has been completed to Leuder's satisfaction,
                                                            lao an opporrunityi"      i"$*t    such propertlr to ensure
                                                                 proviied that such in'spection shali be undertaken
      promptty- Lender may disburse proceeds for the ro,pairi
                                                                   and restoration in a sirrgle payarent or jr a series
      of progress paYmeots as the woik is comFleted- Unless an ,gr."-.oi-i.-*"d"
                                                                                             ia writing or Applicable
      Law requires interest to be paid on such iisruance proceeds,
                                                                       Iender shall noi be required to pay Borrower
      any interest or earnings orsuch pmceeds. Fees forpublic
                                                                      adjusters, oio*r.imira pardes, retaiaed by
                               paid. oui oi the insorunce proieeds *d' .bou ue rh.
      P.if:::::o^:]ly_,_o:                                                             iote obiigarion of Bonorver-
      Ir tne restoratlon or rep_air is noteconomically feasible                                                     --
                                                                  or Leoder's security wouldle lessened,
      msurance proceeds shall be applied to tbe sums secured. by this                                          G
                                                                           Security IJstrument, whether or noi ther
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       due,
               l1ith the excess, ifany, paid to Bon'ower. Such insurance proceeds shall be applied in the order
       provided for in Section 2.
      IfBorrower abandons the Property, Lender may {ile, negotiate and seule any available insurance
                                                                                                             claim
      and related matters- IfBorrower does not respond withia io days to
                                                                          a nolice fi-om Lender that the insurance
      carrier has offered to settle a claim, ihen LJader may negotiate and settle the claim.
                                                                                               The 30-day period
      wili begin when the norice is given. kr either event,-or ifiender acquires the property
                                                                                                 under Sectiou 22
      or otherwise, Bonower irereby assigns to Leader (aJ Borrower's rigirts to aoy insLance
                                                                                                   proceeds in an
      amouEt not to exceed the amounts unpaid under the Note or this
                                                                         Security InsEument,             auy other
      of Bonoweds rigbts (other tharthe_right to any refund of unearned p.e.ilu-s puid "na Ol
                                                                                              by Borrowerj1*ao
      all insurancepolicies covering the Properv, iniofar as suclr righrs aie applicabie
                                                                                           to tie coveragi of the
      Property' Lender may use the ilsurance proceeds either to ,.p"i, o, ."*,oi"'tu.
                                                                                       rrop.rty or to pay"amo.-nts
      unpaidrurder the Note or this security instrument, whetheior not then due.
       6'-Occupancy. Borrowersball occlrpy, establish, anduse tfreProperty                                 as   Borrowet'sprincipai residence
       within 60 days after the execution- of this Security Inskumeni and shall continue
       as
                                                                                         to
          Borrower's.principat resideace for at least one year after rhe date of occupancy,
                                                                                                                               oi*pyin. p;;;.ay
                                                                                            unless Lender o&erwise
       agrees in writing, which consent shall not be uriasonably wittrheld,
                                                                                o. rri.r, extenuating circumstances
       exist which are beyond Borrower,s coatrol-
      7' Preservation, Maintenance and Protection of the Property; lnspections.
                                                                                Borrower                    shall
      not destroy-' d'rrage ot impair the Property, allow ttre Property to'aet#lrate
                                                                                       or commit waste oa the
      Properfy- Whether or not Borr_ower isiesiding in the Propirry, Borrower
                                                                                  shall maintain tfr" r*p"rty ln
               prevent the Property from deieriorati-og or decreasing in value due to
      :ltt  '9
      oetermmed   pursuant to Section 5 tjrat repair
                                                                                      its coud.ition. Unless it is
                                                                 or restoration is not economically feasible,
                                                                                                      Bon"ower sliall
      promptly repair the Properry if damaged to avoid furtler deterioration
                                                                                   or damage. If inswance or
      condernnatioa proceeds are paid in connecdon with rjamage to,
                                                                           or the tai<in! or, the property, Borrower
      shall be responsible forrepairing orrestoring theProperry oulyifLerderha!
                                                                                          released proceeds forsuch
      purposes' Leuder may disburse proceeds for rhe repairs
                                                                      reitoration in a single popir.nt o, in u **",
                                                                 "nd
      of progress payments as the woik is completed. If the insu,ance      or condemration proceeds are not
      sufftcieut to repair or restore the Property, Borrerver is not relieved of Borrowecs
                                                                                                obligarion for thc
      completion         of such repair or restora6on.-
      Lender or its agent may rnahe reasonable_entries r:pon and inspections
                                                                             of the property. If it tras reasouable
      cause, Lender.may inspect the interior of the improvements
                                                                   on rhe Property. tenoeistratt gir" eonoive.
      notice at the time ofor prior to such an interiollnspection specifying
                                                                             iuch r"asoroble cause.
      8- Borrower's Loan,Application. Borower sha.ll be.in default if,
                                                                             during rhe Loan application process,
      Borrorver or any persons or entities acting at rhe direction ofBorower
                                                                                 o."*itt, Bonoiver,s il;;L;;;'
      or consent gave matu iallY fal1e, misleading, or ii:accurate information
                                                                               or statements to Lender (or falled
      to provide Lender with material ilformation) in coru:ectjon
                                                                     wirh the Loan. .N,Iaterial representations
      include, but are not limited to, represenlations conceming Borrorver's
                                                                               occupancy of rhe proper[r as
      B orrower's principal residence.

      9' Protection of Lender's lnterest in the property and Rights under
                                                                                  this security
      lnstrument' If (a) Borrower fails to perform the covenants and agreements
                                                                                cootaised                                            in this Securiry


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       Instrument, (b) there is a leeal proceeding that might significanrly affect
                                                                                          Lender,s interest in the property
       and'/or rights under this Security Instruarent (sr:ch ai a priceeding
                                                                                 i" Urrl*rptry, probate, for condernpation
       or forfeiture, for esforcemert of_a-lien wbich nray attain priori-ty
                                                                                   o""i tfril slr*ity Instmmeut or to
       enforce ]aws or regujations), or (c) Borrower has abandoired
                                                                             tlie erop".ty, tt.o Lender may do and pay
       for whatever is reasonable or appropriate to protect Lender's interest
                                                                                     io *re froperty and rights uader this
       Security Instrumen! including proGcting and/or assessing the value
                                                                                      ofthe properry, and securing andUor
       i=p'Tnc     $9 fiorerV. Lender's aclioDs iaa )ndude, but ie nor rrm;t"aio, [7 payr11gany sums secureci
       by a lien w-hich has priority over this.security Instrumert; (b) appearing
                                                                                       ia court; and (c) paying reasonable
       attorneys' fees to protect its inierest in the Pioperty unoloirighti
                                                             -Securiag          unaer"*ris securlty lrrstruolent, including
       its secured position in a banlruptcy pro"e"ding.                 tf,e Property incluo"s, blt is flot limited io,
       entering the PIoP"rty to make repaiti, change lick, replice
                                                                           or bo"ta ,ip oooo *d windows, draic water
       from piPes, eliminate building or otber codivioiations or dangerous
                                                                                     conditions, aod have utilities turned
       oo or off' Although Lender may take action under this
                                                                     Sectioi p, i*no"r ao"s uot have to do so and is
       not uoder aay duty or obligation to do so. It is agreed that
       or all actious authorized under this Section 9-
                                                                        Lender incurs no liabilitfo;                                              tr;ffi;-g;;
       Any amounts disbursed by Lender under tl:is Section    9 shall becorne additioual debt ofBorrower secured
       by thiq $ssurity lnslrurnenl These arnounts shall bearinterest
                                                                      at theNote rate from the date of disbursernent
       and shall be payable' rvith such interest, upon notice
                                                               from Lender to Borrower requesting payment.
       If thjs security lnstrument              is on a leasehold, Borrower s.ball comply u,ith all the provisions
       If Borrower acquires fee title to                                                                           of the lease.
                                                     the Property, the Lsehold and ttre fee title shau not
                                                                                                           merge unless Leuder
       agrees    to the merger in rvriting.
        10. Mortgage lnsurance. lf Lender required rllortgage
                                                                       Insurance as a condition of making tbe Loan,
       Borrower sball pay the premiums required io maintain ihJ\4ortgage
                                                                                 Insui*c"- io         If, for any reason,
       the Mortgage Insurance coverage required by Lender
                                                                 ceases to be available froo   "tr""l
                                                                                                 the mortgage insruer
       that previously provided such irrsuance and-Borrower
                                                                   was required to make separately designated
       payrnents toward the p.emiums for Mortgage hsura.nce,
                                                                    Borrorver srraipaf mi prerniirms ,Eq.rir"a to
       obtail coverage substantialiy equivalent ioih. vlortgag" Insurance previoruly
                                                                                              iu effect, at a cost
       substantially equivalent to the c-ost to Borrower of th-e tlortgag"
                                                                              ioJ.*;;;;"viously in effect, frr:m an
       altemate Eortgage i:rsurer sele.cted by Lender. If substantiaiiy""q,rlrnl"oi
                                                                                        liorlgage Iasurance coverage
       is not available, Bonorver.shall coltimre to pay to Lender
                                                                      thi aroount oi rt i ,"puro,"iy designated
      payalents that were due rvher the jnsuronc* corerage
                                                                ceased to be in effect. Le'sdenuif u".?pi             unO
       retain these payEents as a non-refundable.loss resJrve ia
                                                                     fieu oruortgagu tnsura[ce. such loss "r"     reserve
      shall be non-refundable, nohvirhstanrtjag rhe fact that rhe Loan
                                                                           is ulrin;tejy;;itl in full, and Leoder shall
      not be required to pay Borrower any intirest or earoings on such
      require loss reserve Paymerts if Mortgage Insurance coverage (iu
                                                                               b;.";ri*;. L"od", no [o!;;'*
                                                                                the amount and for the"n' period t;at
      Lender requires) provided by an irsur-er"selected by Lender
                                                                         igaio u".orn.s .raiJable, is obtained, atrd
      leoderreq-r':res separately designafed payme,:ls toiyard ghs prsmirrms
                                                                                   for lvlortgage Insurance- Iflender
      required r\fortgage Iusurance as a coldition of making
                                                                  &e ioan ,na gorro."r was required to make
      separately designated pay$elt
                                         loward the premi,,,nifor vrortgug" I"u-*;ce, Borrower shall pay the
      premiums required to main^tain Mortgage      Insurance il           orioiro"iJ" a Jon-reftrndable loss rese;ve,
      until Lendecs requirement for Mortgage Insurance ends !ft"t,
                                                                 in accord*I"                                   *itt *y t*tten agreemegt                     betwee'



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                 and_ Lender providing for such terrnination or uutil remination is required
       -B-o11we|                                                                             by Applicable Law.
       Nothing in this Section I0 affects Bonowei's obligation to pay interest at the iate proviaeJ in the
                                                                                                           Note.
       Mortgage Insurance reimburses Lender (or any endry that purchases the Note) for certain losses
                                                                                                         .it may
       iacur if Borrorver does not repay the Loan as agreed.-Borrowel is not a party t; the Mortgage Insurance.
       Mortgage insurers evaluate theirtotal risk on all such irsurance in force &om time to time, and
                                                                                                         may enter
       into agreemeots with other parties that share or modifu their risk, or reduce losses. These ogr".*.-nt.
       on terms and conditions that are satisfactory to &e mortgage initrer and the other party (Jr parties)
                                                                                                                *"
                                                                                                               ro
       these agreements. These agreements may riquire the mortgage iasurer to nratce payrn
                                                                                                 ntu url"g *y
       source of funds thet the mortgage insurer may have availa6lJ(wbicli may iaclude funds
                                                                                                   obtained from
       Mortgage Insurance premiums).
       As a result of these agreeoents, Leuder, any purchaser of the Note, another insurer, any
                                                                                                       reinsurer, any
       other eotity, or any affiliate of any.of the roiegoiog, may receive (directly or indirectlyj amounts
                                                                                                                 ihai
       deri-ve from (or might be characteri"ed as) a por.ifr qf Borrower'i puy*.nt"
                                                                                          for tvlortgage insrr.an"., in
       exehange for sharing or modifying ttre mortgage insurer,s risk, or red-ucing
                                                                                        losses. If such ugr""*uoi
       provides that an affiliale of Lender takes a shaie of the insruer's risk
                                                                                in .*-.h"ng" for a share"of the
       premiutns paid to the insurer, the arrangemeoi is often termed
                                                                         "captive reiosurance.,,Flrther:
       (4) Any su-cb agreements will not affect the amouuts that Borrorver has agreed to pay for
       Mortgage Insurance, or any other terms of the Loan. Such agreements tvill not increase
                                                                                                                   the
       amount Borrower rvill owe for Mortgage Insurance, and they -witt not entitle Borrower
                                                                                                               to any
      refund.

       !!t any such agreements will not affect the rights Borrorver has - if axy - lvith resprct to the
       Mortgage Irsurance under the Elomeowners Plotection Act of 1998 or an3r other
                                                                                           larv. These
       rights may include the right to receive certain disclosures, to request and obtain caneeilation
       of the Mortgage lasurance,_lo have the Mortgage Insurance terriinatcd automatically, andlor
       to receive a refund of au1' Mortgage Insuranre-premiums that rvere unearned at the time
                                                                                                     of
       such cancellation or termination. -
       11' A,ssignment of Miscellaneous Proceeds; Forfeiture. All lvliscellaneous proceeds
                                                                                           are 5ereby
       assigned to and shall be paid to Lender.
      If the Prop-erty is damaged, such lvfiscellaneous Proceeds shall be applied to rostoration or repair of the
      Property, if rhe restoration or repair is economicaliy feasible and t-enaLf s sec,.,rity is not
                                                                                                      lessenia,-o..*g
      such repair and restoration period, Lender shall have the righi to hold such Miscellaneous proceeds
                                                                                                                  until
      Lenrlcr has had an opportunity.to inspect such Property to ensure the work lias been completed
                                                                                                             n Lender,s
      satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay
                                                                                                         fo, ,h;;"pr",
      and restoratioa ir a single disbursemenr or in a series of progress payments as rhe
                                                                                                 wor1is comptetla.-
      Unless an Bgreement is made in writing or Applicable fiw iequirls interest to be pald on
                                                                                                          such
      Miscellaneous Proceeds,                shali not be-riguired ro pny dorro-er any intereit or eamings on suc,h
                                  l-^e1der
      Lliscellaneous Proceeds. If     tire restoration or repair is noi .iono*ically feasible or Lender,s                                          i""uty
      would be lessened, the Miscellaneous Proceeds shail be applied to the-sums secured
                                                                                                   by this Securit!
      Inskument, wirether or not then due, rvith the excess, if any, paid to Borrower. Such
                                                                                                   Miscellaneous
      Proceeds sball be applied in the order provided for in Section 2.


      llllNolg€hglo Fmlly-Fanoie   Ma6rFro.tdjo Mac UNiFOR}, INSTRU}jENT
                                                                                                                                                           1632r{89:1
      vtiPrD                                                                                                                z'-1        i            Form 30r.{        trcl
      wor@6    kllre. Fh@id   Seohos                          20t 109094,o.0.0.4002J20r01a5Y                               '^u"*L-il        9*             "*"
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       In the eveat of a total taking, destruction, or ioss in value of the Properp, the Miscelianeous proceeds
       shail be applied to the sums secured by &is securiry Iastrumeot, wheihe;r not then due, witb the
                                                                                                           excess,
       if any, paid to Bonower.
       In-the eveot of a partial taking, destruction, or ioss in value of &e Properfy in which
                                                                                                &e fair market vajue
       of the Properly immediately before the partial takrng, destruction, oi toss in value is equal to or gr6ater
       than the amourt ofthe sums secured by tbis Security Instrument immediately before
                                                                                                  the partlal tking,
       destruction, or loss in value, unless Borrower and Llnder otherwise agree in writing,
                                                                                                   theiums ,".*"?
       by this Security Iosulmentshall be reduced by the amount of the Misiellaneous prJieeds
                                                                                                        multiplied by
       the following fraction: {a) the totat amount of the surrs secured immediately
                                                                                          before the partial taking,
       destructioa, or loss i:r value divided by (b) &e fairmarket value of the p."p.ray
                                                                                             igmeaiately beforelire
       partial taking, destruction, or loss in value- A:ry balance shall be paid to Birrower.
       In^the event of a partial taking, destruction, or loss in value of tlre
                                                                               Prope(y in rvhich the fair market vahe
       of &e Properry immediately before the partial taking, destruction, or iossin vatue
                                                                                                is less rhan the amount
       of the sums secured immediatety before the pa*ial fking, destroction, oJoss in
                                                                                               vahre, unless Borro1u".
       and,I,ender otherwise agree in writing, the fuliscellaneoui Proceeds
                                                                                 shall be applied to tl:e sums secured
       by this Secruiby Instrument whether or not the sruns are then due.
      If the Propert'y is abaodoned by Borrower, or id after notice by Lender to
                                                                                      Borrorver that the Opposing
      Parly (as defined in the next sentence) offers to'make an awarcl to settle a claim
                                                                                             fo, damages, ilororrl1.
      fails to respond to Lender rvithin 30 diys after the date the aotice is given, Lender
                                                                                              is authorized to collect
      and apply the Miscellaaeous Proceeds ii&er to restoration
                                                                    or repair Jf tle property or to the sums secured
      by tliis Security Instrument, whether or nol then due. "Opposing Party"
                                                                                    meairs the third party tlat owes
      Borrorver Miscellaneous Proceeds or ihe pafiy against w[om sorro*Lr has
                                                                                        a right of u"iion in r"gard io
      Miscelianeous Proceeds.
      Borrower shall be in defau.lt if.a1r
                                           lction or proceeding, whether civil or criminal, is begun rhat, in
      I ender's judgment, could resuit in forfeihue   or O. froloty or oiher *o,..i"t impairment of Lendet's
      interest in the Property or rights under this se.c-uriu Instrument. Borrower
                                                                                      can cure such a default and,
      if acceleration has occurred, reinstate as provided iu Section 19, try causing ure action
                                                                                                  or proceeding to
      be dismissed with a mling that, il Lendetiludgment, precludes
                                                                        forfeiture of-the property or othe, muiJ.ial
      impaiment oflender's interest in the Propeit! or riglrrs under this s".r.iry L.trrmenr.
                                                                                                The proceeds of
      any awar-d or claim for damages *tal are attributableio the impairment
                                                                             ofl-endcr,s interesr in tir" rrop".,1,
      are hereby assigned and shall be paid to Lender.

      All Miscellaneous              Proceeds that are_rot applied to restoration or repair                                 of the properry slrall be applied
      in tbe order provided for in Section 2.
      1?' Borrower Not Relea_sed; Forbearance By Lender Not a Waiver. Exrension
      paymeDl or modiflcation of amortizatioa of the sums secured
                                                                                                    of &e time for
                                                                       by this Securiry Instrument g.unt a ty--
      Lender to Borrower or any successor in Isterest of Borrower si"ll
                                                                                         to release tf,e iiabiliry of
      Borrower or any Successors in Interest of Borro*.iiena". slall not be required
                                                                                        to cornmence proceedings    ""i;;;rA
      against any Successor in Interesr of Borrower or to refuse to extead
                                                                           time for payment or otbenvise modifu    -'
      amorcization of the sums secured by ttris SecurityJnstrument ty."u**
                                                                                 oiloy demand made ty tt
      original Borrolver or any Successors in Interest of Borrower- Any forbearanc-e
                                                                                                                                                                               *
                                                                                         by Lencler in
                                                                                                                                                                 "*.rcisirrg

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      VlvtPO
      WolleE
                          FamrlrFrnn€ Mae,Fcddia f,rac UNIFOBM TNSIRUMENT

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                                                               291 I 09094_O.O.g,{Ot2.J201     0   1   a,3y                         ,,0^".                            *.",o'#l3


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       any right or remedy including, witirour limitation, Leoder's acceplance
                                                                               of paymeuis from &jrd persons,
       entities or Successors in Inlerest ofBorrower or in nmounts less tban
                                                                             the imount ti:en due, shajl not be
       a rvaiver of or preclude the exercjse of any right
                                                          or remedy.
       13' Joint and several                 uability; co-signers; Successors and Assigns Bound. Borrovier
       colrenants and agrees tbat Borrower's obligitions and liabiliry           joini aid several. Ho*"r.r, Ly
                                                                       shall be
       Borr.owgr who cc-signs this securify Instriment bui does ,oi .x..ut"
                                                                                t'i:e Note (a ,,co-signer,,): (a) is
       co-signing this Security Insfument onJy to mortgage, grant
                                                                     and convey the co-signer,s interest ir the
       Proper[r nnder the tenns_of ihis securiry rnsrurienq
       secured by this Security Instrumest; utra
                                                              $; i. not p"r.olaily outigaied to pay the sumi
                                                 1"i agrees ttatiender and any 6ther Borrower can agree to
       extend, oodi&, forbear or make uny o".o**oiations
                                                              with regara to tle terms of this Security Instrurent
       or the Note without the co-signerbconseot.
       subject to dre provisioris of seciion 18, any successor in
                                                                  Interesr of Borroryer who assumes Bon-o'er,s
       obligations uoder this Security lnstruoeotin rvriting, and is approved
                                                                                by Lencer; shall obtai.ri all of
       Borroweds rights and beoefiti_ulder this Security )nstrulnent.
                                                                        Borrower slrall not be released from
       Bon-owet's obligations and liability under this Secwiry Instrumenl
                                                                            ,nt"ss ieoae. agrees to such release
       in writing' The covenanls and agrJements of trtis iecuriry
                                                                   Instrument shall bind (except as provided in
       Section 20) and benefit the successors and assips
                                                           of Lender.
      14' Loan Charges' Lender may charge Borrower fees for serviees
                                                                            performed in connection with
      Borrowe/s default, for the.purpoie of piotecting Lender's inrerest
      Securiry rusrumenr, including,.uut roitimit.d tJ, atto*"ys'
                                                                         i";;p.;".ry ard rights under this
                                                                     fees- property inspectio6 aod valuation fees.
      In regard to any other fees, ite absence of express au&oriry
                                                                   in tr,is i""irri# Ilst-riment to charge a specific
      fee to Bonower shall nolbe consuned as airohibirion
                                                                on the                      fee. Lender may Dot
      charge fees that are expressly prohibited by this securiry
                                                                  Lrsru**o't o", uy epplicable        "lr*g,il;i;;ch      Law.
      lf the Loan is subject to a law rvhich sets maximumloan charges,
                                                                              and that law is finally interpreted so
      that the interest or other loan charges collected or to be cotlectid
                                                                           in cogrrectiofl with r]re Loan exceed tire
      permitted limits, then: (a)
                                   Fy such loan charge shall be red.uced by ,li.
      charge to the perinitted jimil
                                                                                            n""essary ro re4uce tlre
                                      and (b) aay sumialready collected from Borrower rvhich                  "*o*,
                                                                                                 exceeded permifted
      limits will be refunded to Borrowei, L.loder nray choose to make
                                                                             this refund by reclucing the principal
      owed under the Note or by making_a direct payment to Bonower.
                                                                              lf a refuod reduces principal, the
      reductiori will be h'eated as. a partial prepayment ivithour uny pr"poy*.ni
      prepayment charge r's provided for nnder the Note)-
                                                                                       JL.g" (rvliether or rot a
                                                              Borror.,eis ot..pio"""-nor"ir;;
                                                                                        orinysuch refund made bv
      direct payment to Borrower will constitute a waivir of any right
      out ofsuch overcharge.                                                "r
                                                                                J"tio,                                  ;i;;;;;;       ,"iliil
      'l5' Notices' All notices given by Boirower or Lender in connection with
                                                                                   this securiry lnstnrmeur musr
      be in$T iring. Aly notice to Borrower in connection rvith
                                                                 this Secu.ity rnrrru*"nt shall be deenred to
      have been given to Borrorver rvhen mailed by lust ciass rnail
                                                                     or wheri acruallv delivered to Borrower,s
      notice address iisentby other means. Notice io any one Bonowers6allconstiilte
                                                                                          notice to al] Borrowers
      unless Applicable Law expressly requires other-rvise. The
                                                                 notice address shatl be tlre property Address
      unless Borro|erras designated a su$siitute notice
                                                          address by notice
      notifu Lender of Borrorvet's change of address. If Lelder specin"* u pro"iJu."
                                                                                        Borrower'shjl      toi*a"r.                pr;;;it
                                                                                        for reporting Borrower,s
      cba:rge of address' then Borrowerlhall only repo6 3 61r.ge
                                                                   of addreis rrrrough rtrat                           specifieil;;;;;;".

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      There may be ouly one desigpated notice address usder this Securiry Instrument at any one time. Any
      notice to Leoder shall be given by delivering it or by mailing it by first class mail to Lender's addresi
      stated herein unless Lender has desiglated another address by notice to Borrower. Any notice in connection
      yith this Security lnstrumeni shall nor be deerued to have been given to Lender until actually received
      by Lender. If any uotice required by this Securitv Instrument is also required under Applicable Larv, the
      Applicable Law requirement will satisfy the coresponding requi-rement under &is Seiurity lnstrument.
      16. Governing Law; Severability; Rules of Construction. This Securiry Iastrument shall be
      governed by federai law and the law of the jurisdiction in r.vhich the Property iJlocated. All rights and
      obligatioos coatained in this Securiry lnstrument are subject to aoy r.quiements and limitations of
      Applicable Law. Applicable Law miglt expiicitly or impticirly allow the parties to agree by contact or
      it mfuht be silent, but such silence shall noi be eolstmed- as a prohibitioa against agr":u."rri by cootract-
      ln the event thatany provision or clause of this Security Instruinent or the liot" coniticts rdth ipplicable
      Law, such eon-{lict shall oot affect other provisioas of this Securiry lnstrument or {re Note which can be
      givea effect without the conflicting provision.
      As used in this Securify Inskuuent: (a) words of the masculine gender shall mean aud include
      corresponding neuter words or rvords of the femiuine gender;
                                                                     $) words in the singular shall mean and
      include the plural and vice versa; and (c) the word "may" gives-sole discretion wjtliout any obligation to
      take any action.
      17. Borrower's Copy. Borrower siiall bc given one copy of the Note and of rhis Security Instrument.
      18, Transfer of the Property or a Beneficial lnterest in Borrower. As used in this Section 1g,
      "lnterest in the Property" means any legal or beuehcial interest in the Property, including, but not iimited
      to, those beneficial interests transferred in a bond for deed contracr for deea, instailuie-;t saies cootact
      or escroiv agreement, &e intent of rvhich is the transler of title by Borrorver at a ftiture date to a purchaser.
      lfall or any part ofthe Property or any Interest in the Properry is soid or transferred (or ifBorro*,er is
      not a nafural person and a beneficial interest in Borrower is sold or h'ansferred) without Lender,s prior
      written consent, Lender may r:quile iminediate paymetrt in full of all sums secured by this Security
      Instument- However, &is option shal! not be exeriised by Lender if such exercise is prohibited bf
      Appiicable Law.
      If Lender exercises this option, Lender slrall give Borrower norice ofacceleration. The notice shall provide
      a period of uot less thar: 30 days &om the dare the notice is given in accordance rvith section 15 within
      which Rorrower Eust pay ali sums secured by this Security Inskument. If Borrower fails to pay these
      sums prior to the expiration of this period, Lenrler may invoke any remedies permitted Uy ttris Security
      Insrumeot without firrther notice or demand ou Borrorver.
      19- Borrower's Right to Reinstate After Acceleration. If Borrower meets certain condirioas,
      Borrower shall have the righ.t to have enforcement of this Security Instrumenr disconiinued at any time
      prior to &e earliest of (a) five days before sale ofthe Property pursuant to Sectiol 22 ofthis Security
      lstum.en! ft) such other period as Applicable Larv might sp.iify for the temrinatioq of Borower's
      right to reinstate; or (c) entry of a judgment enforcing this Seiurityl:strument. Those conditiom are thai
                   (a) pays Lender all sums'r,vhich tlen rrould be due under this Security Insaumeat and the
      -B_orrow$;
      Note as if no acceleration had occurred;                  ft)   cures any default of any other covenanis or ageements; (c)


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       pays all expenses incurred in enforcing this Security Instrument,
                                                                             ilcludirig, but not limited to, reasouable
       attorneys' fees, Property inspection and valuati on feis. and other fees incurrld
                                                                                           for ure purpos, oipi"t"Jlrg
       Lende/s ilterest in the Property and rights under thii security Instnrmenq
                                                                                          and (d) takes such action as
                                          to assure that lender's ;nrerest i, tf,. F.oprrry and rights under this
       !::*:tryasonablyrequjre
       uecunry   ,nstrumenr, and Borrower's obligationro pay the sums secured
                                                                                     by trrii securi[r lnstrume;i, shail
       costinue unchanged unless as otherrvise provided under
                                                                    Applicable Law. Lender may require thai
       Borrower pa,v such reinslatemeDtJums ,od                  in one or m,3re of the following forms, as selected
                                                      "rp"rr",
       by Lender: (a) cash; @) money order; (c) certified   chect, bank check, treasurefs check or cashier's checlg
       provided any such check is dr.aym upon an institution whose
                                                                         deposil ur"inr*"a by a federal agetrcy,
       instrumentality olgrtity; or (d) Electronic Funds ?ransfer. Uponieinstatemerrby
                                                                                                Borrowe1; this Security
       Instrument and obligations secured l:ereby slrall remain fuXy etrective
       However, this right to reinstate shall not apply in the case of acceleration
                                                                                             acceleration had occurred.
                                                                                   ". utder Section g-
                                                                                                                                   if*
                                                                                                         I
       20' sale of Note; change- of Loan Servieer; Notice of Grievance.
                                                                        The Note or a partial interesi
       in the Note (togedrer with this Securit-v Instrumentl can be sold or" o, oror" tirnes withoui prior
      to Borrower' A sale might result in a .naugu il tle eotity                                              notrce
                                                                    ftnown ur rA"
                                                                                    ;ro"n Serrricer,,) rhat coljects
      Periodic Paymen(s due uuder tlie Note.nitr,ir Secuiiry Instrument
                                                                                and performs other mortgage loan
      servicrrg obligations under tlre Note, this security Insnrrment, anJefpril"it"
                                                                                           Law. There also might be
      one ormore changes of the Loan serwicer unrelaied to a sale
                                                                       of the NLie- If there is a change of theioan
      Servicer' Borrower rvill be given u'ritten notice of the change
                                                                         which will stare the name aad a<ldress of
      the new Loan Servicer, th.e.address to which palrnents
                                                              shouli be made aud auy other information RESpA
      requires in cooriecrion with a notjce of nansfer of
                                                           servicing. If the Note is sold and tliereafter the Loan
      is servicedby a Loao Servic.er other than thepurcbaser
                                                              of flr;Not", rrr" *ortgugc loan senrjcing obJigatioos
      to Borrower will remain with the Loan servicer or be transferrea
                                                                             to u ,u"I"l"orLoan Servicer aod are
      not assumed by the Note p,rchaser unless otherwise provided
                                                                         uy th" Noielur"laser.
      Neithcr Borrower nor Lender may commence, join, or
                                                                be joined to any judicial action (as either an
      individual Iitigant or the member of a class) that arises fir* td"th;;ilrry,;
                                                                                         actions pursua:rt to this
      Security Inskument or that alleges that the. other pariy has
                                                                      breached aoy provision o{ or any duty owed
      by reason of, this Securiry l"snrur:ent, until sucb'Borrorver
                                                                       or Lender has notified the other parry (with
      srjch notice given in compliance.with the requirements
                                                               of Section 15) of suclr alleged breach and afforded
      tlte otherparty hereto a reasonable period after the givrng
                                                                     orru"r, noil.r ,o-,ut" corrective action. If
      Applicable Law provides-a time period which musielopJu b"fo..
                                                                             cedain action car be taken, that time
      period will be deemed to be reasonable for purpose.
                                                              of tlri, porugr.pt. rti" notice of acceleration and
      opporninity to cure given to Borrowerpursuani to section zi
                                                                             the norice ofacceleration given to
      Bon'orverpursuant to section l8 sliall be deemed to satisff tr,""ni
                                                                                 *Jolport-ify to iake correcii'e
      action provisions of thjs Section 20.                               "oti."
      21 ' Hazardous Substances' As used in tiris
                                                           Section 2l : (a) "Hazar.dous Substances,, are tbose
      substances defined as to.\ic or haza:dous substances, pollutanti,
                                                                              oa o,rrt* by Environnental Law and.
      the.foliorvrng subst'nces: gasoiine, i<erosene, other fla:rimable
                                                                         or ioxic petroteum proaucs, toxic pesticides
      and herbicides, volatile solvents, materials containing asbesros
                                                                         or rormaldehyde. and radioactive materials;
      (b) "Environmentai Law" means federal larvs and liws
                                                                   of the jurisaction irt     tlre properry is locaied
      that relate to health, safety or.environmental protection; (c) ,'Eavironmental-Cleanup,,
                                                                                          "re
      respoase action, remedial acfion, 0r removal action. as aifined                                inchrdes a,y
                                                                            in Environmental Laq and (d) an




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      "Environtnental Condition" means a condition that can cause, contribute to, or otherwise rigger an
      Environmental Cieanup.
      Borrower shall not cause or peruit the preseace, use, ciisposal, storage, or release of any llazardous
      Substances, or threaten to release any Hazardous Substances, on or io tlre Property. Borrourer shall not
         no1 allow anyone else to do, anytling alffiesfing the Property (a) thar is in viol;tio; of aay Eovkonmental
      $o,
      Law, &) rvhich creates an Environmental Coudition, or (c; wliih, due to the presence, use, or release of
      a Hazardous Substance, creates a condition that adversely iffects tle value
                                                                                       oftheproperty. the precea;rg
      two sentences shall not apply to the preseace, use, or storage on the Prope$y of smal quantities of
      Hazardous Su.bstances th;i are g"n.Ltry recognized to be alpropriate to nofoal residentiaj uses and to
      maintenance olthe Properry (including but aot timlted to, t azardous substances i:r consumerproduos).
      Borrower shail promptly give Lender written notice of (a) any investigation, claim, demaad, Iarvsuit or
      o-ther action by any governmental or regulatory ug"o"y oi private par{ iavotv:ag tle froperty
                                                                                                     and any
      Hazardous Substance or Environmental Law of rvUicii nono.r". h"s Jctuol i.oo*ut"Oge,
                                                                                              1by any
      Enviroamental Condition, including but not limited to, any spiiling, leaking, aischur{e, tetease or tluear
      ofrelease of any Hazardous Substance, aad (c) any condilion            Uy thi'presence, use or release of
      a Hazardous Substance which adversety atrects Ure value of the "rri"a
                                                                     Prope4y. if eonower iearns, or is noiified
      by *y governmental or regulatory authoriry, or any private purty, it ut'"oy removal or other remediation
      oiany Hazardous Substaace affectingthe Properry ii necessary, Bonower shail promptly take all necessary
      remedial actions in accordance witir Environmental Larv. Nothing herein shail creui"'any obligation
                                                                                                             on
      Lender for an Environmental Cleanup.
      Non-Uniform Covenants, Borrower and Lender further covenant and agree as follorvs:
      22. Acceleration; Remedies. Lender shall give notice to Borrowcr prior to acceteration
      follorving BorrotYer's breach of any covenant or agreement in this Seeurity Instrument (but
      not prior to acceleration undcr Section 1E unless Applicable Larv providei othenvise). The
      notice shall spccify: (a) the default; (b) the action required to cure the default;
                                                                                          {c) a date, not
      Iess than 30 days from the date the notice is given to Borrorver, by rvhich the delault
                                                                                                   must
      be cured; and (d) that failure to cure the defa]rlt on or belore tire date specilied in the notice
      may result in acceleration of the suros secured by this Security Instrumen! I'oreclosure by
      judicial proceeding and sale of the Propelty, The notice shau iurther inlbrm
                                                                                        Borrorver of the
      right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
      non-existence of a default or any other defense of Borrower to accelcration and
      lf the default is not cured on or before the date specified in the notice, Lender atforeclosure.
                                                                                               its option
      may require r'mmediate payurent in full of all sums lecured by this Security Instrument 1nitt out
      further demand and may foreclose this Security Instrumcnf by judicial
                                                                                  iroceeding, Lender
      shall be entitled to collect alt expenses incumed in pursuing the-remediei providei in this
      Section 2?, including, but not lirnited to, rcasonabte'altorn{s' fees rnd cosis of title cvideuce-
      23' Rele-ase- Upon payment of all sums secured by this Security Instru@enq Lender shail release this
      Security InstrumeEt- Borrower shali pay any recordation costs. Lender may charge Borrower a
                                                                                                           fee for
      releasing this Security Instrument, but oaly if the fee is paid to a third parry for sirvices rendered and
      the charging of the fee is perrnitted under Applicable Law.



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      VlvtFO                                                                                                                                                          Forn   30li   1/01
      WolleE Klu$r Fl{ancial Seili*s                                                                                                                                              :0/1 0
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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 113 of 177 PageID #:113
                                                                                      1126408052 Page. 14 of 16




      24' Waiver of Homestead- In accordaace wi& Illinois larn the Bonower hereby releases
                                                                                           and rvaives
      all rights under and by virtue of &e illinois homestead exemption laws.
      25' Placemeni of Gollaieral Protection lnsurance- Uoless Borrower provides
                                                                                 Lender with                        evidence
      ofthe insurance coverage requirecl by Borrowels agreeraent with Lender, Llnder
                                                                                     may purchase insurance
      atBorrower's expense to plotect Lender's iareresrs-iq Borrowet's coltateral.
                                                                                   This insurunce may,'Borro,wer
                                                                                                        but need
      not, protect Bortowefs isterests- The coverage that Lender plrchases
                                                                           may not pay any claim thai
      roakqs or aay clairn that is made against Boirower in coniection with
                                                                             the             Borror,ver may iater
      cancel any insurance purchased by Lender, but only afterproviding
                                                                           Uraer"oilui..ui.
                                                                                   rvltl evidence that Borrower
      has obtained insurance as required by Borrower's and
                                                             LenA"r. ogr;*"oi-iflenderpurchases insurance
      for the collateral'Borrower will be risponsibie for flre costs of tf,atlnrur*"r, includ'ing.intere
      otlrer charges Lender rnay impose io c-onnection ,,vith the placement
                                                                                                                  t{iia *y
                                                                               of tlre iusurance, until the effective
      date of the cancellation or expiration of the insurance- The costs
                                                                           of the insuran"e may be added to
      Borrow'er's total outstandiag-balance or obligation. The costs
                                                                      of the ir$uraoce maybe more than the cost
      of insurance Borrow€r may be able to obtaii on its own.
      BY SIGNING BELO'!V, Borrower accepts€nd agrees to the terus and coveuauts
                                                                                corltained io tSis Security
      Insfument and in any Rider executed by Bonoiver and recorded rvith it.

      Borrower




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      VMPD                                                                                                        Fom 301.i !rO,
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       Arknowledgment
       State of Illiaois
        County of Cook
       This instrument was acknowledged before me


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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 115 of 177 PageID #:115
                                                   112tr08052 Page. 16 of 16




                                    LEGAL DESCRIPTION
       LOT 23 IN BLOCK 8   G. FRANK CROISSANTS SHADOW LAWN, A
       PART oF THE WEST'N1t2oF THE SOUTHEAST 1/4                      SUBDMSION OF THAT
                                                    AND THE eadf iirno
       oF Tr'rE sourHwEST 1f_qfsFcrloN 1t, rowr.rsHrF 3s'NoRTi,'inr,reroF THE EAST 112
                                                                             14, EAST OF
       IIIF-IHIRD PRINCIPAL MERIDI{N, LYING i'ronrH oF rHi cEr'iieiiirr,rE oF MrcHtcAN
                                             '-'
       clTYRoAD, tN COOKCOUNTY. n-Lrr'.rorsl



      Address commouly known as:
      567 Menill Avenue
      Calumet City, tr- 60409

      PIN#: 29-12-314-0il-0000
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 116 of 177 PageID #:116




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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 117 of 177 PageID #:117




           c. complaint To Foreclose Mortgage - page 3 of 16 and page 4 of 16 are
              missing factual page numbers are in the lower right.




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                  Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 118 of 177 PageID #:118

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                                                                                                          CookCountv {21762
                                      IN TTIB CIRCUIT @TJRT OF COOK COI]NTY, ILLINOXS
                                         CO{JNTY DEFARTI\{ENT . CTIANCERY DIVISIOH

                       JEMorgm Chase Banlc, Ndional Associdion
                                                 PI.A.INTIFT

                                                 Vs-                                  No. 2019CH09659
                       Renee A, Washingtm; Chicago TitlelpndTnrst
                       Coryany, as Trurtee a/k/a Tfust No . 8{frffi36l70t;           56TMerrillAve
                       Unlsnoum Oumers and Nomecorrd Claimants                       calumetcity,IL 60409
                                                    DEFENDA}ITS
                                              coMPIl\INr TO TORECI{SE MORTGAGT
E
H      NOIIr COMES ftePlaintiff, JPMORGAN CIIASEBAI{& NATIONAL ASSOCIATION, bymdrhugh its
E      P_*"yt, CODILISI & ASSOCIATES,PC., ofthedefendmtsh€rein md,pursumto?3sll"Cs
R      5/15-l l0l, sErtes as follows:
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$       t   . Plairtifffile &is Comptaint to Forecloso fte mortgagq tilst dced or o&er convqrance in &e nature of a
i       mo,rtrage     (hwinaeor called Tvtortgage) te,renaner aesched, mdjoins fte followingpersons as "Defendants":
H       R€ne     A    Washington; Cticago Tide l-md Trust C-ompany, as Trustee aflrla Tnrst No. 8002361708; Untnoum
F
6
        OumemsandNonrecordClaimants

        2. Affichod     as   "HIIIBIT A" is a cqpy of &e Mo4gaga Attachetl        ffiIIIBIT   B, is a oopy of &e Note.
H
a
                                                                             as


H       3.   Information                  said.Ir[or$age:

                (A)   Nffic oftte instrum€nrt n{or@agc.
                (B) Dde of&e Mortgage: 9tl2f20tt

                (C) Name ofrnorQagor(s):

                       Renoe   A.lVa$ingtou

                (D) Name of the original mortgagee:

                       IPMorgmChaseBank,NA.

                (E) Dafc adPlace ofRecording orRegistering:

                       9mD011
        Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 119 of 177 PageID #:119

            Office oftheRecorderofDoeds of Cook Counfy Illinois

      (F) Identification of Recording         Elocum€nt   No.   1   126408052

      (G) IntEreS srbjoctto themortg4ge: Fee Simple.

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to    (I{) Amortr of original indebtednms:
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e
o
o            (l) Original   Indebtedness: 986,660-m
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      (I) Bofih &e legal descripion of &e mortgaged real estate and the common addrms or ofter infomation
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      srffcie,lrt to id€ntit, it wift reasonable cerelinty:
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      PRINCIPALMERIDIAN, LYINGNORIII OT TIM CENIERLINE OF MICIITGAI{ CITYROAD,IN
o     COOKCOUNTY.ILTINOII.
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      COMMO!{LYKNOWNAS:                                    567 h[errill Ave
                                                           calmstcity,IL        60409

      TAX PARCEL IIIIIMBER              29123 I4O1 IOMO

      (I)   Statemsf   as to   de&da:Mortgagors harre not pid tre mon&ly installmenb of Principal, hxeg Interrest
      md insuraoce fot O4filB0lg, ftrcugh &e present &e Principal balamce dne on fte Note and the Mutgage
      is$'74,102.71, plus Int€r€st, costs, ad\rances and fees. Inmst accrues punsuant to &e Note, and fu crrrent
      perdiem is $9.90.

      (K) Name ofpeeent oumer(s) of saidp,rcmises:
        Cticago Title Iand Trust Coryqr, as Tru$ee a/l/a Tlust }rlo. 80086f                  ?0E

      (L)   Names of other persons ufto are joined as defendmt and srtoso interest in or lien on the mortgaged           rel
                            te, inated and a[eged to be euborrdinate and inferior
      estate is sougftt to be
      to &e morEage of the       Plaintifr:

      M) Nms        of ddemdanu claimed to         be personalty liable    for derficiency, if any:

      ReneeA. Wa$ington.

      No personal de'ficiacy will be sougfut qgainst &is(&es€) deferndm{s)              if th€y me pmtocted by a banknrytcy
      antomatic stay or if &eir obligatiou is discharged inbanlarytcy.

      (N) CaPacity io u/hich Ptaintifrbrings        ftis foreclosure: Plafutitris &o Moreagee mder 735 IIJCS 5/15-
      1208.

      (O) Facts in mpport of a redemption period ahorter rfran &e longer of 7 months ftrom the dafie &o mortgagor
      or, if more tran oner all the mo4gsgors have been serv€d with summoils or by publication or have o&erwise
      sub,mitted to tte jurisdiaion ofthe cout, or 3 months ftom the entry ofthe judgmert of fueclosrre,
      whicheveris lrtrer, if souglt

      The redemptionpedod shall be iletErmisealpursuatto 735                Ilrcs 5/15-1603.
               Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 120 of 177 PageID #:120


              (P) Statemetr &d fte rigfut of redemption has been uraived by atl own€rr of redemptioa Therc has boen no
             exetr*ed.wairrcrofredqtionbydl owtrers of rcdomption, houreverPlairtiffalleges thatitis notprracludd.
             from acceptingsuch awaiverof rdemptionbythe fiting of this complaint.

             (Q) facE in srryprt of request for attomeys' fees and of corE and eryemses, if applicable: Ths subjwt
o,           moreagE providcs for payment of attomey fees, cornt cosB, md expe,lrres in &e eveff of a deftult rmden the
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N            (R) Facts in srpport of atquest fm rypoinhent ofmortg4gee in possession orforrypointnent ofa
E            rtceive'r, md identity of srch receiver, if souglt Unless othe,rs,ise allege4 Plaintitrwill prey for said   rdief
o            after &e fiting of the instmt for€closure action by seprate petition if such relief is sought
st
o            (S) Otrer to tte mor@agor in accordance with Section l5-l4CI2to acc€S titte to the real estate in satisfrction
o
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             of all indebhdnss md obligdions secured. by the mortgage wiftor* judicial sale, if sougft: No allegation of
@            an offeris madehowwqPlaintiffalteges editi$ notprccludedfrom msking or accepting suchofferbythe
iiF          fiting of&e instut foreclosure action
a
o
5
IL
             (I) Name ot nEr€a of defendmts whose riglb to poasess the mortgaged ral esat& after &e confirmation
             of a fomlcrre sale, ale sougft to be terminated m4 if not elsemihere sEteq &e facts in $ryport th€reot

             Renee A. Washington; Chicago Title     Iand Trust Compmy,     as Trustee   a/[/a TnrstNo. 8fi]86f708;

      4. Plaintitraverstftatinadditimtopcrsonsdcsignat€dblrnamehereinandtheUnlmoumDe,fendantshercinHore
      referredto,there areo&erpemons, md/cnon-record.clairnan6who are intsr€$tedintris action andwho have or
      c-taim sory9 rigbc, title ints€st or lie,n iq to orr4pon fte roal e$Eb, or some patt thermf in this Complaint
      describe{ incfuding brfi not limited ro tte foflowing:

      Unknown Owners andNonRscod Claimants, if aay.



      That the name of each of such P€rsons is unlmovm to Plafurtiffand on diligelrt inqgiry c:amotbe ascertaine{ and
               pemoas are therefore mado prty defe,ndants to tl'is action by &e
      1tl such                                                                         anA aescription ofITNKNOWN
      OWNERS and NONRECORD CLAIMANTSI.                                            "ame

                                                    RDOTIEST FORRELIE,F

      umEFonE, IHE             pIl\INTIf,X. REQIIESTS:

      (0      Ajudgn€ilt of forreclosurc md sale.

      (ii)    An order granting a shorte,ned redemlrtion pcrio{ if sought

      0ii)    A personal judgment for deficimcy, if applicable aad soqfit, and mly against parties who have signed &e
              Note or monetary obligation which is the subject matter of this complainq or pcrsms uiho have ass,umeal
              liability of 6e Note or monetary obligation which is the subject matler of this complaint, md who have not
              received.adischarge offtis debtinhknptcy andu&o arenotpe;rsmallyprotecteilbyfhe arlomdic stay
              at sale oonfirmation-


      (iv)    An order grantingpoesessiom, if sorght
                Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 121 of 177 PageID #:121


       (v)     An order placing fte morQagae in posseseion or appinting a reoeiver, if sougfut

       (vl)    Ajudgnerrt   forffimqn,    feeg costs andeirpeoseq        ifsmght
       (vii)   Fm&e ryoinhentofa Sdlfogofficor, ifdoe,meilappropiarbyftic corrt
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   Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 122 of 177 PageID #:122



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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 136 of 177 PageID #:136




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    Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 137 of 177 PageID #:137


                                                      t   12640984 Page:   16   cf 16




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                                          LEGALDESCRIPTION
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      Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 138 of 177 PageID #:138
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       siilm.*t                                               I will pay both before and afur any de&ult desnibd in
                                                                                                                    sBcrion   6E)
       3. Payments,
          (A) Tlme and Place of payments.
                                             I will pay principal and interest by mala,rg a palment eveqr
          r will make my monthly payment                                                                  nonth-
                                         on &e lst day of      month beginni4g on Nove,rrber
          paymenE                                                               l, 20I t. r will meloa &ese
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          lr:#ffi?:,                                          Phoeniq AZ 85062{420 orar a diftrenrplme ifregnind
                                                                                                                 by rhe
          (B) Arnount of Monthly Palrnents.
                                            Mymonthlypaymatwfltbein tbe amourrofu.s. s4i&62
       4. Borrotruer's Rightto prepay.

       l\###:foffi;r.:,r*S                orPrincipal at any
                                                               i*e-b-esre_tuey are dr
       pavmei,as",*ffiHtilHlffi                    *il'*H"hlmfi'H;*$ffi frHf#t$#*ffix
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      5' Loan charges' Ifa Iau       rvhich applies to
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      6. Borrourcfs Failure to pay as
                                      Required.
       Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 139 of 177 PageID #:139




           (A) L"ateChargerorlveldugFqprrantifrhsNaegdderlasnorrsdred&e
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 q}        (B) Default If I do not pay the
                                           full amormt of each monthly paJm€nt m
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           (c) Notice of Defauh rI.
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       7. GMng of Notices.l

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 Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 140 of 177 PageID #:140




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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 141 of 177 PageID #:141




          D. Identity Theft Affidavit




                                           63
                        Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 142 of 177 PageID #:142
         IerllS  Deb: No hearingscirduled
         tocetion:   <<GourlRoomNumbep>
         Judge: Cabndar, 63

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     o                                                                                                              Calerxdar,63
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     o                                                                                                              18838190
     6l
                           JPMORGAN CHASE BANK,
                                                N.A.                         Case No":2019CH09659
     o
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    6{                                   Plaintiff
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    c,
    (\t
                           VS.                                               JUDGE LYNN WEAVER BOYLE
    N
                                    Washington, Chicago Tirle Land
    [i                     l"n*3
                           Trust Company                                     567 Merrill Ave
    L                                             as Trustee a/k/a
    k
    o                      Trust No. 800236IT0g                              Calumet City,   Il 60409
    o
    l!
    J                                Defendant
    IL




                          Now comes det'endant and owner Renee
                                                                     A. washington, chicago TitJe Land Trust
                          company as Trustee a/k/a Trust No,
L

                                                                 8002361708, and unknown owners
                                                                                                        and Nonrecoid
                          claimants herein' ("owners'") by limited
                                                                     appearancs to this matter in this court
                                                                                                              of record
                          with clean hands' without prejudicq
                                                                with God given rights, God granted rights,
                                                                                                              creatr:r
                          endorved rights' and with all rights
                                                               secured by the united states constihrtion
                                                                                                           anrl the state
                          of llIinois constihrtion invoked herein
                                                                   and no rights are voruntarily or invoruntariry
                                                                                                                   being
                         waived and with all rights reserved including
                                                                         ucc 1-30g in dealing with this court, in
                         Propria Person4 sui Juris (not
                                                          Pro se). Defendant Renee A. lvashington
                                                                                                      is before ihis
                         court by special appearance without
                                                               waiving any rights, remedies or defenses,
                                                                                                            sktutory cr
                         procedural' Renee A- washington
                                                             solemnly affirms thar the staremenr
                                                                                                    herein are true anri
                         correct,   ir   substance and in   facl   to wit:


                         I. Renee A.       Washingt"
                                                                                                            s chain of ritle
                         and l'ouncl fbrged and identity trrer.t
                                                                 docurnenlation rec.nlings to defendant"s

                         PrN 29-12-31+0l r*0000 affecting
                                                          titre to defenda,t,s properry and 201gcHo96_59.
      Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 143 of 177 PageID #:143




           I Renee A. Washington further certify
                                                 that: I am the owner of
 o
 a,        LOT 29IN BLOCK 8 IN G. FRANK
 (o                                      CROISSANT'S SFIADOW LAWN. BEINC
 o
 o         SUBDIVISION OF THAT PART OT                                         A
Io                                        iTNE WEST 1/2 O'iI{E SOU'I'FIEAST
           TT{E EAST I/3 OT THE EAST                                        I/4 AND
o                                    UZ OP ijg SOUTHWES T IA,LYING
o          THE CENTER LINE OF MICHIGAN                                  NORTH OF
N                                          CITY ROAD TN SECTIOIV 12 TOV/NSHIP 36
           NORTH, RANGE 14 EAST OF TIfi
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0                                        THTRD PRTNCTPAI VTEzuOIuN, IN
!o         COUNTY, ILLINOIS.                                              COOK
c,i
N
trl
o          Conrmonly known as 567 Merrill Avq
6t
(\l
                                              Calumet City, lI_ 60409,
tr         and    r submit this Affidavit of Forgery and
ul-
F                                                        Identity Theft in support of a[ motions
(]
a          submitted in 2019CH09659 case.
ul
J
tr
           l.    My full legal name is Renee Annette
                                                     Washington.
        2'       lvhen the forgery and identity theft
                                                      took placg I was known   as Renee   A. washington.
        3" My        currenr address is 567 Merrilr Ave,
                                                         carumet ciry,   ,, 60409.
        4'       r Renee A. washington have lived
                                                  at this address since January 2000.

        5.       My Chase Bank loan nurnber is 163214S934.

       5        ?he forgery and identity theft took place
                                                          at the cook county Recorder of Deeds
                                                                                               office.
       7   '    The mortgage documen/security instrument/contra$
                                                                      #Ig2g3060g7 is forged.
       8'       The mortgage documeni/security instrument/contract
                                                                   #192g306097 is         a   forgery   of
                mortgage documenf/security instrumenilcontracf
                                                               #t 12640g052.
       9'       T"ne morrgage   document/security instrument/contract
                                                                      #l92g306097 has Renee A.
                vl'ashington chase Bank loan
                                             number 1632l4gg34in the Iower right
                                                                                 side of the
                document above my iaitial of   R.A.w. see attached certified Affidavit
                                                                                       of scrivener,s
               Error Exhibit..A,,-

       I0' To the     best of Renee   A. washingon knowredge and berie{
                                                                        the foilowi,g person
               Mariclare o'connor, codiris & Associates p.c.,
                                                              and praintiffJpMorgan chase Bank
               National Association used my namg
                                                 addresg chase Bank mortgage
                                                                             account number
      Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 144 of 177 PageID #:144




                   and mortgage document/security instrumeot/con
                                                                 tract #112640g052 and #1g2g3060g?
o
ut                 identification documents to stear equity
6                                                           to fraudurentry foreclose on my property
o
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o                  without my consent knowledge or authoriiation.
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         Il'       i   Renee A ' washington have not
                                                     authorized the tbrged ancl identity thell 4ocrmrert
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AI
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                  rec*rding appearing on my prN 2g-r2*314-0lr-0000,
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N                  _   .-.i: -ii;_ :.,,.:.:::..r---:.i,,.. .,i .*,:.Ir.,          ;:";*!.iis:
                                                                           -._*                 Specifically, the recording   of
lr,
E                 mo4gage document/security instrunrenvcoxtract
c]                                                              #1g2g306097,Tltereccrdirg rvele
a
g
                  neither made by me' nor by any person
IL                                                      with my lmowledgg autlor.izatiorl or conseni.
         l2' i Renee A' washington                         have never r*ceived any benetir either
                                                                                                  tlirectly or in6irectll-.
                  frorn the recording of mortgage doeurnent/security
                                                                     instrument/contract #1g2s3s6CIg?.
        Il'       I Renee A. washington did not execute
                                                        and sign or initial this mortgage

                  document/security instrument/contract
                                                        #1928306097 page 3 of                              16 page4of l6 witli     a
                  materially incorrect legal description
                                                         in front of a notary Rhonda Weins cn l0/09/?*l g
                  or I0ll 0/Z0lg or any other                  dare.

        14"       Notary Rhonda weins did not attest
                                                     to the autlrenticity of Renee A. washington

              identiry, signature or initiars on l0/09/20r
                                                           9 or 10/r0/z0t 9 or any other date,

        l5' I      Renee A- washington did not execute
                                                       a mortgage documer:usecuriry,

              i   nstrurn enrlcontracr # I           I   2ff   0S0S2 on g I Zt lZOt7.

       l6- I Renee A' washington did notinitial
                                                niortgage docurnsnt/security instrumentlcortr?cr

           #I 126408052 page 3 of i6 and page
                                              4 of                                  16   on rclagnag   or r0rr0/20r9.
       l7' The mortgege document/secufty instrument/contract
                                                                                                #192g30609   7   appearsto havc
           Renee A' washington initials of R.A.w- see
                                                      affached certified Affrdavit of scriyener,s
           En'orExhibit oA',-
       Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 145 of 177 PageID #:145




          i8. I Renee A. Washington do not know
                                                MariClare O,Connor.
   o
 tf)      I9. I Renee A. Washington do not know
 (o
   o                                            notary Rhonda Weins.
 -oo     ?0' I Renee A' lvashington did not authorize
 o                                                    or coilsent to cook county Recorder of Deeds
 ct
 N
             to certify this mortgage documenilsecurity
E                                                       instrument/contract #192g30609? on
o
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N             10/a2/2A]Iq.
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N        2l ' I Renee A' lvashington dicl not authorize
F                                                       or co*$ent to mortgage document/security
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F
cl
             instrumentlcontract #rgzE3iafiagT re-recording
                                                            missing/unrecorded page 3 of t6, page
o
l,u
IL           4   of   16   with a materiaily incorrect regar description
                                                                         of mortgage document
             #1t264A8A52.

         22' This mo4gage documenf/security
                                            inshrrment/contract #r g2s30609?

              was recorded 10110/2019 after the
                                                initiation and recording of the Lis pendens on
             o8/23/2$rg- probabry to ensure a successfur
                                                          forecrosure on moftgage

            document/security instnrmenUcontract
                                                 #I 12640g052.
        ?3 ?l:e legal descdption in ffortgage document/security
                                                                instrumer#contract #lgzg;j;60g7
            is materially incorrect. see auached
                                                 cenified legal description. Exhibit..B,,.
        24' The legal description in mortgage
                                              documen#security instrument/contract #11264$s0s2

            is materially incorrect- Factual page
                                                  numbers are in the lower right of rhe document.

            See attached Certified mortgage
                                            document            Exhibit..C,,.
        ?-5' Page 3    of l6   and page 4   of   16 are unrecorded   in mortgage document/security
           instruntent/coatract #1126408052.
                                              Factual page numbers are in the lower right
                                                                                          of the
           document. see attached certifi ed mortgage                   ..c',
                                                                document Exhibit
        26' This mortgage document/securiry
                                            instrument/contract #1g2g3060g? has rny
                                                                                    loan
           number 1632149934 in the lower right
                                                side of the document above my initiar
                                                                                                     of
         Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 146 of 177 PageID #:146




               R-A-w- see attached certified Affidavit
                                                       of scrivener,s ErrorExhibir..A,,-
    (D
    It      ?7' This mortgage document/security
 o
 o                                              instrumenr/contract #192g306097 has
 c,                                                                                 the words
 I
 o
 o,            "security instrument" typed in
                                              ten different instances throughout
 c,
 (\l
                                                                                 the docurnent.
            38 This morfgage documenlsecurity
=
o-                                            instrument/conhact       #192g306097 lacks the three
CD

6i             essenfiar erements listed berow
N                                              to marie the mortgage contract varid.
AI
o
s           (A) the names of the..parties,,,
F\                                           and
[i
F           (B) the "subject matter,,, and
o
o           (C) "consideration'
UI
J
tr         29' This mortgage document/security
                                               instrumentlcontract. #1g2g3060g7 lacks
                                                                                      the three
              essentiar erements listed berow
                                              to make the rnortgage contract varid.
              (AlMy   name Renee   A. washington, my conrprete signaturq
                                                                         and chase Bank name.
              (B)My complete legal description.
              (C)Qui pro quo or something given
                                                   for something received.
           30' This mor'gage document/security
                                                 instrurnentlcontract #1g2g3s60g?
                                                                                  lacks the proper
              requisites of a valid mortgage
                                             contract listed below:

              Definitions
              Uniform Covenants
             Transfer of Rights in the koperty
             4. Charges; Liens
             5. Property Insurance

             6. Occupancy
             7' Preservation, Maintenance
                                          and protection of the property;
                                                                          Inspections
             S.Borrower. s Loan Application
             9' Protection of Lender's Interest
                                                in the properry and Rigl:ts under
                                                                                  this security
                Instrumenl
             10. Mongage Insurance

             I 1 . Assignment of Miscellaneous proceeds;
                                                         Forfeitrre
             12' Borrower Not Rereased;
                                          Forbearance By Lender Not a
                                                                      waiver
          Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 147 of 177 PageID #:147




                 I3. Joint and Several Liability;
                                                  Co_signers; Successors an* Assigns
                                                                                     tsound
    tD
                 14. Loan Charges
    ta,
    @
 .D              15. Notices
 c,
 E
 Q
 O                I6. GoverningLaw; Severability
 c,                                              Rutes of Construc,rion
 N
                 I7. Borrower's Copy
o=.
6
6i
                 18. Transferof the property or a Beneficial
N                                                             Interesr in Borrower
N
c,              l9- Borrower's Right to Reinstate
AI
6'                                                 After Accelera$on
Ii-             20. Sale of Note; Change of Loan
iiF                                                Serv.icer; Notice of Grievance
                21. Flazardous Substauces
o
o
IIJ
J               Non-Uniform Covenants
tr
                22. Acceleratioq Remedies
                23. Release
               24. Waiver of Ho,mestead
               35. Placement of Collateral protection
                                                      Insurance
               Borrower signature
               Notary authenti cation acknowl
                                              edgement
               Correct legal description
           i l ' This mortgage   documentlsecurity instrumen/cootract
                                                                      #rg2E3060g7 lacks ore of the
               three essential elements of (2)
                                               tlre "subject rnatfer," listed below
                                                                                    to make the morrgage
              contract valid-

             (A) Correcr legal description.
           26' ?his mortgage document/security
                                               instrumeni/insirumenr #Ig2g306t)g7
                                                                                  does Rot iBeer
              Illiaois minimum strtutory requiremenB
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           27' This modgage document/security
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          28' This mofigage documenvsecudry
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              rvith all applicable' federal, state
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             Security Instrument itself.
      Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 148 of 177 PageID #:148




        29.   I Renee A. lvashington did not attend a roan crosing
                                                                   on october g, ?01g.
o
u)      30.   I   Renee   A. washingon did not receive
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o                                                          a   FtuD-l set{ement statement per RESpA
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o             regulations on October g, 201g.
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        3l ' I Renee A' washington did not receive
=                                                  a 3-Day right to cancel on october g,
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              the Truth in Lendirrg Act regulations-
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N       32- I agree to arrest to the above racts
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L
        33' Included is a copy of my state of
o                                             Illinois Identification card with my signarure.
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IL
              "Dr.

       14. Included is a non-consent fbrm.
                                           Exhibit..E,,.
        i5- Included is a sample signature form
                                                Exhibit..F,,.
        36. Included is a copy of my filed report
                                                  to the FTC Exhibit..C,,.
       37. Included is a copy of my filed
                                          report to the FBI Exhibit..Ff,.

       38' I am willing to assist in the prosecution
                                                     of the person who committed this fraud.
       39' AJfiant believes and is informed
                                              and declare that the aboye facts has violated
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           Iisted below which is not all inclusive:


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      Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 149 of 177 PageID #:149




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                   seq.                                                                                               '            -   *i
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        Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 150 of 177 PageID #:150




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          E.   ILCS Fraud Review




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 Illinois General Assembly - rllinois Compiled
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 Information maintained by the kgislative
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                                          to see the changes made to the current law.


      (ss rl,cs s/3-s010.s)
      Sec. 3-5010.S. E.fuua referral and revler.
      (a) Legislative findings. The Generar
                                                Assembly finds that property
 incruding frauduleat tfitiu    intenaea to cloud or fraudulentry transfer fraud,title
 to property by reeordiag ritse
 growing problem throughout the or    artered. docuaents and deeds, is a rapidly
                                   state. rn
 number of these fi-Iings, a recorder may order to combat the increase in the
 refer documents suspected to be fraudulent. establish a process to review and
      (b) Definitions. The terms i'recordingn
 interchangeably in this Section.                and ,rfilingi, are used
      (c) Establishment and use of
 recorder who estabrishes a fraud a    fraud referral and review process. A
                                     referrar
provisions of rhis secrion *.y ,r" ir;-.#";:;;;-and review process under the
refer any of the' to an a&inl.strative rar-:uJge iJi and instruoents and
subsection {g) or this section that cause                    revter purauant to
                                               the  recorder
that the filing may be fraudulent, orrt"rrfrtly a"Ltered, to reasonably believe
unlawfulry croud or transfer the titre                         or intended to
enter into an -intergovernmentar agreement "r-""v  ;;;i;"op"rty.      The recorder may
                                              with   rocar
officials for the purposes of thii referral dnd review.      raw enforcement
request that the secretary of the Department                    A recorder may
Regnrration assist in reviewing possiJcre         of  Fininci-al  and professional
secretary' or his or her a""ig"L",          fraudulent ri:-ings. upon request, the
                                              sharl assist in identifying the validity
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 of filings. The recorder shall notify the Secretary wtren a document suspected
 to be fraudulent is discovered.
      In counties with a population of l-ess than 3 million, a recorder shatl
 Provide public notice 90 days before the establishment of the fraud referral
 and review Process. The notice shall include a statement of the recorder's
 intent to create a fraud referral and review process and shal1 be published
 in a newspaper of general circulation in the county and, if feasible, posted
 on the recorderrs website and at the reeorderrs office or offices.
      In determining whether to refer a document to an adninistratiwe law judge
  for rewiew, a recorder may take into consideration any of the following
  factors:
              (1) whether the owner of the property or his or her
        designated representatiwe has repo*ed to the recorder that another
        l.ndividual is attenqrting or haa atteryrted to reeord a fraudulent deed
        or other instrument upon the propertyl
              (2) whether a 1aw enforeement official has contacted
        the recorder indicating that he or she has probable cause to suspect
        titte or recording fraud;
              (3) whether the filer's name has a copyright
        attached to it or the property osnetrs nane has nonstandard pEnctuation
        attacbed to it;
              (4) whether the documents assert fines that do not
        exist or have no basis under current law or that require payment in
        gold or silver,.
              (5) whether the documents are mariti-me liens, or
         liens under the Federal Maritjme tien Act or the preferred Ship
        Mortgage Act, or not authorized by the United States Coast Guard;
              (6) whether the documents are land patents not
        authorized and certified by the United States Department of the
        Interior Bureau of tand Management;
              (7) whether the documents are representing that the
        subject of the lien is releasing itself from a lien held by another
        entity, with no apparent cooperation or auttrorization prowided by the
         lienholder;
              (8) rhether the documents are prateating or
         disputing a foreclosure proceeding that are not fi.Led withln the
         foreqlosule suit and uith the court psesiding over the natter;
               (9) whether the documents are Uniform Conunerciat Code
         filings referencing birth certificates or other private records that
        are not in compliance with Section 9-501 of the Unifo:m Commercial
      Code;
          (10) whether the dosuments are re-recsrding deeds to
      re-notarize or attach notary certification if prior notarization
      already appears unaltered on ttre document of record;
          (11) whether the documents are asserting diplomatic
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      credentials or ilnmunity, non-United States citizenshipr or independence
       from the laws of the United States;
           (12) whether the documents are claims that a bank
      cannot hold title after a foreclosurei
           (13) whether the doeunents are deeds not properly
      signed by the last legal orrner of record or his or her court appointed
      representative or attorney-in-fact under a poBrer of attorney,
          (14) whether the documents are manipulated or
      artered federar or state legal or eourt forms that re.Lease a lien;
          (15) whether a document is not related to a ralid
      existing or potential adverse transaction, exlsting rien, or judgrment
      of a court of competent jurisdi_ction,.
           (16) a document that is not related to a valid
      existing or potential conunercial or financial transaction, existing
      agriculturar or other rien, or judgment of a eourt of competent
      jurisdiction;
           (17) whether the document is filed with the j_ntent to
      harags or defraud the person identified in the r€cord or any other
      Peraont
            (18) whether the document is filed with the intent to
        harass or defraud any meniber of a g:owernmental office, inclurring, but
        not limited to, the recorder's office, local gowernment offices, the
        State of I-llinois, or the Federal growernment; and
            (19) whether the documents ate previous court
        determinations, incruding a previous determination by a court of
        competent jurisdiction that a particurar document is fraudulent,
        invalid, or forged.
       (d) Determinations. rf a record.er determines, after review by legal- staff
  and counsel, that a deed or instrument that is recorded. in the grantorrs
 index or the granteers index may be fraud.ulent, unlawfulry arteied, or
 intended to unrawfulry cloud or transfer the title of any real property, he
 or she shall refer the deed or instrument to an administrative fa, iuage for
 review pursuant to subsection (g) of this Section. The record.er shat] record
 a Notice of Referral in the g'rantor's index or the grantee's index
 identifying the document, corresponding document number in question, and
 date of referral- The recorder shall also notify the parties set forth in the
 subsection (e) of this section. The recorder may, at his or her rriscretion,
 notify raw enforcement officials regarding a filing deterrnined to be
 fraudulent, unlawfully altered, or intended to unlawfully cloud or transfer
 the title of any real property.
      (e) Notice. The recorder sharl use county property tax records to
 identify and provide notice to the rast ownei ot recoia by terephone, if
 available, and certified maj-f both when: (1) a deed or instl:ment has been
 referred for review and determination; and (2) a final determination has been
 made regartring the deed or instrument- Notice, by mail, sha1l also be sent to
 the physical address of the property assoeiated ,itt tte deed or instrument.
      (f) Administrative decision. The recorder's decision to add a Notice of
 Referral and refer a document for review i.s a final administratiwe decision
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 that is subject to rewiew by the circuit court of the county where the real
 proPerty is located under the Administrative Review Law. The standard of
 review by the circuit court shall be de novo-
        (g) Refetral. aud revierr prosess. Prior to referral, the recorder shall
 notify the last owner of record of the document or documents suspected to be
 fraudulent. The Person, entity, or legal representative thereof shall confirm
 in writing his or her belief that a document or documents are suspected to be
 fraudulent and may request that the recorder refer the case for review. Opon
 request, the recorder shall bring a case to its county department of
 administrative hearings and, within 10 business days after receipt, an
 adninistrative law judge shall schedule a hearing to occur no later than 30
 days after receiving the referrar. rhe referral and case sharr crearly
 identify the personr p€rsoDST or entity believed to be the last true owner of
 record as the petitioner. Notice of the hearing shalr be provided by the
 administratiwe law judge to the filer, or the party represented by the filer,
 of the suspected fraudurent document, the 1egal representative of the
 recorder of deeds who referred the case, and the last owner of record, as
 identified in the referral-
       If clear and convincing evidence shows the document in question to be
  fraudulent, the adurinistratiwe law judge shalr rule the document to be
 fraudulent and forward the judgrment to all the parties identified in this
 subsection. upon receiving notice of the judgment of fraud, the recorder
 shall, within 5 business days, record a new document that includes a eopy of
 the judgment in front of the Notice of Referral that sha1l clearly state that
 the document in guestion has been found to be fraudulent and shal1 not be
 considered to affect the chain of title of the property in any way.
       If the administrative law judge finds the document to be legitimate, the
 recorder shall, within 5 business days after receiving notice, record a copy
 of the judgment-
       A decision by an administrative law judge shall not preclude a State's
 attorney or sheriff from proceeding wi-th a criminal investigation or cri-minal-
 charges. If a county does not have an administrative law judge that
  specializes in public records, one shall be appointed within 3 months after
 the effective date of this amendatory Act of the 98th General Asseuibly, or
  the original case shall be forwarded to the proper circuit court with
  jurisdiction.
       Nothing in this section precrudes a private right of action by any party
 with an interest in the property affected by the review and referral, or the
  filer of the document or documents suspected to be fraudul-ent. Nothing in
  this Section reguires a person or entity who may have had a fraudulent
 document or encurnbrance filed against his or her property to use the fraud
 review and referral process or administratiwe review created by this Section.
        (h) Fees. The recorder shall retain any fiJ-i-ng fees associated with
 filing a deed or instrument that is determined to be fraudulent, unlawfully
 altered, or intended to unlawfully cloud or transfer ttre titJ-e of any real
 property under this Section.
        (i) Liabitity. Neither a recorder nor any of his or her employees or
 agents shal-l- be subject to personal 1iability by reason of any error or
 omission in the performance of any duty under this Section, except in case of
 willful or wanton conduct. Neither the recorder nor any of his or her
 employees shall incur liability      for the referral or review, or failure to
 refer or review, a document or instrument under this Section.
        (j) Applicability. This Section appties only to filings provided to the
 recorder on and after the effectiwe date of this amendatory Act of the 98th
 General Assembly.
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     (k) (B1ank) .
 (Source: P-A. 100-276, eff . g-22-1,'t .l
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          F.   Affidavit of Attempted Service Wrong Address




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                                                                                                           Fees:
                                                                                                        Non-Service                    S85.00
                United Proccssing, Inc.
                I80 North Wnbaslt Suite 615
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                                                                                                        TOTAL;
                (3 l 2) 629-0 r40
                 Filc l! l4-19-07590


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           G. How To Correct a Previously Recorded Deed




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    Unfortunately, as of Feb Zal7,rwreoording of instuments are no longer accepted.
    Because  document                has been discontinue{ 4 available optiors to update the
    recording history are as follows. Slease rotrs that affidavits cannot be efiled-)
   a) prepare new on &rplicate deed/oonveyance instrumeirF, or duplicate loan instrgmen! etc.,
   with all new signaures and all requircNnenb, (*35 II,CS 2OOt3l45 (d) Deeds or tnrst documents
   that, without additional consideratiorq confirm, correct, modi$, or strpple,ment a deed or trust
   document pre\riously rccorded.)

   b)  prepare a simple scrivemer's affidavit (wift no copy of prcviously recorded docgment
   attached) Note: the scriveneds affidavit is great for simple typos or ernors that need to be
   clarified.

   c) obhin court order reforming to correct the docummts if you are alieady in court (such as
   when in probate or forcclosure),

   d) utitire   the new Corrective Rcordings process*

   *Corrective Recodings process instnrctions
                                                 md Affidavit
   The basic requirement is that all tho parties to a previou*ly recorded document
                                                                                   sign-ofl* on
   any updates, changes or correotions regading that document, through &e use of a corrective
   affidavit

   The dstails of the error/correction are noted only in the atEdavit instead of on &e docume,nt
                                                                                                 itself.
   If more room is neede4 €xtra pages of orplanation may be attached to fte affidavit.
   The unaltered document with the error is only athched as an exhibit to the affdavit. Note,
   certified copy or original document may bc used with the affidavit.

   The Corrcctive Afrdavitcan only be signedfu the actual parties to the document or thosewith a
   power of attorney to do so for the party. ('Note: Ifpreparing the corrective recording
   affidavit, if necessary please athch a certified copy of the death certifrcate in lieu of the
   person's signature.

   TheCorrective Rccordine Affidavit requircs all parties to fte document sign offto make it clear
   that dl parties are awaxe of the e,lrorand                the csrrcction. This is best if the parties
   may disagree at Llator data, exmple - a mor{gage that may ad up in foreclosgre at some futqre
   point if problems arise. For this affidavit, both the lemder and borrower has to sip.)
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          H.   Corrective Deed




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            Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 163 of 177 PageID #:163

 CORRECTIVE RECORDI NG AFFI DAVIT
  THIS FORM IS PROVIDED COMPLIMENTS OF
 KAREN A. YARBROUGH, COOK COUNTY CLERK.
  AS ACOURTESY FORM WHICH MAY BE USED
   TO DETAIL A DES]RED CORRECTION TO A
    PREVIOUSLY RECORDED DOCUMENT.
 CUSTOMER'S MAY USE THEIR OWN AFFIDAVIT
  AS WELL, BUT IT MUST INCLUDE ALL OF THE
 BELOW REQUIRED INFORMATION. THIS FORM
        DOES NOT CONSTITUTE LEGAL ADVICE.
  PREPARER:




   I,                      ,THE AFFIANT, do hereby swear or affirm, that the attached document with the document
number:                              , which   was recorded    on:                           by the Cook County Clerk,
intheStateoflllinois,containedthefollowingERRoR,wrrictrttrisimffi'
 DETAILED EXPTANATION (INCLUDING PAGE                      NUMBER(SI                                                WHAT
  THE CORRECTION IS. USE ADDITIONAL SHEET IF MORE SPACE NEEDED FOR EXPLANATION
                                                                               OR SIGNATURES.




Furthermore, !,                                , THE AFFIANT, do hereby swear or affirm, that this submission includes
a CERTIFIED COPY OR THE ORIGINAL DOCUMENT, and this Conective Recording Affidavit is
                                                                                     being submitted
to conect the aforementioned enor. Finally, this conection was approved and/or agreed to by the original GRANTOR(S)
and GRANTEE(S), as evidenced by their notrarized signature's below (or on a separate page for multiple signatures).


 PRII{T GRANTOR ]{A['E AEOVE                     GMNTOR SIGI.IATURE ABOVE                 DATE AFFIDAVIT EXECUTED



 PRINT GMNTEE NAIIE ABOVE                              GRANTEE SIGIUTURE                 DATE AFFIDAVIT E)(ECUTED



 GRANTOR/GRANTEE 2 ABOVE                    GMf{TORreMNTEE 2 StcilATURE                  DATE AFFIDAVIT EXECUTED



 PRINT AFFLANT NAME ABOVE                        AFFIANT SIGI{ATURE ABOVE                DATE AFFIDAVIT EXECUTED




STATE:

                                 )     ss
COUNry                           )
Subscribed and swom to me this                 day,   sf



 PRINT NOTARY i{AME ABOVE                        NOTARY SIGITIATURE ABOVE                DATE AFFIDAVIT NOTARIZED
Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 164 of 177 PageID #:164




           I.   Affidavit Scrivener'slnstructions




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Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 166 of 177 PageID #:166




          J. Unlawful Clouding of Title




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 Sec. 58-45.     Unlawful clouding of title.
 {a)     Any person who intentionally records or files or causes to be recorded or filed any document in
                                                                                                             the Office of
         the Cook County Clerk that is a cloud on the title of land in Cook County, knowing that the theory
                                                                                                               upon which
        the purported cloud on title is based is not recognized as a legitimate legal theory by the Courts of the United
        States, the State of lllinoil or any County within the State of lllinois, commits the offense of
                                                                                                         unlawful
        clouding of title.

 {b)    Any person who commits the offense of unlawful clouding of title shall be fined
                                                                                        S5,01p.(D for the first
        offense' Any person who commits this offense a second time shall be fined
                                                                                    Sz,soo.m. Any person who
        commits this offense a third or subsequent time shall be fined 510,000.00 for each offense.
 (c)    This Section does not apply to any attorney licensed to practice law in the State of lllinois
                                                                                                         who, in good faith,
        files a lien on behalf of his or her client and who, in good faith, believes that the validity
                                                                                                       of the lien is
        supported by law or by a good faith argument for an extension, modification, or reversal
                                                                                                        of existing law
        relating to the validity of the lien.
 (d)   For purposes of this Section, the term "cloud on title" or "cloud on the title,' means
                                                                                              an outstanding claim or
       encumbrance that, if valid, would affect or impair the title of the owner of an estate in land
                                                                                                       and on its face
       has that effect, but can be shown by extrinsic proof to be invalid or inapplicable to
                                                                                             that estate.
{Ord. No. 14-0091, 1-15-2014; Ord. No. 2O-4tr'LS, LZ-17-2OZO .}


Sec. 58-45.      Unlawfulfiling of fraudulent !ien, iudgment or encumbrance against individuals
             and organizations.
 (a)   Any person who knowingly or intentionally records or fites or causes to be recorded or filed
                                                                                                          with the Office of
       the cook county clerk any docurnent which alleges to be a judgmen! lien or encumbrance against person
                                                                                                                   a
       or organization, not attached to real property, knowing that the theory upon which the purported
                                                                                                                  lien,
       judgment or encumbrance is based is not recognized as a legitimate
                                                                                  legal theory by the Courts of the United
       states, the state of lllinois, or any County within the State of lllinois, commits the offense
                                                                                                       of filing a
       fraudulent lien or judgment.
(b)    Any person who commits the offense of filing of fraudulent judgment, lien or encumbrance shall
                                                                                                         be fined
       Ss,ooo.oo for the first offense. Any person who commits this offense a second time shall be fined
                                                                                                          $7,5m.o0
       or imprisoned for a period not to exceed 3o days or by both such fine and imprisonment. Any person
                                                                                                              who
       commits this offense a third or subsequent time shall be fined Sro,ooo.oo or imprisoned for a period
                                                                                                              not to
       exceed 6o days or by both such fine and imprisonmentfor each offense.

(c)    This Section does not apply to any attorney licensed to practice law in the State of lllinois who,
                                                                                                          in good faith,
       files a lien or judgment or encumbrance on behalf of his or her client and who, in good faith, believes
                                                                                                                 that
       the validity of the lien is supported by taw or by a good faith argument for an extension, modification,
                                                                                                                  or
       reversal of existing law relating to the validity of the lien or judgment or encumbrance.
(d)    For the purposes of this Section, the term "a judgmen! lien or encumbrance,' means a
                                                                                                 document setting out
       a false claim of indebtedness or encumbrance which even if valid would not create
                                                                                             a cloud on the title of real
       property; but is likely to impair the subject of the document in the subject's exercise
                                                                                               of commercg         and can
       be shown by extrinsic proof to be invalid or inapplicable to the subject.

(Ord. No. L4-2921,5-2L-2OL4; Ord. No. 20-4415, L2-!7-ZO2O .l

Editor's note(s)-Ord' No. 14-2921, adopted May 2L,2014, arnended S 5&46Editor,s note(s)-
                                                                                               in its entirety to
      read as herein set out. Former $ 58-46Editor's note{s)- pertained to administrative adjudication
                                                                                                        and derived


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(Supp. No. 5O)


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        from Ord. No. 13-O-11, adopted January L6,2013. Reader is directed to 5&g0Editor,s
                                                                             $             note(s)_ for
        provisions pertaining to that subject.




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{Supp. No.50)


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          K.   ILCS Forgery Law




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laws may not yet be included in the ILCS database, but they are found on this site as Public Acts
soon after they become law. For information conceming the relationship between statutes and
Public Acts, refer to the Guide.

Because the statute database is maintained primarily for legislative drafting purposes, statutory
changes are sometimes included in the statute database before they take effect. If the source note
at the end of a Section of fte statutes includes a Public Act that has not yet taken effec! the
version of the law that is currently in effect may have already bee,n removed from the database
and you should refer to that Public Act to see the changes made to the curent law.



     (720 ILCS 5/17-31 (from Ch. 38, par. 17-3)
     Sec. 17-3. Eorgery.
     (a) A person comtrits forgery when, with intent to defraud, he or                  she
 knowingly:
           (1)   makes a false document or alters any document to
        make   lt false and that document ia apparently capable of defrauding
        anotheri or
            (2) issues or deliverg such document knowing it to
        have been thus made or altered,. or
            (3) possesses, with intent to issue or deliverr any
        such document knoring it to have been thus made or altered,. or
            (4) unlarfully uses the digital signature, as defined
        in the Einancial Institutions Electronic Documents and Digital
        Signature Act, of another,. or
           (5) unlawfully creates an electronic signature of
        another person, as that term is defined in the Uniform Electronic
        Transactions Act.
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     (b) (Blank) .
     (c) A document apparently capable of defrauding another includes, but is
not limited to, one by which any right, obligation or povrer with reference to
any person or property may be created, transferred, altered or terminated. A
document includes any record or e-l-ectronic record as those terms are defined
in the Efectronic Commerce Security Act. For purposes of this Section, a
document also includes a Uniwersal Price Code Label or coin.
     (c-5) For purposes of this Section, "false document" or rrdocument that is
false" includes, but is not limited to, a document whose contents are false
in some material way, or that purports to hawe been made by another or at
another time, or with different provisions, or by authority of one who did
not give such authority.
     (d) Sentence.
          (1) Except as prowided in paragraphs (2) and (3),
      forgery is a Class 3 felony.
          (21 Forgery is a Class 4 felony when only one
      Universal Price Code Labe1 is forged.
          (3) Forgery is a Class A misdemeanor when an academic
      degree or coin is forged.
     (e) It is not a vio.lation of this Section if a false academic degree
explicitly states 'rfor novel-ty purposes only".
 (Source: P.A. 102-38, eff. 6-25-21.1
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          L.   ILCS Tampering with Public Records Law




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changes are sometimes included in the statute database before they take effect. If the source note
at the end of a Section of the statutes includes a Public Act that has not yet taken effec! the
version of the law that is currenfly in effect may have already been removed from the database
and you should refer to that Public Act to see the changes made to the curent law.



     (720 ILCS 5/32-81 (from Ch. 38, par. 32-8)
     Sec. 32-8. Tanpering with public records.
     (a) A person commits tampering with public records when he or she
knowingly, without lawful authority, and with the intent to defraud any
party, public officer or entity, alters, destroys, defaces, removes or
conceals any public record.
     (b) (Blank) .
     (c) A judge, circuit clerk or clerk of court, public official or
employee, court reporter, or other person commits tampering with public
records when he or she knowingly, without lawful authority, and with the
intent to defraud any party. public officer or entity, alters, destroys,
defaces, removes, or conceals any public record received or held by any judge
or by a clerk of any court.
     (c-5) rrPublic record" expressly includes, but is not limited to, court
records, or documents, evidence, or exhibits filed with the clerk of the
court and which have become a part of the officia-I court record, pertaining
to any civil- or criminal proceeding in any court.
     (d) Sentence. A violation of subsection (a) is a Class 4 felony. A
violation of subsection (c) is a Class 3 felony. Any person convicted under
subsection (c) who at the time of the violation was responsible for making,
keeping, storing:, or reporting the record for which the tampering occurred:
         (1) sha1I forfeit his or her public office or public
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       emPlolment, if any, and shall thereafter be ineligible for both State
       and local public office and public employment in this State for a
       period of 5 years after completion of any term of probation,
       conditional di-scharge, or incarceration in a peniLentiary including the
       period of mandatory supervised release;
           (2) shall forfeit af] retirement, pension, and other
      benefits arising out of publie office or public emplolzment as may be
      determined by the court in accordance with the applicable provisions of
      the Illinois Pension Code;
          (3) shall be subject to termination of any
      professional licensure or registration in this State as may be
      determined by the court in accordance with the prowisions of the
      applicable professional licensing or registration lawsi
          (4) may be ordered by the court, after a hearing in
      accordance with applicable law and in addition to any other penalty or
      fine imposed by the court, to forfeit to the State an amount equal to
      any financial gain or the value of any advantage realized by the person
      as a result of the offense; and
          (5) may be ordered by the court, after a hearing in
      accordance with applicable law and in addition to any other penalty or
      fine imposed by the court, to pay restitution to the victim in an
      amount equal to any financial loss or the walue of any advantage lost
      by the victim as a result of the offense.
     For the purposea of this subsection (d), an offense under subsection (c)
committed by a person holding public office or public employment shalt be
rebuttably presumed to relate to or arise out of or in connection with that
public office or public emplolzment.
     (e) Any party litigant who bel-ieves a violation of this Section has
occurred may seek the restoration of the court record as provided in the
Court Records Restoration Act. Any order of the court denying the restoration
of the court record may be appealed as any other civil judgrment.
     (f) When the sheriff or local 1aw enforcement agency having jurisdiction
declines to inwestigate, or inadequately inwestigates, the court or any
interested party, shall notify the l11inois State Police of a suspected
violation of subsection (a) or (c), who shall have the authority to
investigate, and may investigate, the same, without regard to whether the
loca1 law enforcement agency has requested the Illinois State Police to do
 so.
     (S) If the Staters Attorney having jurisdiction declines to prosecute   a
violation of subsection (a) or (c), the court or interested party shall
notify the Attorney General of the refusal. The Attorney General shall,
thereafter, have the authority to prosecute, and may prosecute, the
wiolation, without a referral from the State's Attorney.
     (h) Prosecution of a wiolation of subsection (c) shall be commenced
within 3 years after the act constituting the wiolation is discovered or
reasonably should have been discovered.
 (Source: P.A. 102-538, eff. 8-20-2L.')
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                                    PROOF OF SERYICE



The undersigned, Renee A. Washington, hereby certifies that I served a copy of this 42 U.S.
Code$ 1983 Complaint upon the PlaintiffJPMorgan Chase Bank National Association,
Attorneys, Codilis & Associates P.C., Grant Law LLC., via the United States post Office on
August 18,2022.




                                            Calumet City, IL 60409
                                            708-567-34r0
                                            renee I 0 1 @sbcglobal.net

The undersigned, Renee A. Washington, hereby certifies that I served a oopy of this 42 U.S,
codes complaint upon via the united states postal by certified mail

State attorney general
100 West Randolph Street
Chicago, IL 60601

Karen A. Yarbrough, Cook County Clerk
I l8 N. Clark Street, Room 230
Chicago, f-  60602

Iris Y. Martinez
Office of the Clerk of the Circuit Court of Cook County
50 W. Washington, Suite 1001
Chicago, Illinois 60602-l 305

Timothy C. Evans
Offrce of the Chief Judge
Circuit Court of Cook County
50 West Washington Street, Room 2600
Richard J. Daley Center
Chicago, tr- 60602




Edward N. Robles, Associate Judge



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Circuit Court of Cook County
50 West Washington Street
Richard J. Daley Center
Chicago, IL6A6A2


Lynn Weaver-Boyle, Circuit Judge
Circuit Court of Cook County
50 West Washington Street
Richard J. Daley Center
Chicago, tr- 60602

GrantLawLLC
230 W. Monroe Street
suit 240
Chicago,IL 60409

Codilis & Associates
15W030 North Frontage Road
BurrRidgg L6A527




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  Case: 1:22-cv-04401 Document #: 1 Filed: 08/18/22 Page 177 of 177 PageID #:177




                                  PROOF OT SERVTCE



The undersigned, Renee A. Washington, hereby certifies that I served a copy of this 42 U.S.
9"{:l Complaint upon the PlaintiffJPMorgan Chase Bank National Association, Attorneys,
Codilis & Associates P.C., Grant Law LLC., via electronic notice through ECF to
pleadings@il.cslegal.com, sgrebovic@grantlawllc.com, mgrant@grantlawllc.com on August lg,
2022.




                                          567 Merrill Ave
                                          Calumet City, IL 60409
                                          708-567-3410
                                          renee I 0 I @sbcglobal. net




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